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                                                                                            60CV-21-6938
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              IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS
                                    DIVISION

NADINE JARMON                                                                          PLAINTIFF

V.                              CASE NO.
                                           ----
LITTLE HOUSING AUTHORITY
d/b/a METROPOLITAN HOUSING ALLIANCE                                              DEFENDANT


                                          COMPLAINT


        COMES NOW Plaintiff Nadine Jarmon ("Plaintiff'), by and through her attorney Chris P.

Corbitt of Corbitt Law Firm and for her complaint against Defendant Little Rock Housing

Authority d/b/a Metropolitan Housing Alliance, ("MHA") and she states:


                                          I. Background


     l. Plaintiff Dr. Nadine Jarmon (hereinafter "Jarmon") is a whistleblower who was fired for

        reporting government waste and fraud among other things.

     2. MHA leadership then engaged in a cover-up to hide its illegal retaliation.

     3. Plaintiff was recruited from Florida to be the Executive Director of the MHA.

     4. Plaintiff has over 25 years of direct management experience in the public and affordable

        housing arena.

     5. Plaintiff has never been fired.

     6. Plaintiff reported to the Board of Commissioners for MHA.

     7. Plaintiff was hired on July 16, 2020 as full-time Interim Executive Director.

                                                                 EXHIBIT
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8. Plaintiff was hired as permanent Executive Director on April 5, 2021.

9. The terms of the employment agreement were for a period of 2 years.

10. On June 23, 2021, Jarmon reported the under Whistle Blower protection the wrongdoings

   of MHA in a 161 page document. See attached Exhibit Package.

11. Dr. Nadine Jarmon less than a week after sending her formal written complaint of misuse

   of funds, among other things, overreach into the day-to-day operations, mismanagement,

   and waste of federal funds, she was put on administrative leave with pay in retaliation for

   her reporting the wrongdoings. See Exhibits Package.

12. On June 29, 2021, in continuance of MHA misappropriation of government funds, MHA

   awarded a no-bid contract of $160,000 to Pinnacle Strategy Group to investigate Dr.

   Jarmon.

13. On July 19, 2021, this no-bid contract was rescinded by MHA after a letter was sent to

   MHA from HUD Director Anthony S. Landecker. See Letter in Exhibits package.

14. In a timely manner on August 21, Jarmon filed a whistleblower complaint on the Housing

   and Urban Development hotline for retaliation which was escalated to the United States

   Department of Housing and Urban Development ("HUD") Office of Inspector General

   ("OIG").

15. On August 25, 2021 MHA fired Jarmon in retaliation.

16. Rather than commend Nadine Jarmon for calling attention to the abuses of the board

   MHA retaliated against Jarmon for reporting the waste and fraud by firing her.

17. As a condition precedent to filing suit, the employment agreement requires Jarmon to

   mediate her claims.

                               II. Jurisdiction and Venue



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18. Plaintiff brings this action under the Federal Whistleblower statute for employees of

   federal grantees, 41 U.S.C. § 4712 et seq. ("the Whistleblower statute") and also brings

   common law causes of action against the Defendant which occurred in the State of

   Arkansas.

19. The United States District Court for the Eastern District of Arkansas has subject matter

   jurisdiction over this suit under the provisions of 28 U .S.C. § 1331 because this suit raises

   federal questions under the Whistleblower statute.

20. This Complaint also alleges violations of the common law of the State of Arkansas which

   form part of the same case or controversy and arise out of a common nucleus of operative

   facts as the Whistleblower statute claims alleged in this Complaint.

21. Therefore, this Court has supplemental jurisdiction over Plaintiffs common law claims

   pursuant to 28 U.S.C. § 1367(a).

22. The acts complained of herein where committed, and had their principal effect within the

   Eastern District of Arkansas, Western Division, and therefore, venue is proper within this

   District pursuant to 28 U.S.C. § 1391.


                                      III. The Parties


23. Plaintiff Nadine Jarmon is a citizen of the United States and worked in the State of

   Arkansas. At all times relevant to the allegations in this Complaint, Plaintiff was

   employed by the MHA in Little Rock, Arkansas.

24. Defendant MHA is an employer within the meanings set forth and applicable to federal

   and state laws, and was, at all times relevant to allegations in this Complaint, Plaintiffs

   employer.




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25. At all times material herein, Plaintiff was a covered employee entitled to the rights,

   protections and benefits provided under the Whistleblower statute 41 U.S.C. § 4712.

26. Defendant MHA receives HUD contract and grant funds.

27. Defendant's address is l 00 South Arch St., Little Rock, Arkansas, 7220 l.

28. At all times relevant to this action, Defendant was Plaintiffs employer as defined by 41

   u.s.c. § 4712.
29. At all times relevant to this action, Defendant was an employer subject to the anti-

   reprisal and retaliation provisions of the Whistleblower statute 41 U.S.C. § 4712.

30. This suit alleges common law causes of action against the Defendant which occurred

   in the State of Arkansas, and this suit seeks damages as a relief.


                      IV. Facts Which Entitle the Plaintiff to Relief


31. Plaintiff repeats and realleges all previous paragraphs of this Complaint as though fully

   incorporated in this section.

32. Plaintiff worked for Defendant as Executive Director.

33. She began her employment in July of 2020.

34. MHA is a grantee receiving Federal funds from HUD.

35. On June 23, 2021 Plaintiff sent a 161 page written complaint to the HUD Director

   Anthony Landecker and Mayor Frank Scott of Little Rock, indicating among other

   things, overreach by the Board of MHA into the day-to-day operations, mismanagement

   of funds, and waste of federal funds.

36. Attendance at the MHA office is addressed in the MHA employee handbook and this

   allegation exposed potential theft of government funds through overreach by the Board of




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   MHA into the day-to-day operations, mismanagement of funds, and waste of federal

   funds.

37. This disclosure was made to the following person:

       a. Kenyon Lowe, MHA Board Chairperson, who had the responsibility to address

            misconduct per the MHA employee handbook.

       b. Anthony S. Landecker, Director of Public Housing, who has responsibility to

            address misconduct of MHA.

       c. Frank Scott, Mayor of Little Rock, who oversees the appointments to the Board of

            Commissioners of MHA

38. Rather than commend Plaintiff, MHA then engaged in a cover-up and fired Plaintiff

   for raising these issues.

39. On June 23, 2021, Plaintiff reported MHA wrongdoings.

40. On June 29, 2021 MHA put Jarmon on administrative leave with pay.

41. On June 29, 2021, MHA banned Jarmon from all MHA properties and all communication

   and access items were retrieved and disabled.

42. All administrative remedies have been exhausted.

43. MHA offered no due process or mediation per contractual documents.

44. On August 2, 2021, HUD OIG interviewed Jarmon regarding her whistleblower

   complaint.

45. On August 21, 2021 Jarmon filed a HUD Whistleblower complaint on the Fraud Hotline

46. On August 25, 2021 Jarmon was fired in retaliation to her whistleblower complaint.

47. Plaintiff timely filed an OIG complaint, exhausted her administrative remedies, and has

   timely filed this present action.



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48. The MHA specifically wanted Plaintiff publicly fired, so as to punish Plaintiff and send a

   signal to other employees not to report any issues.


                                   V. Theories of Recovery


                                  First Cause of Action
                 (Violation of 41 U.S.C. § 4 712 Anti-Reprisal Provision)

49. Plaintiff repeats and realleges all previous paragraphs of this Complaint as though fully

   incorporated in this section.

50. Plaintiff brings this action against Defendant under the Whistleblower statute 41 U.S.C. §

   4712.

5 l. At all relevant times, Plaintiff was a covered "employee" within the meaning of

    Whistleblower statute 41 U.S.C. § 4712.

52. At all relevant times, Defendant was an employer of Plaintiff as a government grantee or

   contractor within the meaning of 41 U.S.C. § 4 712.

53. Plaintiff made protected discloses of what Plaintiff believed to be gross mismanagement,

   waste, fraud, and abuse violations within the meaning of 41 U.S.C. § 4 712 to the MHA

   Board Chairperson.

54. Plaintiff made such protected disclosures to her Board Chairperson who is a covered

   person within the meaning of 41 U.S.C. § 4 712.

55. Defendant, through its agents and employees, including Plaintiffs supervisor and Board

   Chairperson, discharged, demoted, or otherwise discriminated against Plaintiff as a

   reprisal for her protected disclosure to the Board Chairperson.

56. Plaintiff filed a timely complaint with the HUD OIG alleging that her firing had been a

   reprisal within the meaning of 41 U.S.C. § 4712.



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57. Plaintiff exhausted her administrative remedies and has been through mediation per

    the contract language within the statutory timeline to file a complaint per 41 U.S.C. §

    4712.

58. As a result of Defendant's violations of 41 U.S.C. § 4 712, Plaintiff seeks compensatory

    damages in the form of front pay, back pay, attorney's fees and costs, compensatory

    damages for any past or future out-of-pocket losses and for any emotional harm.

59. Plaintiff seeks a trial by jury.


                                 Second Cause of Action
                     (Wrongful Discharge in violation of public policy.)

60. There is a well-established public policy in this State favoring the reporting of illegal and

    unsafe activity, specifically government waste and those who abuse the public trust.

    When Defendant terminated Plaintiff for complaining about government waste, it acted in

    violation of public policy.

61. As a direct and proximate result of the actions of the Defendant and its agents as set forth

    herein, Plaintiff has suffered irreparable harm to her reputation; she has suffered loss of

    income in the past and will continue to suffer loss of earning capacity in the future; and

    Plaintiff has endured emotional pain and turmoil in the past and will continue to endure

    the same in the future. She is entitled to both compensatory and punitive damages from

    the Defendant as a result of the conduct alleged herein.

62. All acts of the Defendant's agents and employees and officers against the Plaintiff were

    done within the scope and course of their employment with the Defendant and, thus,

    Defendant is liable for such acts under the theory of respondeat superior.




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       WHEREFORE, the Plaintiff, Nadine Jarmon, prays for judgment against the Defendant

in the form of both compensatory and punitive damages in an unliquidated sum and for all other

just and proper relief to which she may be entitled, including, but not limited to, attorney's

fees and costs.


October 28, 2021
                                     Respectfully submitted,

                                     ls/Chris P. Corbitt
                                     Chris P. Corbitt, Ark. Bar # 2004089
                                     Corbitt Law Firm, PLLC
                                     PO Box 11200
                                     Conway, AR 72034
                                     Telephone: (501) 255-0112
                                     FAX: (888) 305-1008
                                     www.corbittlawfirm.com
                                     Email:




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                 [To be used when required by Administrative Order No. 2 (g)*]

COURT:             _ _ _ _ _ COURT OF _ _ _ _ _ _ _ _ _ COUNTY

                  Docket/Case Number:


CASE NAME:
PLAINTIFF/
PETITIONER:

DEFENDANT/
RESPONDENT:


TITLE OF PLEADING OR
DOCUMENT BEING FILED
(If a multi-part file,
the designation "part _ of_"
(example, part 1 of 2)):




*Administrative Order No 2.
           (g) File Mark. (1) There shall be a two inch (2") top margin on the first page of each document submitted for
filing to accommodate the court's file mark. If the pleading or document must be filed in multi-parts because of size or
for other reasons, the first page of each part must include the file name and file mark and shall clearly indicate the part
number and number of parts (example, part 1 of2).
           (2) If a document is such that the first page cannot be drafted to provide sufficient space to satisfy the file-
mark requirement, the document must include the uniform cover page developed by the Administrative Office of the
Courts and found under Forms and Publications at www.arcourts.gov.
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JW1e 23, 2021

Mr. Anthony Landecker
Director - Office of Public Housing
Housing and Urban Development
State of Arkansas
425 W. Capitol Avenue. Ste. 1000
Little Rock, AR 7220 I

Honorable Mayor Frank Scott. Jr.
Little Rock City Hall
500 West Markham Street
Little Rock. AR 72201

Dear Mr. Landecker and Mayor Scott:

As the Executive Director of the Little Rock Housing Authority d/b/a Metropolitan Housing
Alliance (MHA), I am compel1ed to write this letter on behalf of the agency and MHA •s staff to
express my concerns. I have over 25 years of direct management experience in the public and
affordable housing arena and have completed well over $750 million in development related
projects; including $700 million underway in New Orleans prior to Hurricane Katrina. I
reference these facts to demonstrate that (l) I have extensive experience in complex development
deals; and (2) I know how to run a housing authority. Having worked at some of the largest and
most troubled public hom;ing agencies throughout the United Stntes, I can honestly state, that the
actions by the Board of Commissioners at MHA are by far the most egregious examples of
overreach into the day-to-day operations, mismanagement. and waste of federal funds that I have
ever encountered.
Under the Whistleblower Protection Act. I feel it is my duty to repo11 gross misconduct,
inefficient governance, and troubling actions by the current board of commissioners that impact
every aspect of the efficient operations of MHA. While serving as the Interim Director from
July 2020 through April 2021 I became aware of concerning trends by the Board of
Commissioners. However, now that 1 have officially accepted the role as the Executive Director
it is my duty to bring these trends and actions to the attention of proper authorities.
Specifically, the board has taken actions to intentionally divert funds and resources from MHA
to their non-profit. Central Arkansas Housing Alliance (CAHC). This action, in and of itself, is
acceptable with an approved action or development plan and detailed accounting records. In
absence of such a plan these actions become suspect. They become even more suspect when
there is a constant and insistent push from board members to "'move quickly" with the transfer of
properties.
Lastly. this board has demonstrated extreme involvement in the day-to-day operations of the
agency with staff and I often having to attend 4-5 meetings monthly in addition to daily phone
calls, texts. and emails.
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It is the mission of the Metropolitan Housing Alliance to provide safe, quality, affordable housing as a
basic hwnan right to build commwlity resilience, improve intergenerational public health outcomes. and
increase equitable opportunities. My staff and 1are steadfast in our commitment to this purpose and
celebrate the families and the commlD'lity we serve. I view any form of impcdimCflt to the daily
performance of our duties as a threat to the livelihood of the agency. When we struggle our community
struggles. The actions of the board not only affect my team, but they put our mission and our community
at risk while increasing the likelihood oflow-income families living in substandard housing al rents
beyond their ability to pay.
MHA Board's conduct has proven their inability to govern a Public Housing (PH) agency,
maleficent and gross mismanagement of federal funds and agency resources, blatant abuse of
power; and violation of the Annual Contribution Contract (ACC) between MHA and Housing
and Urban Development (HUD) and the established code of ethics governing their actions.
Even more disturbing is that the existence of these problems has been well publici1.ed and
expounded upon over at least three years.
It is my sincere hope that you will review the docwncnts provided and take appropriate steps to protect
the MBA as a grantee of federal funds and ensure the continuation of the services provided by the hard
working and dedicated staff of the housing autoority. Our residents, participants, and neighbors depend
now, more than ever, on our dedication to providing safe, stable, dignified, and affordable housing.
The infonnation is presented in the spirit of ..if you see something, say something'' and that it is my
fiduciary duty, both ethically and legally to bring this conduct and behavior to the attention of the Federal
Government w,d the elected leaders of the City of Little Rock.
My motives are not driven by anything other than my personal integrity and belief in the mission of the
Metropolitan Housing Alliance. While I am aware of the tumultuous change of leadership at the agency
over the past few years. my actions have nothing to do with my personal like or dislike of any individual
board member, but rather my concern for the financial health and future of Ml-IA
At the end of this rqx,rt are supporting documents, that include board minutes, emails, docwnentation,
and statements that will support this letter W1d all my concerns. In addition, I have included statements
from two previous MHA Executives and a copy of an eerily similar complaint submitted almost one year
ago to the date of this complaint (attached).
I believe that after a full review of the infonnation provided with this complaint that the need for
immediate dismissal of members of or the entire CUITCDt board of commissioners wil1 become the obvious
and most responsible decision.


Thankyou.
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Nadine M. Jannon. PhD
Executive Director
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LETTER TO THE MAYOR AND BOARD OF DIRECTORS OF THE CITY OF LITTLE ROCK

June 25, 2020

SUBJECT: METROPOLITAN HOUSING ALLIANCE BOARD REMOVAL

Dear Board of Directors,

This letter is sent on behalf of a majority of employees at the Little Rock Housing Authority (LRHA) dba
Metropolltan Housing Alliance (MHA) to inform you of the problems that are not obvious to anyone
outside of MHA. but have reached a breach of the public trust to such a degree the Commissioners are
serving themselves and have lost sight or been blinded by the power to make decisions in the best
interest of the community that we all serve. The MHA board is putting the agency and millions of dollars at
risk for personal reasons. We are requesting the removal and replacement of the current MHA board of
directors based on the following reasons: (1) Incompetency (2) Misconduct (3) Hostile Work Environment.

Incompetency
The most recent dangerous incompetency came as a result of Covid19. The board called Board
meetings and put staff and the public at risk because they did not all wear masks and did not follow social
distancing general accepted practices of managing risks associated with Covid19 at board meetings.

The board has shown great incompetence in its failure to understand the housing programs it oversees
while adamantly injecting themselves in the day to day activities and purposefully through its inability to
hire and retain an executive director.
The board proves Incompetence by using its platform to blame and belittle staff.

The board provides inaccurate information directly to tenants and to the public which creates confusion
and violates the public's trust It is challenging for staff to perform their daily job duties with the extra time
and efforts it takes to resolve the problems that the board creates.

In addition. the board does not understand the financial funding of MHA. Despite having an excess of
funds intended by HUD to administer housing programs. the request for additional staff has been denied
by the board, vacant positions are unfilled, and the board states MHA is In financial trouble.

The board's failure to understand the method of federal funding for housing agencies prevents executive
staff from growing the agency to the full extent possible which would result in more services available to
the citizens of Little Rock.

Incompetence was also apparent during the lasl recruitment for an executive director. The resignation of
the executive director in 2018 was followed by the board's series of blatant haphazard attempts to fill the
position with several inadequate candidates.
The board manipulated the process by delaying offers to qualified applicants leaving the agency without
leadership for an extended period of time.

Since the recent resignation of the current executil,e director that is effective July 7th, staff has been
informed that the MHA board intends to appoint Lowe as executive director. Tenants have also contacted
staff requesting to speak to Lowe stating that Lowe informed them he is tne new director.
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'Mlile educated and a longstanding board member Lowe's resume shows that he has never held a full
time executive position in a housing authority or similar organization. His behavior as a board member
proves that he tacks the temperament, knowledge, and management skills to successfully lead the
agency.

Misconduct
The board has a blatant disregard of the rules for open records. It is documented by the media as well as
in board minutes' numerous instances in which the board failed to follow the rules regarding meetings and
transparency. Despite the training required by the city in 2019, the board continues to hold executive
sessions without disclosing all topics of discussion. Ex parte discussions outside the boardroom also
occur on a normal basis.

The board's abuse of power is also shown by Kenyon Lowe's financial impropriety regarding travel
expenses. Lowe charged personal expenses to MHA while at an out of town training. He received per
diem funds to pay for meals and associated routine travel prior to the trip, however he made charges to
his r.>om and did not pay them. Lowe then failed to pay MHA for the unapproved hotel expenses timely
and only arter it was brought to the attention of the media he inappropriately directed a staff member to
provide him the amount and settled the debt.

Hostile Work Environment
The board has created a hostile work environment for executive staff by stepping over the iine of being
heavily Involved in the day to day responsibilities of the agency the executive director Is responsible for.
The board belligerently accuses staff falsely in public meetings and in emails to staff of not doing their
jobs by not providing follolN up information.

This environment is preventing employees from performing job duties and causing excessil,e turnover m
executive staff and challenges in the recruitment of talented professionals.

Over half of the current staff are considering a walkout that would affect MHA's ability lo process rent
payments for nearly 3,000 families.

A mediator was hired in efforts to improve staff-board relations. Unfortunately, the board has responded
to staff concerns with retaliation, confrontation, harassing interactions, and in uncompromising positions
that leaves staff feeling that their jobs are endangered.

Additionally, previous board members have resigned due to the environment created by existing board
members.

Summary
In summary. we are tax paying citizens of Little Rock and MHA's board has proven to be power hungry.
confrontational, illogical. calculating, neglectful, incompetent and dangerously unethical and
unprofessional as just a few terms to summarize the hidden fears of MHA staff.

The Oest interest of the community is protected by the removal of the current board. There are no
signatures included in this letter due to a fear of future retaliation. MHA employees are willing to discuss
these very serious and urgent issues in person with the Mayor as soon as his schedule permits.

Sincerely,

Concerned MHA Employees
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                                         SUMMARIES
Examples of Breach of Fiduciary Responsibility, Procurement Violations (Conflict of Interest),
Abuse of Power, Hostile Work Environment and Negligence and Inefficiency

FAILllRE IN FIDUCIARY RESPONSIBILITY

   •   According to audits. the authority did not pcrfonn adequate accoW1t reconciliations over
       accounts payables. accounts receivable and allowances, expenses, other liabilities. prepaid
       assets. and the scrcdulc of expenditures of federal awards. (See attachment 1)

   •   Both 2018 and 2019 audils cited significant and material deficiencies.


   •   During the audit of the Authority's blended component, CAHC. repeat audit findings state
       handling of fmances w-e being neglected and several adjustments were necessary.

   •   The Authority did not maintain adequate documentation. (See attachments 2)

2021 FINANCIAL ASSESSEMENTS by DIRECTOR OF FINANCE

   •   Lack of knowledge and understanding regarding budget creation and budget monitoring arc
       agency agency-wide problems.

   •   Lack of oversight and finance monitoring. (See attnchment3)

FAILURE TO COMPENSATE CENTRAL OFFICE COST CENTER (COCC}

In the May board meeting the Board of Commissioner expressed to have the cost allocation of MHA staff
removed from Central Arkansas Housing Corporation by tabling the resolution presented in the meeting.
(See Attachment 4)
   •   Used MHA staff without proper cost allocalion 10 promote activities of the non-profit. The
       average monthly cost is $44,000 per month which equates to $528,000 per year. (See
       attachment 5)

   •   Vernon Place is owned by CAHC, w1d d1e MHA Staff use of time during the period ofS-2019 to
       3-202 I can equate to well over $140.000.

   •   COCC as of March 21, operating at a deficit \\ith a Year-to- date balance of ($21,149) (See
       attachment 6)

   •   Original projection of transfer from CAHC to COCC is $400.000 beginning in Jw1e 2021. (Sec
       Attachment 7)



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    •   In 2018 the RAD deals were structured, to allocate $428.000 per year m support COCC staff
        from Central Arkansas Housing Corporation (CAHC)

    •   ·me COCC uses funds from General Fund (Section 9 Fw,ds) to subsidize CAHC properties.
        Loan of $6,000 to Elm Street on 4/28/2021. (See attachment 8)


DEMANDED TRANSFER OF MHA PROPERTY


·111e Board of Commissioners have directed MHA staff to transfer property to the Central Arkansas
Housing Corporation (CAHC). Staff\\'as also directed to get an appraisal for both Hyde Park and
Vernon Place properties. In addition. board requested to have the title !or both properties cleared of all
liens and encumbrances before the transfer. Total cost for MHA staff to execute TI1e Board of
Commissioner's task with third party vendors is $30,000.00. Cost do1.S not include the Board of
Commissioners hired attorney's review of the City of little Rock proposal.
·1ne Board is obsessed with the transferring of assets from the MHA to the Non-profit CAHC and has
harassed and intimidated the Executive Director to force her into performing this task.

    •   The Board of Commissioners demanding immediate transfer of land does not conespond to the
        required HUD approvals. 1-nJD will require approval for all transfers. (See Attachment 9)

    •   The Board of Commissioners continued effons to force the Executive Director and staff
        to transfer MHA properties over to CAHC is not in the best interest of the agency. (Sec
        Attachment 10)

    •   The Procurement Coordinator reached out to the HUD Field Office regarding the Board's
        request to transfer properties. The Field Office responded that any properties purchased
        with Section 9 funds, must be approved by the local Field Office prior to any disposition.
        (See attachment 11)

    •   Appraisal solicitation process for Hyde Park was circumvented and delayed. The first Appraiser
        chosen., Commissioner Lowe would not allow and accused the Appraiser of conflict of interest
        which Vi'Wi not a tr.Jc or valid statement Mr. Lowe's insertion into the process cost additional
        time and costs. In the end, Mr. Lowe wa..c; not happy with the Appraiser chosen for the site and
        ask that another appraisal be conducted. (See Attachment 12)

    •   April I0th Retreat - Dr. Jnnnon's request to conduct a Highest & best use analysis and cease
        development activity. (See attachment 13)

COSTLY DELAYS TO DEVELOPMENT DEALS

The Board tabled Resolutions for RAD deals after 5-years and within 90 days of closing. The Boord
stated during a meeting they did not understand the deal and Commissioners Lowe and Anthony stated
they were not comfortable with the deal points. (See attachment 14)
                                                      2
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Representatives from ITEX provided a detailed timeline on April 21. 2021. requiring several days of
research. Timeline demonstrated board's knowledge of involvement in approving all deal points starting
with Master Development Agreement (MDA) in 2016. (See attachment 15)
Synopsis oflmpact of Closing the Transaction was developed by Development Attomeys from Coats
Rose-with cmpha.,;;is on last paragraph that states that '•failure to close these transactions as apprnved
could significantly affect CAHC and MHA's relations with HUD and ADFA." (See attachment 16)
Memorandwn dated May 26, 2021, from Coats Rose on CAHC's Q\,nership Role in RAD-Converted
Projects. The la& paragraph states "CAHC must be able to meet the financial obligation under the
closing documents." (See attachment 17)
        •   l11e Board's unwarranted delays caused the use of additional unbudgeted fw1ding and cost
            allocations. In addition, this required legal opinion on departure of deal. The Bonrd's actions
            put MHA at great risk of incmring substantial costs for current RAD projects. lhis required
            use of staff w,d Attorney's time from April 15, 2021, to April 30, 2021, which cost the
            housing authority thousands of dollars in staff time and attorney fees. [n addition, to the cost
            of over $200 to FED EX the signed documents for delivery over a weekend.

The appointment to the board shows that some of the Bonrd members have been on the board for
five plus years. Given the amount of tenure-it becomes disingenuous when members of the
board; specifically, Lowe and Anthony, table important items under the guise that "they didn't
approve these deals'' or "don't know the details of the deals".

WANTON \VASTE OF RESOURCES/ PROCUREMENT VIOLATIONS

MHA Board of Commissioners directed staff to advance projects that was a ~1U1ton waste of ~"tafftime
and federal funds.

INTERFERENCE WITH IT STRATEGY

Nwnerous contract~ have been awarded or steered to businesses or persons who have personal
relationships with the Board of Commissioners that was not disclosed nor properly procured.
    •   Chainnan Lowe's interference resulted in the hiring of an inexp.-:rienced IT Administrator. Since
        then, MHA now has had to hire a consultant to shore up the agency IT operations. (See
        Attachments 18-21)
    •   In addition, over the week.end of May 22, 2021, a virus crashed the system causing MHA stnffto
        lose emai] access. (See Attachment 22)
    •   As of May 29, 2021, the outside Consttltant was still working to fix the issue. This was totally
        preventable. Due to the new IT Director's inexperience the agency must spend over $20,000 in
        replacement equipment, staff time and Consultant time to make the necessary repairs. Due to
        limited IT knowledge MHA 's IT Director is unable to assist in the repair work.
    •   See emails with ~ment reports from previous IT Consultant and current emergency IT
        Consultant (See attachments 23- 24)

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VERNON       PLACE
MHA pwchascd from owner on April 17, 2018. Original purch~ price$197,000. City of Little Rock
released liens on the condition the property be purchased by MHA. Reverters are placed on this propeny
as a condition of sale mid a.5SlU'Dl'lce to remain in the restricted of '"house low-income housing residents....
The Board request the property be purchased under the nmne of Central Arkansas Housing Corporation.
After MHA purchased the property and the liens were forgiven. Joe Hanis a fiiend of Commissioner Lela
Anthony and Commissioner Lowe, had his agent make an offer to buy the property. Without MHA
purchasing the property, Mr. Hanis would not have been able to buy the prope1ty outright.
 'lbe agency placed an offer on the property for Joe Hanis to purchase the property. ll1e buyers name
changed from a buyer's agent representation to Friendship Chaner School or its assigned. (See
Attachment 25)
This is an organization in which Commissioner (Leta Anthony) was a consultant and is still cun-ently on
the Friendship Board. Commissioner Anthony was serving as MHA 's Board Chair at the time of the
voting. (Please see attachment 26)
Agent offered $350,000; MHA counteroffer was $425,000. Placeholder's offer was $309,363, with talks
of the final price selling as low as $221,663. An estimated evaluation analysis wai. pe1fonned on the site.
MHA Board ofCommi~ioners raised questions as to why the need for MHA to make money, and that
MHA should only break even. The Boord of Commissioners voted to move forward with the sale of the
property. (See Attachment 27)
Commissioner Lowe called and requested removing the reverters from the property to change city zoning
requirements to allow the approval and building plans of the school. Per directive from Commissioner
Lowe staff was charged with working with the owner to remove the Federal Home Loan Bank reverters
and then buyer's attorney and State Land Commission attorney to rcntove the remaining reverters. This
action would result in CAHC usswning additional cost to sell the property to Friendship at an estimated
amount of $17,047.94 less proceeds. Due to penalties dating back to 2000. a State of Arkansas legislative
action was set in place for removing reverters in this case. (Please see attaehment 28)
MHA 's Board of Commissioner's agenda for the sale of this land to Friendship, voted to move forward
with the sale of the land.


NON-COMPLIA"'ICE AND VIOLATION OF PROCUREME1''T POLICY INCLUDED:
    • Board of Commissioner Leta Anthony was Board Chair ofMHA at the time of voting for the
      purcha.,e of Vernon Place and the sale to Friendship.
    • Board of Commissioner Leta Anthony is currently still on the Friendship Board and served as a
      Consultant for Friendship at the time of voting for the purchase of Vernon Place and for the sale
      to Friendship. lutps://fricndshipaspirc.org/govcmuncc
    • MHA Board requested staff to lower the asking price for the property to accommodate the buyer.
    • Misuse and misdirection of Vernon place since July 2020 in pursuit of transfer of ownership to
      Friendship and then the process to abandon



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MLK
 MHA Board of Commissioners suggested staff spend Capital Funds 10 build the four-unit complex in
which Hul) has approved under the Neighborhood Stabiliz.ation 11 ·'NSP II" Program. An Architect
engaged in the NSP II Program and led this site, Fennell Purifoy, was originally awarded the contract for
the purpose of designing homes to expend the NSP U Funding in a timely manner. After the unit at 1218
MLK burned, MHA engaged f cnndl Pwifoy for the pwpose of redesigning the units at cost of
$3.873.40.

111e MHA Board directed former Executive Director Anthony Snell to solicit Fennell Purifoy to hire
Woods Group, to support minority business representntion. This model remained in place until shortly
before Mr. Snell resigned.
111e Board of Commissioner's solicitated an agreement directly with the Woods Group cost MHA a total
of$11,223.40 to date fordesign fees only, with an additional promised cost of$42.450.00 more in A&E
fees to complete the MLK project. Total proposed cost for A&E and construction for the l'v1LK project is
now $964,047.78. (See attachment 29)
    •   Boan! directed Executive Director to award and steer contracts to the Woods Group in the
        amount of$964,047.78.
    •   Commissioner Anthony demanding a high-profile grotmdbrcaking for this build while the
        estimated amount of the current budget for this site is running in the negative. (See Attachments
        30-31)


ARS- ABSOLUTE RESIDENT SERVlCES

ARS (Angela Tolbert} Procurement provided Board of Commissioners with three quotes from vendors to
perfoon a Board of Commissioners retreat. Statf ·was directed to pull the 4111 solicitation from local
attorney after bids were closed. The vendor also represents Residents in Fair Housing claims.
Commissioner Lindsey directed staff to engage and evennwlly hire ARS to ~--rfonn services. Staff
contacted ARS to perform the 2019 Board of Commissioners retreat at a cost of$4,500.00.

Commissioner Anthony continued to invite ARS (Ms. Tolbert) to board meetings in which the cost to the
agency that was not solicited. Staff raised the question to the Executive Director and Ms. Tolbert
intbnning of noncompliance of procurement The Executive Director infom1ed the Board of
Commissioners of the non-compliance and of directing staff to generate cost for service.
MHA Board of Directors gave the directive that Ms. Tolbert would continue to participate at the meetin~
which forced staff: to generate a resolution for the Board of Commissioner's approval. TI1e resolution
approved was for $47,500.00. The Board of Commissioners exceeded that amount ultimately costing the
agency a total of $52,000.00 for this contract. (See attachment 32)
Dr. Jarmon immediately terminated the contract upon her arrival. (See Attachment 33)




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CONFLICT OF INTEREST
Nwnerous contracts have been awarded or steered to businesses or persons who have personal
relationships with the Board of Commissioners that was not disclosed nor properly procured. Nor did the
parties recuse themselves from the vote.

CARES ACT - Hous~aboutit

MHA received three responses to the RFPs for Cares Act Funding. The Board tabled The Cares Act
FW1Cling after Commissioner Anthony asked to readvertise the RFP and expand the search. As a result of
readvertising the RFP, we received two additionlll responses. 1be three most responsive proposals were
awarded. The largest award by the Board went to ''HouseAboutlf' in the amount of $140.000.
Commissioner Anthony did not reveal that she once worked for ·'HouseAboutlt", nor did she recuse
herself from the vote. (Sec Attachment 34)

    •     Violation- Misconduct: Commissioner Anthony did not disclose her relationship/employment
          with the organization that ·was a\1\wded the largest contract
CONTRACT STEERING

TI1e Design Group has been the recipient of numerous high-dollar contracts from both MHA and CAI-IC.
The steering of conlrdCts has resulted in: (See Attachment 36)

    •     Monthly payments continue to The Design Group averaging $6,200 for the maintenance of
          MHA's website and intergovernmental services. In recent months with MBA hiring of an IT
          Administrator this has resulted in duplicate services.

    •     Solicitation of Developers -Commissioner Anthony requested to have a media outreach
          for Section 3 resident and contractors. As a result of the outreach MHA incurred a cost of
          over $80,000.00 in outreach expenses. The Board wanted deve]opers to pay for expenses
          without prior comractua] agreements. Executive Director was forced by board to try to
          solicit funds from Gonnan and ITEX. (See Attachment 37)

INFLUENCING STAFF DECISIONS

Hiring and Termination of Staff
Hiring of IT Director- Agairn>1 my recommendation the Board insisted that I post a search for an IT
Director. lbree candidates were interviewed including one with no housing experience and little IT
expeiience. TI1e ED chose a candidate with over 30 years of Public Housing IT experience. However,
the candidate with no housing experience was elected at a salary of $60.000 at Chainnan Lowe's
recommendation (See Attachment 38)
Action:
   •      Board Chainnan Lowe demanded that lvlHA 's long-time JT Consultant contract be te1minated
          immediately v:ithout any type of transition plan. Commissioner Lowe inserted himscl f into the
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        interview process for staff positions. This behavior continues to be ongoing for both
        Commissioner Lowe and Commissioner Anthony.
    •   Commissioner's Lowe's interference resulted in hiring an IT Director that lacks the knowledge.
        skills and experience of hoth IT technology and Public Housing. (Please see resumes of new IT
        Dirtttor Kedrick Jones and recommended candidate Richard Congo. Attachment 39).
    •   Executive Director received email with reswne from Commissioner Anthony in the hiring of the
        HCV Dircctor·s position. (See Attachment 40)
    • Tcnnination of Employees- The Board expressed concerns regarding three employees and
        insisted there was exposure to MHA if! did not tenninate d1ese employees.
    •   Human Resources {HR), Procurement and Housing Choice Voucher (HCV)-At the board
        meeting in April 2021, I was concerned with the Board insistence of hiring a Procurement and
        Hwnan Resource Director (HR). I explained that both of those positions were currently filled,
        and that MHA did not need a full-time HR staff person.
    •   While the Board was insisting that two high-salaried positions be filled they were also directing
        that staff pay be roouced and 10 of the 14 HCV case managers be laid off. This resulted in an
        exchange vvith the Board of Commissioners and Housing Choice Voucher (HCV) Director as
        what would be the operational consequences of such a substantial reduction in HCV staff.
    •   At the Board retreat held Ja.numy 12, 202 t Dr. Jrumon laid out staffing plans. The Bourd of
        Commissioners reactions was to vehemently take issue with the plan and proceeded v.rith a very
        unprofessional and lewd rant of allegations of various staff having affairs with other staff
        members ru1d executives. The content and verbiage used was laced with sexual innuendos and
        profanity. Specitically, Chainnan Lowecommemed that ••y,1e'rc not going to pay pussy bills."

    •   Board member pursued Deputy Director position while serving on board -At the behest of
        Commissioner Leta Anthony, On October 2'1' I was visited by Commissioner Brandi Peterson
        who expressed interest in the Deputy Director's position. J informed Commissioner Peterson that
        it was a conflict of interest and that she would have to resign from the board. Commissioner
        Peters then stated she was interested in the position, and she could get a waiver based on what
        Commissioner Anthony had told her.

EXCESSIVE SPENDING
MHA Board of Commissioners has not effectively governed MHA and has interfered with its day-to-day.
The systemic actions of the Board have set up a process to under mind the agency and to cause the
agency to lose money. The Board has stunted the growth of the agency.
The Board is attempting to isolate all the revenue and leave MHA agency financially vulnerable. The
Board's maleficent actions are taking millions from the agency ru1d losing money fur the ngency.
Example of excessive and egregious spending and mismanagement of agency funds and
equipment.



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    •   Purchase of Laptop Computers and IPAD- Directed MHA staff to order specific type
        of laptops for each board member after staff had already order 5 laptops on July 27. 2020 1
        at a cost of$2, 148.00 per laptop: $10,740.00 total. Commissioner Lowe rejected the new
        laptops. Commissioner Lowe directed staff to order computers that he had chosen with
        specs that he wanted and sent the information to staff. Second order of new laptops that
        Commissioner Lowe demanded, and which staff placed the order on Septemoer 4. 2020,
        cost for each laptop $4.079.68: $16.318.72 total. the other commissioners then request
        lPAD's in which staff ordered at a total cost of$4.286.79. Total cost to agency for the
        specific request mad by the Board of Commissioners total $31,345.51 which is
        $20,605.51 above the budgeted amount for the Board of Commissioners devices. (See
        Attachment 41)

        Purchased computers at a higher cost when much less expensive laptops were already purchased
        would have served the same purpose. (See Attachment 42)

PORNOGRAPHY
Inap.nropriate Conduct - When the set oflaptops that were originally ordered were returned to MHA
staffby the Board, in the short lime that the Boartl had them in their possession, it was revealed that
Commissioner Jackson had inappropriate {pornography) images on the laptops.. On August I 0, 2020.
Jeannie Owen.it. HCV Director, notified executive staff and it was verified. (See Attachment 43)

HEALTH and SAFETY
Violations of EEO laws and other Wlprofessional acts that include harassment. .retaliation, disparate
treatment. bullying, rude and insulting remarks, and emails.
Negligence, lnefficiencv Use of Official Time and Health and Safety
    •   Board retreat held January 12. 2021, the Board did not follow basic procurement protocol for
        selection of retreat site, which was not ADA compliance. Staff was directed to pay invoice
        sho1tly after. (See Attachments 44-45)
    •   The Board continues to make excessive demands on staff time. The Board disregarded
        staff safety from November 2020 to March 2021 by holding numerous in-person
        meetings. Al one point during this time MHA had nine active coronavirus positive tested
        staff members. These numerous in-person meetings by the Board heightened the
        exposure to the s:aff.

USE of OFFICIAL TIME

The Board has abused and misused staff time.
    •   Emails for requests of information are usually met with a short- turn -around time to
        provide this infonnation to the Board. In addition, the information requested have often
        been previously provided during Board or other meetings.

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    •   The Board of Commissioners conslW1t interference. intimidation, and distraction of staff from
        duties has affected the manner and priority in which staff conducts MHA business.
    •   The excessive involvement and intetference in day-to-day activities of the Executive Director and
        staffnt MHA has caused great frustraticm among the Execuli\'e leadership. As shoY.11 in the
        testaments provided by three of the prC\'ious Executive Directors. this board has attempted to
        steer hiring as well as the clay-to-day operations of the agency on an ongoing basis.
Further documentation and the Board's own actions and words can be found at the following.

    •   View Board meetings online- Please go to www.mhapha.org to view our Board meetings on
        March I 8, April. and May 13, 2021.

    •   The meetings for both MHA and CACH are back-to-back:

    •   In addition. notice board discussion during the following times as listed:
        1. (May 13, 2021) CACH meeting- 4:20- a'Vltard ofcontract awarded. Ml-IA meeting.
        2. (May 13, 2021) S:42- ED compensation split; tracking of hours.
        3. ('1ay 13, 2021) MHA meeting 10:18 mark.
        4. (May 13, 2021) 17:03-HCV Director reduction in HCV staff.
        5. (.May 13, 2021)1-hour 06min- Auditor's report.
        6. (~lay 13, 2021) I hr. 26min- personnel involvement.


LEGAL AND FINANCIAL RMUFICA TIONS
The Board of Commissioners at MI-IA has consistently made the woric environment for both the
Executive Director and staff extremely hostile.

Their inability to remove themselves from interacting directly "'rith staff and involvement with day-to-day
operations ~ resulted in numerous lawsuits against the agency. The cost of the legal representation,
settlement agreements and staff time focusing on these matters has come at great expense to the agency.

Specifically. please note the folloY.ing:

    l. Citing of hostile workplace environment by Mr. Anthony Snell. fonner Executive Director.
       Anthony Snell res:gned on June 4. 2020, citing hostile work environment 811d forcible
       compliance with detrimental Board actions among other item3. (See Attachment 46)

    2. Whistle Blower complaint filed by Jada Johnson. Ms. Jada Johnson fearing retaliation tiled a
       complaint Wlder the Whistle Blower laws. (See Attachment 47)

    3. Lawsuit against the Board by Marshall Nash, former employee. Mr. Nash filed a fonnal suit on
       October I 5. 2020 in which he asserts that members of the Board of Commissioners
       misrepresented his employment ~1atus and stated to the Office oflnspe.ctor General (OIG) that he
       was placed on Administrative Leave by the Board. Payroll records do not support the statement.
       (Sec Attachment 48)

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4. Lawsuit settlement against the agency by Ms. Dana Arnette., fonner employee. Ms. Arnette filed
   a suit against the agency on or about August 9, 2019. (Sec Attachment 49)

5. Letter to the Mayor and Board of Dil\:.--clors of the City of Linlc Rock. Lener on bclmlf of the
   employees at the Little Rock Housing Authority dba Metropolitan Housing AJ!iance requesting
   the removal of the Board on June 25. 2020. (Sec Attachment 50)




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Attachment 1
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            ...                          Housing Authority of the City of Little Rock

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           Ml-IA
M[TIIOPOl.lT,..,. NOUS•P'C. AlLIOC~
                                      Schedule of Findings and Questioned Costs (Continued)
                                                 Year Ended December 31, 2019




Findings required to be Reported by Government Auditing Standards

Reference
 Number                                                  Finding

2019-001             Criteria or Specific Requirement - Management is responsible for establishing
                     and maintaining effective control financial reporting.


                    Condition - The Authority did not perform account reconciliations over accounts
                    payables, accounts receivable and allowances, expenses, other liabllltles prepaid
                    assets, and the schedule of federal awards, therefore, audit adjustments were
                    proposed and recorded and some audit adjustments were proposed but not
                    recorded in order to present the financial statements in accordance with
                    generally accepted accounting principles. During the audit of the Authority's
                    blended component, CAHC, several adjustments were necessary and it did not
                    appear that adequate supervision was performed by the Authority.



                    Corrective Action Plan:

                    Contact Person: Finance Director

                    Planned Actions: Management will review the approval process of financial
                    reporting to ensure proper reconciliations are done on a monthly basis and
                    reviewed. Management will also set up reconcdiation procedures and month
                    end and annual financial reporting procedures. Management will also work
                    closely with development and the CAHC auditors, as well as LRHA auditors
                    throughout the year to ensure that the correct adjustments are performed.




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 Attachment 2




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           ...                           Housing Authority of the City of Little Rock
                                     Schedule of Findings and Questioned Costs (Continued)



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                                                Vear Ended December 31, 2019




Reference
 Number                                                    Finding
                                     Public and Indian Housing - CFDA 14.850
                             U.S. Department of Housing and Urban Development
                                             Award Year 2019

2019-006            Criteria or Specific Requirement -Allowable Costs - Management is responsible
                    for establishing and maintaining effective internal control over compliance.

                    Condition -The Authority did not maintain adequate documentation of how
                    payroll costs was allocated between the programs.

                    Questioned Costs: None



                    Corrective Action Plan:

                    Contact Person: Finance Director

                    Planned Actions: To ensure employee wage allocations are properly posted and
                    approved, all PAFs (Payroll Authorization Form} will note the percentage to
                    charge each department. This includes new hires and any change In existing
                    employees, such as job duties or pay rates. The allocations calculated for wages
                    will also be applied when expensing monthly employee benefits. Procedures will
                    be written to ensure compliance.




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 Attachment 3




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Attachment 4




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                                                                 EXPENSES PAID BY MHA ON BEHALF OF CAHC

                                                  Bank Balance as of 4/30/21

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                Date                              Expenses                                                      Amount
                 2/23/2021                        BKD CAHC Audit Fees
                 3/30/2021                        50% Contract Executive Directors Wages Pay Period 02/27/21
     *           4/14/2021                        50% Contract Executive Directors Wages Pay Period 04/10/21
                 4/14/2021                        50% Executive Director's Wages Pay Period 04/10/21
                 4/14/2021                        50% Executive Director's FICA Pay Period 04/10/21
     •           4/23/2021                        Coats Rose Legal /Mixed Finance Redevlopment
                 4/23/2021                        Coats Rose Legal /Towers Post Closing
                 4/23/2021                        Coats Rose Legal /Sunset-Stephens-Central RAD
                 4/23/2021                        Coats Rose Legal / Madison Heights Ill Year 15
                 4/28/2021                        50% Executive Director's Wages Pay Period 04/24/21
                 4/28/2021                        50%v Executive Director's FICA Pay Period 04/24/21
     •           4/30/2021                        The McVay Firm/Servce for submitting Franchise Tax
                                                  Total Reimbursement for Board Approval

                                                  Bank Balance after Reimbursement


     • Notes
     Contract Wages
     Executive Director's new contract begin during payroll period ending 04/10/21. Earnings were based on the previous
     contract rate at 1 week and the new rate on week 2. Both at 50% of Wages

     Coat Rose
     RAD Deals, delays, meeting requirements and the need for resolutions and amendments.

     Franchise Tax
     Services for preparing and filing 2021 CAHC franchise taxes and related entites. Updating entity Officers included.
00
       Case 4:21-cv-01237-JM Document 2 Filed 12/29/21 Page 34 of 212



                                                                             RESOLUTION NO. 6777


Board Member_ _ _ _ _ _ _ _ _ _ _ _ _of the Board of Commissioners of the Housing
Authority of the City of Little Rock, Arkansas O/8/A Metropolitan Housing Alliance introduced the
following Resolution and moved for its adoption:

   RESOLUTION AUTHORIZING THE EXECUTIVE DIRECTOR TO TRANFER FUNDS FROM
    CENTRAL ARKANSAS HOUSING CORPORATION TO THE METROPOLITAN HOUSING
                                ALLIANCE
       BE IT RESOLVED, that at a duly constituted meeting of the Board of Commissioners of the
Housing Authority of the City of Little Rock, Arkansas d/b/a Metropolitan Housing Alliance ("MHA ..) held on
May 13, 2021 the Board of Commissioners did make the following decision and request staff to act as follows;
        WHEREAS, the MHA has detennined professional services rendered by MHA vendors; and
       WHEREAS, the services rendered are in direct correlation of perfonning business for the Central
Arkansas Housing Corporation "CAHC; and
        WHEREAS, the MHA has paid the Vendors for the work perfom1ed; and
       WHEREAS, MHA detennined the CAHC qualified expenses shall be reimbursed to MHA in the
amotmt ofS36,390.12.
NOW, THEREFORE BE IT RESOLVED BY THE BOARD 011' COMMISSIONERS OF THE
ROUSING AUTHORITY OF THE CITY OF LITTLE ROCK, ARKANSAS, DID/A METROPOLITAN
HOUSING ALLIANCE ("MBA") THAT;
The Board of Commissioners hereby authorizes Dr. Nadine Jarmon, tl'le MHA Executive Director to transfer
funds in the amount of $34,390.12 from the Central Arkansas Housing Corporation account to balance the
invoices paid by the Metropolitan Housing Alliance in conjunction with executing task for the business of
CAHC.


Commissioner ____ seconded the motion and upon roll call the following vote was recorded:
        Ayes:            Commissioners _ _ _ _ _ _ _ _ _ __
        Absent:          Commissioners._ _ _ _ _ _ _ _ _ _ __
        Abstain:         Commissioners._ _ _ _ _ _ _ _ _ _ __
        Nays:            Commissioners_ _ _ _ _ _ _ _ _ _ __

The Chairperson thereupon declared the motion carried and the resolution adopted.

IN WITNESS WHEREOF, each of the undersigned has hereunto set his hand of the Authority this 13'11 day
of May.


Kenyon Lowe. Chairman                                     Dr. Nadine Jarmon, E:sccutiwe Director




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Attachment 5




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                   Total Staff        Total Staff Hours- Total Staff Hours-        Total Staff         !Total Cost Staff
    Property       Hours-Calls        Meeeting             Reports-Emails          Hours- Other         Houn
    Dr.Jarmon      60hours            93hrs                156hrs                  309hours
     LisaD                       40                  35                       45 120hours
    .Jada          40Hours                           10 40hours                                  90
    Ilana                        27                   20                      16                 63
    Monique                       0                    2                      10                 12
    Andy                          4                    2                      26                 32
    Tamera                        4                   16                      24                 44
    Ivan                         16                   16                      12                 44
    Kedrick                       4                    2                       2                  8
    Other Staff-                 16                   16                      18                 50

    Total                                                                                        343




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 Attachment 6




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      COCC as of March 31, 2021 Y-T-D Expenditures Report

  Accountl               AccountTltle
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                    Total Insurance EJlpens•

   AdmlnfstctSIRP
                        Administration

                     Total Administration



   96900                Total Operating
                         Expendltunis


                        cash Flow from
                          O • rations




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           Case 4:21-cv-01237-JM Document 2 Filed 12/29/21 Page 39 of 212


             COCC as of March 31, 2021 Y-T-D Expenditures Report



                                                                             Y T,D   Budg9t
         Accountt                 Account Title          l:ludget   Maret!    0

                                                                                     Balance




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Attachment 7




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                                                       Case 4:21-cv-01237-JM Document 2 Filed 12/29/21 Page 41 of 212




                                                                                        RAD Conversion RRVel\ue by Fiscal Year


Manaaement Fee•
Bookkeer>ing Fees
Total Developer Fee
                                            Cumberland
                                                  Parris
                                                 Powell
                                      Tower Stablization
                                                  8609
                                                 Sunset
                                      Madison Heights I
                                      Madison lieighU II
                            Homes, at Granite Mountain
Total Ground Lease
                                                Towers
                                                 Sunset
                                       M1di50n Heights
                            Homes at Granite Mountairl
Other-Towers Service Fees
                      Annual Totals

                           Annual Contribution to COCC


                          A11ailable After COCC Transfer

Balance VR End




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Attachment 8




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                                          Regions Bank
                                          Little Rock Main                                                                        ' -~-::.•.- ~i!
_J~-REGIONS                               400 West Capitol Ave, Suite 25
                                          little Rock. AR 72201                                                                 .. ·:..:-•.- ·. .:_ __ .




     HOUSING AUTHORITY OF THE CITY
     OF LITTLE ROCK ARKANSAS
~ GENERAL        FUND 4-4
                                                                                                           ACCOUNT#
--Y100SARCHST
     ume ROCK AR 72201-2302                                                                                                                            053
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                                                                                                                 Enclosures          •' ·. ·•' :: · 88
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    04/16       Quick Deposit - Thank You
    04/16       Quick Deposit- Thank You
    04/19       Housing Auth LR Cash Dlsb General Fund Trans From S8
    04/20       Regions Bank Acct Trans Housing      Tdawson
    04/20       Housing Auth LR Cash Disb General Fund Trans From S8
    04/21       Regions Bank Acct Trans Housing      Tdewson
    04/22       Quick Deposit - Thank You
    04/22       Quick Deposit - Thank You
    04123       Quick Deposit - Thank You
    04/26       HUD Treas 310 Misc Pay Little Rook Ho 716006843860103
    04/26       HUD Treas 310 Misc Pay Lidie Rock Ho 716006843860103
    04127       Quick Deposit - Thank You
    04127       Housing Auth LR Cash Dlsb General Fund Trans From S8
    04/29       Housing Aulh L R Cash Dlsb General Fund Trans From SB

                                                                                                Total Deposits & Credits



    04130       Interest Payment


                                                             _WITHDRAWALS __ .
    04101       AFLAC          Insurance Little Rock Ho 58517582256
    04/06       Prlnclpal Peris Plic-Perls Housing Author 4-3282400000384
    04/12       Regions Bank          Acct Trans Housing        Tdawson
    04/20       Regions Bank          Acct Trans Housing        Tdawson
    04/28       Regions Bank          Acct Trans Housing        Tdawson
    04/27       Regions Bank          Acct Trans Housing        Tdawson
    04128       Regions Bank          Aocl Trans Housing        Tdawson
    04129       Regions Bank          Acct Trans Housing        Tdawson
    04/29       AFLAC               Insurance Little Rock Ho 58517981170
                                                                                                      Total Withdrawals

                                                                     _FEES __ .
    04/09       Analysis Charge            03-21


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   ..,;;D"""a"--te_ _ _ Check No.                  Amount
    04/06
    04/06
    04/02
    04105
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   04/12
    04/07
   04/13
   04/08
                    Case 4:21-cv-01237-JM Document 2 Filed 12/29/21 Page 44 of 212




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                                               Regions Bank
                                               Llltle Rock Main
                                               400 Wes! Capitol Ave, Suite 25
                                               unre   Rock, AR 72201




               •   HOUSING AUTHORITY OF THE CITY
     ,: ; ==   :;> ELM STREET
                   100 SARCH ST
                   LlmE ROCK AR 72201-2302
                                                                                                                          ACCOUNT#
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                                                                                                                                   Cycle                                 26
                                                                                                                              Enclosures                                   a
                                                                                                                                   Page                            1 of 3

                                                      PUBLIC FUNDS INTEREST CHECKING
                                                               April 1, 2021 through April 30, 2021




 Beginning Balance                                                                            Minimum Balance
 Deposits & Credits                                                                           Annual Percentage Yield Eamed
 Net Interest Earned                                                                          Interest This Period
 Withdrawals                                                                                  Average Collected Balance
 Fees                                                                                         2021 YTD Interest
 Automatic Transfers
 Checks
 Ending Balance



                                     _· - · _ ·-- _______ DEPOSITS & CREDITS __ _                                                                .   "
         04/01        Quick Deposit - Thank You
         04/01        Little Rock Haus Vendor Pmt Elm Street Com
         04/05        Quick Deposit - Thank You
         04/06        Quick Deposit - Thank You
         04/07        Quick Deposit • Thank You
         04/09        Quick Deposit - Thank You
         04/26        Quick Deposit-Thank You
         04/28        Quick Deposit - Thank You
         04/28        Regions Bank Acct Trans Housing         Tdawson

                                                                                                            Total Deposits & Credits


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         04/30        Interest Payment


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         04/20        Regions Bank       Acct Trans Housing                     Tdawson

                                                                                          _.FE.ES__ _
         04/09        Analysis Charge           03-21




                                      For all your banking needs, please call 1-BOO-REGIONS (734-4667)
                                  or visit us on the Internet at www.regions.com. (TTY(TDD 1•800-374-5791)
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 Attachment 9




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                                                       MHA
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                                              JOO South Arch Street
                                              Little Rock, AR 72201
                                      (50 I) 340482 I / (501) 340-4845 (fax)




                                        MEMORANDUM

To:                CAHC Board of Directors
                   MHA Board of Commissioners
                   Dr. Nadine Jarmon, MHA Executive Director

From:              Sherrill Hampton, MHA Deputy Director

Date:              March 28, 2021

Re:                MHA Board's Request for Properties to be Transferred to CAHC


The following paragraphs provide information on the properties MHA's Board of Commissioners
requested to be transferred to CAHC. Note that all properties when transferred will be done so
with    a   "reverter" that ensures that the property will be used for the creation of affordable
housing for low- and moderate-Income Individuals and families. This "reverter" is a part   of the
original conveyance or intent of the funding received and its requirement follows the property
as it relates to any conveyances that follow the original conveyance.


•     There are approximately fifty-five (55) vacant parcels that are owned by MHA and of this
      number:


      • Twenty-two (22) parcels are not buildable and/or cannot be used for residentlal
        development.


      • Thirty-three (33) parcels are buildable and include the following:
        o    Nineteen (19) parcels designated as the Hyde Park Project.




                                                                                                21
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    Page 2
    Proposed Property Transfers



         o   Five (5) parcels were funded by the Oty's NSP II Program and require notification to the
             City of Little Rock as it relates to anv transfer. Note that the MLK property is included
             in this group as NSP II funds were Involved in the purchase.


         o   Eight (8) parcels that came from the Land Commission .rnd have title issues.


         o One (1) parcel on Center Street (#34L020090S700) that has title issues. Listed as owned
             by the Arkansas Highway Commission.


       • Note that there Is one large parcel on Schiller Street that also has title issues and is not
         included in the group above.

       • The Vernon Place Project site (41 lots) is not included in the above group as that property
         is already owned by CAHC.


    Property Transfer Implementation:
    The following steps are being undertaken to implement the proposed transfers:


•        MHA staff will utilize attorneys from the previously procured pool for legal services to
         complete the transfer. A request for exact quotes will be sent on 03/29/21. The return
         date for all quotes will be April 7, 2021. MHA will ask all attorneys to complete the transfer
         process within thirty (30) days of an approved task order. For any parcel with title issues
         that would take longer than thirty (30) days to clear title and complete the transfer, the
         attorney would be required to notify MHA staff immediately before proceeding and also
         state if additional expenses would be incurred.


•        MHA staff will create a letter of notification for the Executive Director's 5ignature for
         submittal to the City of Little Rock on 03/30/21 as it relates to the five (S) parcels purchased
         with NSP II funds.


•        MHA staff will keep the MHA Board of Commissioners          and   the CAHC Board of Directors
         informed of the progress of the transfers on a monthly basis, including those parcels that
         may need more extensive actions to clear the applicable property title as well as require
         additional associated costs to complete those actions.




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Attachment 10




                                                                 23
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6/15/2021                                                 Mall - Nadine Jannon • Outlook



       RE: Status of Transfer of Vernon Place and Hyde Park

      jada johnson
       Tue 5/4/2021 2:12 PM
       To: Nadine Jarmon; shampton; Lisa Dickerson
       Or. Jarmon,

       The board bas requests to ensure ALL of the titles associated with the property free and clear. To avoid
       audit findings, MHA staff is researching the origination of the funds used to purchase the site located at
       Hyde Pmk. If the funds that were used are identified as former Public Housing, we will need to submit a
       Section 18 Disposition Application.

       As for the property already in the name of the Central Arkansas Housing Corporation, Vernon place. this
       property is under a title review and should be complete within a matter of a few weeks. lf additional title
       issues are found, this property can be remediated by the attorney.

       Hyde Park shall be transferred within the same amount of time.



       Have a great day,

       Jada Johnson
       Metropolitan Housing Alliance
       Procurement Coordinator
       100 South Arch Street
       Little Rock, Arkansas 72201
       Phone! 501.340.4834


      From: Nadine Jarmon
      Sent: Tuesday. May 4, 202112:37 PM

      Subject: Status of Transfer of Vernon Place and Hyde Park

      Just got off the phone with Chairman Lowe and he wanted to know the status of the "transfer of land 11
      from MHA to CAHC for Hyde Park and Vernon Place. I told him we have procured the firm to do the
      appraisal and his response to me was that one has nothing to do with the other and he wanted these
      two properties "quick deeded" to CAHC today if possible.

      can someone please advise of next steps or why we can or can not do this?

      Nadine M. Jarmon, PhD
      Executive Director
      Metropolitan Housing Alliance
      100 S. Arch Street
      Little Rock, AR 72201
      501-J4D-4805 (Office}


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                 Case 4:21-cv-01237-JM Document 2 Filed 12/29/21 Page 50 of 212
8115/2021                                                   Mall- Nadine Jarmon-Outlook



       Board Meeting Agenda 06173031




       Please add the following items to the agenda:

       Update Transfer of prope1iies Too CAHC
       Property rental for CAHC (1010 Wolfe)
       EHV (Emergency Housing Vouchers) Update
       NAHRO Membership (Fall Conference)



       :Kenyon X. Lowe, Sr. NCC Commissioner
       Cfiairman, .Jvl.J-{.Jl 'Board' of Commissioners
       T'lie Jfousing .'Authority of tlie City of Litt{e 'Rock a6a
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Attachment 11




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ilana mckinney
From:                               Nadine Jarmon
Sent:                               Thursday, May 27, 2021 4:46 PM
To:                                 ilana mckinney
Subject:                            FW: Guidance Needed




Sent: Tuesday, May 4, 2021 3:00 PM
To: jada Johnson; LINDSEY, JEFFREY O; Grant, Corey D
Cc: Nadine Jarmon
Subject: RE: Guidance Needed

MHA-

I know you have been working on the acquisition dates/use of funds for these parcels. I want everyone to be aware that
anytime a housing authority uses section 9 funds to acquire a property PHAs should secure acquisition approval from
the local Field Offices to make sure it's in compliance with among other things, site and neighborhood standards, Pan 50
or 58 and if it is an eligible use of the Section 9 funds. This insulates HUD and the PHA from environmental or other
factors which may have a negative impact for the housing authority/community as a whole.

Our local OGC representative, or myself are not aware of any acquisition applications being submitted by MHA, and thus
my request for the dates/uses of funds for the purchases.

If MHA is considering transferring these parcels, before this action, HUD needs to be made aware if any section 9 funds
were used to acquire or maintain the parcels of land you describe below. Maintenance costs including insurance, taxes,
yard maintenance, erosion control, monitoring the property etc ... If a PHA spent Section 9 funds on the acquisition or
maintenance of the property then the PHA is required to obtain HUD approval to dispose of the property either through
RAD, Section 18, Part 200 or Section 32.

Please let me know if you have any questions. Once you are able to provide the acquisition dates/uses of funds for alt
the mentioned parcels then we can look at next steps in the process.

Anthony Landccker
Director-Office of Public Housing
Little Rock Fleld Office
501-918-5753




From: jada johnson
Sent: Tuesday, February 16, 202112:12 PM
To: Landecker, Anthony S                                    ; LINDSEY, JEFFREY D                                     Grant,
Corey D
Cc: Nadine Jarmon
Subject: Guidance


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Hello Mr. Landecker,




Keeping in the spirit of the Housing Act of 1937, MHA has acquired and purchased quite a few parcels of land, by way of
State Land commissioner and referral request. Most of the parcels have been purchased with funds that are considered
non-restricted. However, there are a few that have been purchased with funds from the sale of approved public housing
demo disposed units. All of the parcels are vacant land and are not listed in PIC.




The Board of Commissioners is requesting to have "ALL• vacant land, acquired with the various funds, to be transferred
from the Little Rock Housing Authority into the non-profit Central Arkansas Housing Corporation's Inventory. In every
effort to comply with HUD rule and meet the need of the Board of Commissioners, I am requesting your guidance to
perform the task within the purview of HUD's required guidelines. Before performing this action, we would like your
feedback on how we should move forward. Thank you in advance for your assistance in the matter.




Jada Johnson

MHA Contracts, Capital Fund and Procurement Coordinator

501-340-4834




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Attachment 12




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           From:~--~~~~~
           Sent: Friday, Apnl 9, 2021 4:30 PM
           To: Jaca johnson
           Subject: Re: 4701 Char1es Bussey

           I understand, thanks

           On 4/912021 4:28 PM, jada johnson wrote:

                  Hello Mr ?attison,

                 To be l1onest, I am not really sure. I am only following the directive as provided hy Mr. Kenyoo Lowe Sr. MHA
                 Board ofComrmssioner Chaitperson.

                  Jada Johnson

                  From: Dwight Pattison
                 Seal: Friday, April 9, 2021 4:18 PM
                 To: jada johnsoc      V        a
                 Subject: Re: 4701 ~arlcs 'rJussey

                 Was is a problem with Braden Chadick being related to the attorney?

                 On 419/2021 4:14 PM, jadajohnson wrote:
                        Hel!o Mr Pattison,

                        J've JUSt been notified, the board of commissioners have made a decision to re-bid the proJect with a
                        different vendor. Thank you for your time and I hope to do business with you in the future.


                        Jada Johnson
                        MHA Contracts, Capital Fund and Procurement Coordinator
                        501-340-4834




                        From; Dwight Pattison
                        Sent: Thursday, April &, 2021 5:40 PM


    ht:tps:J/mail.~hoo.comlG'foldars/1 lmessages/AHMVLLhAriVf-YMlXSgG5al_7NEs                                                    116




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Attachment 13




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                                                     MBA
                                                  BOARD OF
                                                                                                                                                                                                                                                  I
                                                                                                                                                                                                                                                  MMA



                                                COMMISSIONERS
                                                   RETREAT
               .1,:.                                                APRIL 10, 2021

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                                                                USE OF OTHER PROPERTIES OWNED

                        MHA owns a number of other properties, in addition to several
        properties that have been transferred to its nonprofit subsidiary, Central
        Arkansas Housing Corporation (CAHC), that possess great potential for
        furthering the provision of affordable housing in the City of Little Rock.
        Several of the properties are commercial sites.

              Staff is recommending that a "highest and best use analysis" be
        undertaken and a plan developed to help guide the MHA and CAHC Boards
        as they set policy regarding the use of these properties.

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        MHA


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Attachment 14




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61612021                                                      Mail - Nadine Jarmon - OutlOOI<



       Master Development Agreement
       Kenyon Lowe Sr
       rue 4/20/2021 7:42 AM




       I   1 attachments {5 MB)
       MDA ltex and MHA.PDF,


       Atty. Eddings,

       The Board (MHA Board of Commissioners, for the first time, has laid eyes on the MDA
       (Master development Agreement) with an unauthorized signature representing the
       Agency. We are asking for you to review this and provide a legal opinion as to the options
       available to the Board.

       Xenyon X. £owe, Sr. - NCC Commissioner
       Chairman, MJf.'A. 'BoarcC of Commissioners
       Litt[e 1wci 3-[ousing .'A.utliority a6a 3vt.etroyoCitan
       Jfousing 21.{{iance




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                                                                        RESOLUTION NO. 6773

Commissioner _ _ _ _ _ _ _ _ _ of the Board of Commissioners of the Little Rock
Housing Authority of :he City of Little Rock, Arkansas d/b/a Metropolitan Housing Alliance
introduced the following Resolution and moved for its adoption:

         RESOLUTION AUTHORIZING THE LITTLE ROCK HOUSING
         AUTHORITY OF THE CITY OF LITTLE ROCK, ARKANSAS 0/B/A
         METROPOLITAN HOUSING ALLIANCE TO EXECUTE ANY AND ALL
         DOCUMENTS AND TO TAKE SUCH ACTION NECESSARY OR
         DESIREABLE TO; (I) FACILITATE THE RAD (AS DEFINED HEREIN)
         COVERSION OF MADISION HEIGHTS PHASE I (fHE PROJECT); (II)
         TO PROVIDE CERTAIN DEVELOPOMENT FINANCING FOR THE
         PROJECT; AND (III) TAKE SUCH OTHER ACTIONS NECESSARY,
         CONVENIENT, OR APPROPRIATE TO CARRY OUT THIS
         RESOLUTIOI\

        WHEREAS, the Housing Authority of the City of Little Rock, Arkansas, d/bla
Metropolitan Housing Alliance (.. MHA" or the, "Authority") held on April 30, 2021, a duly
constituted meeting of its Board of Commissioners; and

        WHEREAS, Central Arkansas Housing Corporation, an Arkansas non-profit corporation
("CAHC"), was formed by MHA in part to assist the Authority in providing safe, decent, and
sanitary housing in the city of Little Rock for low-income and other persons, and serves as the sole
member of CAHC; and

        WHEREAS, University Heights Associates, LP ("Seller''), a Missouri limited partnership,
currently owns the Project; MHA MH I GP, LLC is the General Partner of Seller anc CAHC is the
limited partner of Seller.

         WHEREAS, CAHC is the sole member of MHA MH I GP, LLC, an Arkansas limited
liability company ("General Partner''), which serves as the General Partner of MHA MH I, LP
("Buyer"), an Arkansas limited partnership (heretofore defined as "Seller") (each of CAHC,
General Partner, Seller and Buyer is referred to individually as a "Company" and collectively as
the ''Companies"); and

        WHEREAS, the Buyer was formed to acquire, develop, rehabilitate, own, maintain and
operate a 140-unit multifamily apartment complex known as Madison Heights Phase l. located in
Little Rock, Pulaski Counly, Arkansas (the .. Improvements") to provide affordable housing for
low-income persons/households and other persons/households, and to lease from MHA the
property on which the Improvements are located (collectively, the "Project"); and

        WHEREAS, the U.S. Department of Housing and Urban Development (..HUD") has
authorized the conversion of the Project from public housing to Section 8 assistance under the
Rental Assistance Demonstration ("RAD") program, and in connection therewith. the Buyer
desires to enter into a RAD Use Agreement. RAD PBV HAP Contract, Partial Release of
Declarations of Trust,. various subordination agreements, and related documents to be entered into
by the Companies, ·including but limited to certifications, assignments and such other documents.


MHAAuthorizing Resolutinn Madison Heights Phase I
Fl"NAL                                                                                            36
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                                                                        RESOLUTION NO. 6774

Commissioner _ _ _ _ _ _ _ _ _ of the Board of Commissioners of the Little Rock
Housing Authority of the City of Little Rock. Arkansas d/b/a Metropolitan Housing Alliance
introduced the following Resolution and moved for its adoption:

         RESOLUTION              AUTHORIZING         THE   LITTLE    ROCK       HOUSING
         AUTHORITY OF THE CITY OF LITTLE ROCK, ARKANSAS D/8/A
         METROPOLITAN HOUSING ALLIANCE TO EXECUTE ANY AND ALL
         DOCUMENTS AND TO TAKE SUCH ACTION NECESSARY OR
         DESIREABLE TO; (I) FACILITATE THE RAD (AS DEFINED HEREIN)
         COVERSJON OF MADISION HEIGHTS PHASE II (THE PROJECT); 01)
         TO PROVIDE CERTAIN DEVELOP0MENT FINANCING FOR THE
         PROJECT; AND (Ill) TAKE SUCH OTHER ACTIONS NECESSARY,
         CONVENIENT, OR APPROPRIATE TO CARRY OUT THIS
         RESOLUTION

         WHEREAS, the Housing Authority of the City of Little Rock, Arkansas, d/b/a
Metropolitan Housing Alliance ("MHA" or the, "Authority'') held on April 30, 2021, a duly
constituted meeting of its Board of Commissioners~ and

        WHEREAS, Central Arkansas Housing Corporation, an Arkansas non-profit corporation
("CAHC"), was formed by MHA in part to assist the Authority in providing safe, decent, and
sanitary housing in the city of Little Rock for low-income and other persons, and serves as the sole
member ofCAHC; and

        WHEREAS, Madison Heights H, LP ("Seller"), a Missouri limited partnership, currently
owns the Project; MHA MH II GP, LLC is the General Partner of Seller and CAHC is the limited
partner of Seller.

         WHEREAS, CAHC is the sole memher of MHA MH II GP, LLC, an Arkansas limited
liability company ("General Partner"), which serves as the General Partner of MHA MH II, LP
("Buyer''), an Arkansas limited partnership (heretofore defined as '"Seller") (each of CAHC,
General Partner, Seller and Buyer is referred to individually as a "Company" and collectively as
the "'Companies"); and

        WHEREAS, the Buyer was formed to acquire, develop, rehabilitate, own, maintain and
operate a 101-unit multifami1y apartment complex known as Madison Heights Phase II, located in
Little Rock, Pulaski County, Arkansas (the .. Improvements") to provide affordable housing for
low-income persons/households and other persons/households, and to lease from MHA the
property on which the Improvements are located (collectively, the "Project"); and

        WHEREAS, the U.S. Department of Housing and Urban Development (..HUD") has
authorized the conversion of the Project from public housing to Section 8 assistance under the
Rental Assistance Demonstration ("RAD") program, and in connection therewith, the Buyer
desires to enter into a RAD Use Agreement, RAD PBV HAP Contract, Partial Release of
Declarations of Trust, various subordination agreements, and related documents to be entered into
by the Companies. including but limited to certifications, assignments wid such other docwnents,


MHAAuthorizing Resolution Madison Heights Phase II
Aprll 1$, 2021                                                                                    37
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                                                                        RESOLUTION NO. 6775


Commissioner _ _ _ _ _ _ _ _ _ of the Board of Ccmmissioners of the Little Rock
Housing Authority of the City of Little Rock, Arkansas d/b/a Metropolitan Housing Alliance
introduced the following Resolution and moved for its adoption:

        RESOLUTIOl\ AUTHORIZING THE LITTLE ROCK HOUSING
        AUTHORITY OF THE CITY OF LITTLE ROCK, ARKANSAS D/8/A
        METROPOLITAN HOUSING ALLIANCE TO EXECUTE ANY AND ALL
        DOCUMENTS AND TO TAKE SUCH ACTION NECESSARY OR
        DESIREABLE TO; (I) FACILITATE THE RAD (AS DEFINED HEREIN)
        COVERSION OF HOMES AT GRANITE MOUNTAIN (THE PROJECT);
        (II) TO PROVIDE CERTAIN DEVELOPOMENT FINANCING FOR THE
        PROJECT; AND (DI) TAKE SUCH OTHER ACTIONS NECESSARY,
        CONVENIENT, OR APPROPRIATE TO CARRY OUT THIS
        RESOLUTIO~

        WHEREAS, the Housing Authority of the City of Litlle Rock, Arkansas, d/b/a
Metropolitan Housing Alliance ("MHA" or the, "Authority") held on April 30 2021, a duly
constituted meeting of its Board of Commissioners; and

        WHEREAS, Central Arkansas Housing Corporation, an Arkansas non-profit corporation
("CAHC"), was formed by MHA in part to assist the Authority in providing safe. decent, and
sanitary housing in the city of Little Rock for low-income and other persons, and serves as the sole
member ofCAHC; and

        WHEREAS, Granite Mountain Development Limited Partnership ("Seller"), a Missouri
limited partnership, currently owns the Project; CAHC is the General Partner of Seller and CAHC
is the limited partner of Seller.

         WHEREAS, CAHC is the sole member of MHA HAGM GP, LLC, an Arkansas limited
liability company {04General Partner''), which serves as the General Partner of MHA HAGM, LP
("Buyer"), an Arkansas limited partnership (heretofore defined as "Seller") (each of CAHC,
General Partner, Seller and Buyer is referred to individually as a ••company" and collectively as
the "Companies"); and

         WHEREAS, the Buyer was formed to acquire, develop, rehabilitate, own, maintain and
operate a l OI-unit multifamily apanment complex known as Homes at Granite Mountain, located
in Little Rock, Pulaski County, Arkansas (the .. Improvements") to provide affordable housing for
low-income persons/households and other persons/households, and to lease from MHA the
property on which the Improvements are located (collectively, the '"Project"); and

       WHEREAS, the U.S. Department of Housing and Urban Development ("HUD'•) has
authorized the conversion of the Project from public housing to Section 8 assistance under the
Rental Assistance Demonstration ("RAD") program, and in connection therewith. the Buyer
desires to enter into a RAD Use Agreement, RAD PBV HAP Contract, Partial Release of
Declarations of Trust, various subordination agreements, and related documents to be entered into
by the Companies, including but limited to certifications, assignments and such other documents,


MHAAuthorizing Resolution 1-fAGM
PINAi.                                                                                            38
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                following votes recorded "Ayes• - Commissioners Anthony.Lowe, Jackson and Lindsey/
                "Nays• - None/ "Absenr- Commissioner Peterson. Resolutions passed.
        AK f
                Commlssbner Anthony motioned to table resolutions ll6n3, #6n4 and #6775 until the
                Commissioners receive flnanclal documentation that matches the resolutions.
               Commissbner Peterson seconded the motion. The following votes recorded "Ayes·-
               Commissioners Anthony, Peterson, Lowe. Lindsey ancl Jackson/ "'Naysu- None/
               Resolutions tabled.


Item 9: Executive Session
    •   No executive session.

Item 1O: Adjourn
There being no further business to come before the Board the meeting ended at approximately 12:45
p.m.




                                                        Dr. Nadine Jarmon. \tri




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Attachment 15




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                                    ITEX Development, LLC
                                     373 5 Honeywood Court
                                    Port Arthur, Texas 77642


                                   Timeline and Table of Contents



TAB 1: June 22,2020 Email from Bobken to Anthony Snell requesting MHA approval of the current
Financial Model at the time, dated 6-21-20. On the Sources & Uses page, the sources of funding are
broken down reflecting $6M in MHA Loans from Proceeds, and $22,000 in capital Funds, 1111hich Bobken
and Mr. Snell discussed at length on our weekly calls and In separate calls.
        Sub Tab la: Attachment to the email• Sources and Uses page from the 6-21-20 Financial Model
which reflects the breakdown of MHA Loan from Proceeds and from Capital Funds into $6M and
$22,000 respectively (full model can be provided as well) ..

TAB 2: June 23,2020 Email from Anthony Snell to Bobken stating to move forward with the Financial
Models dated 6-21-20. Please note that Anthony copied Chairperson Lowe and Commissioner Lindsey on
theemoil.

TAD 3: August 4, 2020 Email from Mkhelle to Or. Jarmon requesting review and approval of updated
financial model reflecting $6M in MHA Loans from Proceeds and $300,000 In Capital Funds, which we
discussed in our meeting on August 4, 2020. In my email, it was specified that once we receive approval
for the models, we will send over seller financing commitments for signature for the ADFA appllcatlon.
        Sub Tab 3a: Attachment to the email - Sources and Uses page from the 8-11-20 Financial Model
which reflects the breakdown of MHA Loan from Proceeds and from capital Funds into $6M and
$300,000 respectively (full model can be provided as well).

TAB 4: August 14, 2020 Email from Michelle to MHA requesting signature on the ADFA MHA Seller
Financing Commitment Letters, which specify Loans from MHA in the amount of $6.3M (which is a
combination of the $6M Loan from Proceeds and the $300,000 In Capital Funds).
        Sub Tab 4a: Unsigned Seller Financing Commitments that were submitted in the 2020 ADFA
Application - one signed by Dr. Jarmon for the MHA Loan in the amount of $6.3M, which combined the
Proceeds and the Capital Funds, and one signed by Rodney for the commitment of Reserves.

TAB 5: August 21, 2020 Email from Jada to Michelle providing the signed MHA Seller Financing
Commttment Letters.
        Sub Tab Sa: Executed Seller Financing Commitments that were submitted in the 2020 ADFA
Application - one signed bv Dr. Jarmon for the MHA Loan in the amount of $6.3M, which combined the
Proceeds and the Capital Funds
        Sub Tab Sb: Commitment for Reserves signed by Ron Hooks.

TAB 6: Comparison of MHA Committed Funds from 2016 ADFA App, 2020 ADFA App, and Current
Model along with all corresponding commitment letters.




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Jada Johnson
From:                           Michelle Harde
Sent:                           Wednesday, April 21, 2021 4:33 PM
To:                             Miranda Sprague
Cc                              Alysse Hollis; Mattye Jones;                          · Bobken Simonians; Lisa
                                Dickerson; jada johnson; Nadine Jarmon
Subject:                        Re: FW: Updates
Attachments:                    MHA Contribution Comparison PDF.pdf; MHI, MHII, HAGM Package for MHA Board
                                4.21.21.pdf


Dr. Jarmon,


My apologies. Please use the attached Package. I noticed that there were some duplicate pages
in the previous one I sent. I apologize for the oversight.

This is the corrected package.




Michelle Harder
Development Team
Acquisitions & Development           Hexgrp.com
                                     3735 Honeywood Court, Port Arthur, Texas 77642
I0   ·-- ------------   1



On Wed, Apr 21, 2021 at 5:06 PM Michelle Harder                               wrote:
 Dr. Jarmon,

Here is the Contribution Comparison starting with the original amount that MHA had agreed to
contribute (the commitment letters that were signed by MHA and submitted with the 2016
ADFA Application can be found in the package, which is bookmarked) and moving forward
through the amounts that were presented to the Board in 2019, the commitment letters that
were signed by MHA for the 2020 ADFA Applications, and the current Model.

This "Contribution Comparison" will reflect that the contribution amount needed from MHA has
gone down significantly since the original 2016 submission.

In the full bookmarked package, where all of the commitment letters can be found, there are
also PDF'd emails from Bobken requesting review and approval from Anthony for the current
Financial Models as well as Anthony's concurrence (with two members of the Board copied on
the emall).


Please let me know if you have any questions or need any additional documentation.

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Attachment 16




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                                        SYNOPSIS
                    IMMEDIACY TO CLOSE ON RAD TRANSACTIONS:
 Madison Heights I Apartments, Madison Heights D Apartments, and Homes at Gra1ite Mountain

We have been asked to provide the key infonnalion that is pertinent to ensuring that the financing is not
lost with respect to closing with ADFA {on the bonds and tax credits), the lender and purchaser of the taX
credits as well as securing HUD approval for the RAD conversion for the simultaneous closing of Madison
Heights I, Madison Heights II and Homes at Granite Mountain.

The Background Is as follows:

    •   Exit of McCormack Baron Salazar (MBS) where they disputed purchase price at end of
        Compliance Period
        In June 2019 CAHC (limited partner interest) and a CAHC--owned single purpose entity (general
        partner interest} purchased the limited partner interest and the general partner interest,
        respectively, in the current owner partnership of Mndison Heights I (University Heights
        Associates, L.P.) and Madison Heights II (Madison Heights II, L.P.). These purchases removed
        McCormack Baron Sal87.8f's ownership interests in the projects from the original tax credit
        syndication.


        Take Out of McCormack Baron Salazar lMBS}- Loan from Walker Dunlop
    •   To finance the purchase of these partnership interests, the partnership owners obtained an
        approximate $5.6 million loan from Walker & Dunlop. which closed in June 2019- Madison
        Heights I @ $3M and Madison Heights II@ $2.6M. The loan matures on July 9, 2021 (this
        year), with a balloon payment due at such time which would have to be paid from CAHC or
        MHA funds. The last of the two extensions of the loan has an expiration of July 9, 2021. It is
        very unlikely Walker & Dunlop wil I agree to another extension. MHA is not entitled to an
        extension.

    •   RUD commitn1cnts for a RAD Convenioo
        HUD issued a commitment for MHA to proceed with converting the 3 properties under RAD
        subject to HUD approvals. These conversions allows for subsidy from the Section 8 program
        rather than the Public Housing Program. There are expiration dates on such commitments, called
        RCCs, and any extensions have to be justified, the granting of which is attainable within HUD' s
        sole discretion. HUD has been very receptive to extend the dates to close under the RCCs
        allowing for MHA lo meet the challenges in the exit of MBS and the recent ADFA first level of
        approvals.

    •   ADFA approval attained by the Board Rousing Review Committee based on the
        Applications


The Milestones that must be met to close by the date the Walker Dunlop loan expires {July 9, 2021)
and Retain ADFA Approval to proceed with the transaction follows:



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     •    The Sources to pay the Walker Dunlop loan is to use the funds from the ADFA Bonds and
          LIHTC closing
          The plan to pay off the Walker Dunlop loans is to use the funds from the ADF A Bonds and tax
          credit closing. The application for tax credits is very specific as to the Ownership team which
          includes the developer partner's entity that serves as both the Special limited Partner and the
          Guarantor.

     •    The ADFA Application is one that Includes and approves ITEX in the ownership. Any
          change would require ADFA approval which would take 2 ftwo)-3 (three) months ADFA
          both underwrites the feasibility and viability of a project b~ed on the partners and any change in
          owners. MHA docs not have the unilateral authority to change the members of the ownership
          team and keep the current approval from AOF A.

     •   MHA and ]TEX have secured financial commitments from lender and tax credit purchaser.
         Any further delay In closing may cause a chanre in the pricing. In other words, the price mr
         credit may 10 down and interest rates are going up.

     •   The Debt and Equity Partnen along with ADFA require sufficient lime to proaecute the
         closing which indudes review and negodadon of the transactional documents.
         The working group to close the transaction includes the team members from the lender, tax. credit
         investors and ADF A. These partners will require sufficient time to review the third party reports
         and negotiate the tinal form of documents for the closing. Time is of the essence in order to allow
         sufficient time to undergo these tasks which include reports to credit committees within these
         organizations.

     •   MHA has a contrad with ITEX to redevelop the 3 properties which has financial
         obligations if MBA elects to terminate the Master Development Agreement ("MDA").
         MHA will have a contractual obligation to pay the developer partner under the provisions of the
         MDA. Generally, a request to tenninatc the developer without cause would require paying lTEX
         for their reimbursables and certain costs.

         ITEX and MHA entered into a Master Development Agreement on June 14, 2016 which was
         approved by MHA via Resolution. ITEX has been working with ADFA since 2016, requesting an
         award of tax-exempt bonds and associated allocation of low-income housing tax credits for each
         of the three projects.


    "    ADFA finally approved an award of tax-exempt bonds and associated tax. credits to each project,
         at its board meeting in February 2021. It was very clear from the dialogue among the ADFA
         board of directors and their staff and consultants that any change in the application or related
         budgets and proformas must receive approval at the ADF A Committee level.

    "    ANY material change to the approved-ADF A applications must be re-underwritten by ADFA,
         which will result in failure to close in time to pay off the Walker & Dunlop loan. Walker &




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         Dunlop would then exercise its legal remedies to collect on the defaulted loan. including
         foreclosure on the projects.

         Failure to close these transactions as approved could significantly affect CAHC and MHA 's
         relations with HUD and ADFA. Moreso. any actions to delay closing could jeopardize an
         ultimate redevelopment of the properties because 1) a RAD eKtension is not an absolute; and 2)
         ADFA has discretion in its QAP and rules with respect to awarding tax credits.




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Attachment 17




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                                             MEMORANDUM


To:              Dr. Nadine Jarmon, Executive Director of Metropolitan Housing Alliance

From:            Mattye Jones and Nona Mc Vay

Re:              Confinnation of CAHC's Ownership Role in RAD-Converted Projects

Date:            May 26, 2021


         We have been asked to confirm and describe the ownership role of Central Arkansas Housing
Corporation ("CAHC'') in projects converted under HUD's Rental Assistance Demonstration ("RAD'')
program. The intent oftl-.e RAD program is generally to convert public housing units to the HUD Section
8 program for the purpose of a predictable funding amount and a stabilized operating budget. In those
instances where the capital needs assessment warrants an infusion of capital, bank debt or utilization of
equity from the syndication of tax credits allows for PHAs to partner with investor partners. When
embarking on a LIHTC fmanced strategy for the infusion of capital for rehabilitation, typically through
the 4% low-income housing tax credit program and volume cap bonds administered by a Holl'§iog Finance
Agency, e.g., Arkansas Development Finance A11thority {ADFA), the purchaser of the tax credits will be
a partner (i.e., have an o·wnership interest) for a period of years. MI-IA strategically identified CAHC to
serve as its real estate holding and development acm. CAHC was deemed to be the best vehicle through
which MHA would achieve this opportunity for equity and bond-financing infusion into its projects.
MHA is the sole member of CAHC. The strategy was to use CAHC as the entity to partner with a private
entity to own the respective PHA properties with MHA still maintaining control of the projecis, as is
evidenced minimally by MHA's membership of CAHC. PHAs undergoing a RAD conversion must
submit its strategy, including structure, to HUD under the review and approval process by HUD.

         Attached as Attachment A is CAHC 's Amended and Restated Articles of Incorporation, wherein
the Little Rock Housing Authority {d/bla Metropolitan Housing Alliance) is set fonh as the sole member
ofCAHC, an Arkansas nonprofit corporation. Attached as Attachment Bis CAHC's Amended and
Restated Bylaws, which also set forth the Little Rock Housing Authority as the sole member of CAI-IC.
As sole Member, MHA 1nainrain.s the (1) right to approve organizational documents ofCAHC, including
the right to approve any amendments thereto; (2) authorize CAHC to enter into and execute an Annual
Contributions Contracts with HUD; (3) control the operation of the Corporation through appointment and
removal of its Dircclors as provided in Article IV of the Bylaws; and (4) take title to all real and personal
property held by lhe Corporation upon dissolulion or tennination of CAHC.

         Title to each RAD-converted project is held by a single asset, single-purpose entity, either a
limited partnership or a limited liability company. In the RAD portfolio of MHA projects, title policies
arc issued for the ground lease estate held by the owner entity. Such ground lease estate is a long-tenn
ground lease with the fee estate retained by MHA. A copy of the Ground Lease for Jesse Powell Towers
is attached hereto for your reference, as Attachment C. The General Partner of the entity owner (or
General Member of a LLC) is a single-asset, single-purpose limited liability company. CAHC owns
100% of the General Partner; that membership interest equates to generally a 0.01% ownership interest in
the Partnership (or Owner LLC). The remaining interest goes to the investor partner who is "purchasing"
the low-income housing tax credits. Federal law requires that LIHTC's can only be used by an owner of
the low-income rental housing project and to use the credits, must own the same percentage as the credits
purchased (typically 99.99%)~ accordingly, the equity investor partner is necessarily an owner of the
project for at least the 10-year credit period. Most equity investors will require to stay in the ownership



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Attachment 18




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From: Kenyon Lowe Sr
Sent: Monday, February 8, 2021 2:11 PM
To: Nadine Jarmon
Subject: RE: IT Candidates

Dr. Jarmon,

After talking to all three (3) candidates, and the decision is yours, Kedrick
Jones seems to me to be suited for our needs.

Kenyon K. Lowe, Sr. - NCC Commissioner
Chairman, MHA Board of Commissioners
Little Rock Housing Authority dba Metropolitan Housing
Alliance




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Attachment 19




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2.'2BJ2021                                                            Mall - nJermon@mhapha.org


  RE: Network Administrator Resumes

    Nadine Jarmon
   M:m 8/10/2020 3:49 PM
   Sent Items

   T(l   'Kenyon Lowe Sr'                             Ilana mckinne



 Chairman

 It appears that indeed there was lack of or miscommunication between the board and the executive director at the time. I
 would llke to request that this position continue to be paused until which time I can get the results of my organizational
 assessment. At that time we will be able to make a more comprehensive decision about the direction of the agencies.
 prioritize projects and have a complete staff assessment Including budgetary Impact.

 I know you are disappointed of the lack of follow up; but I ask that we be patient for just a few more months before we
 move forward with any position postings.

 Thank you.



 Nttdilte Jarmon, PIID
 /11reri111 Executil'e Director
 Metl'opolitn11 llo11si11g Allitmce
 100 S. Arch Street
 little Rock, AR 71201




 From: Kenyon Lowe Sr
 Sent: Monday, August 10, 2020 1:39 PM
 To: Ilana mckinney                                        Kenyon Lowe Sr
 Cc: Nadine Jarmon
 Subject: RE: Network Administrator Resumes



 This position was authorized in the Boards 2019 retreat and is a priority as established after
 meeting with the Agency's IT contractors and yet, the position is still posted on our website.


 Xenyon X. Lowe, Sr. - NCC Commissioner
 Cfiairman, :Jvl.Jf..'A 'Board of Commissioners
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httn,;•/fmall.mheohe.ora/owal#oettl'"/mitil/searr.h                                                                           1/2
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Attachment 20




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from: Sherrill Hampton
Sent: Monday, March 15 2021 7:34 PM
To: Nadine Jarmon
Cc: Andy Delaney
Subfect: Our Results -- IT Applicants

Hello Dr. Jarmon

Andy and I reviewed the IT applicants separately and then we discussed the matter this
evening.
We also had several comments and/or questions regarding the matter. See below:



    •   We both feel that first before hiring anyone there should be an assessment of MHA's IT
        needs, especlallv In order to ensure that all of the identified enhancements due to
        COVI0-19 are interfaced properly or are in keeping with the agency's needs.
   •    We also feel that there is a major difference between a Network Administrator and a
        Chief Technology Officer, especially as it relates to experience as well as the ability to be
        responsible for MHA's entire technology system.
   •     We both agree that any individual hired should have some experience working in a
        housing authority setting or at least an understanding of the work of a housing authority
        and how the IT system must be interfaced properly according to that work. We both
        note that even the purchase of the new kiosks should fall within the need for proper
        Interfacing with MHA's system. Furthermore, we both note that MHA should determine
        if it has acquired all of the updates that TenMast has released.
   •    We both feel that the interface between TenMast and MHA should be concentrated in
        one MHA staff person, especially for the development of protocols for and management
        of the various authorization levels needed.



With the above points being raised, both Andy and I agree that out of the three 13) applicants
reviewed. Mr. Kendrick Jones seems to be the best candidate out of the group. Nevertheless. if
I am remembering correctly. even he has no or llmlted experience as it relates to housing
authorities.

Andy, please share anything I may have missed from our conversation or that you feel is
important to mention.

Dr. Jarmon, we hope our comments are helpful. let us know if you have questions or need
additional information.

Andy Delaney
Sherrill Hampton




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Attachment 21




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                          Vice President Infonnation Technology I CIO

           o Accomplished leader of Information Technology management and strategies with over 35
             years working in collaboration with public and private partneis to foster effective and efficient
             Systems and Work Flow implementations that enhanced the delivery of critical services to the
             Public.
           o Developed and Managed IT budgets ranging from 1.5 to collectively over 9 million.
           ·O Reduced lhe cost, by hundreds of thousands and enhanced the effectively of Interfaces between disparate applications
                ~y~tcms
           O    Designed , developed, implemented a Business Management tool (Bl) that has a 'dashboard'
                effec.1 to allow executive management to query decision making data instantly.
           o Successfully implemented a 'remote work' environment for om 200 staff v.ithin rwo weeks and over 500 staff in I month
             while emphasizing security protocols and protecting sensitive data.
           o   Implemented a digital environment to transpose over 9 Tera bytes of infonnation
           0 Migra ted l OTerabytcs of Client data to a private cloud Saas environment.
           o Transfo1med into a complete 'remote work' environment within a month and half.
           o Ma nag~ IT relateJ Projccls, totally ir.~1ouse, th3t range (111 number) from 3 to 10 ·active'.


           Information Technology Department I Vice PmidenUCIO                                     \ian:h 20~2 to Present
           District of Columbia Housing Authority, Washington,DC
          Manage over 45 Application Systems including a recently implemented ERP ~nagement system. Management
          of Information sharing among 8oo+- employees th.~t administers over a 1/2 Billion of funds to a vulnerable
          rqiulous Respo11 si ble for 3 Wide Area Network (WAN), spanning 50t Properties, including appropriate
          security pmlo:ols.
          0 Implemented Company-wide Enterprise Resource Planning (ERP) managementsystem which also
          completely dig1tized and mob ilizcd the work-order system and aUowed staff to 'work from anywhere and
          anytime'
               ❖     Manage and direct an application unit that develops, updates, and designs systems nnd
                     website and Business Intelligence (Bl) tools to provide effective management of re:souoce
                     data/in formation .
          0 WAN management covers the entire footprint of the Washington, DC area providing Property
            management systems and broadband access forovcr 5000 residents.
          0 Implemented the latest Voice-over-Interncl-Protocol (VoIP) system, cutting communications
             costs in half while also utilizing a 'follow-me' communication system where incoming calli
             connect to where the employee is (stationary vs. mobile).
          0 Project manage IT initiatives, ranging 2-9 'active', while also managing daily operations ot
             over 700 Network nodes daily.
          0 Implemented and manage the latest security tools to protect data from malware/ransomwan:
             hacks while also deploying encryption software to protect sensitive information transfetred
             through messaging environments.
          0 Responsible of managing a network of 4000+ cameras that stream back to the public safety
             'command center' ensuring constant and consistent monitoring of Property and resources .
          0 Incorporate the oversight of technical help desk tickets (numbering 40-50 weekly) along with
             support of a complete 'mobile' cnvirorunent for all staff.
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 Kedrick Jones



 Effective, outcome-driven professional with over ten years of customer relations and technology
experience, four years of supervisory experience, and seven years of business experience. Performs
end-user support with workstations, laptops, and mobile devices. Manage and coordinate all software
updates, documents all help desk tickets in a timely manner. Monitors and reports call center calls and
Jo!> performance to supervisors. Successfully organize and manage multiple projects at one given time.
Successfully operates and manages a one-person rr Department with four servers. 30 desktops. 10
laptops. 250 plus mobile devices, 150 remote users, VOiP call center, milestone surveillance system.
120 transit surveillance systems. manages Medicaid bllllng software. end-user training. manages
tec:hnology budget, procurement, website content, coordinate with the managed service provider and
various vendors.

#readytowork

Willlng to relocate: Anywhere
Authorized to work in the US for any employer


Work Experience

IT Network Specialist
Area Agency on Aging - Pine Bluff, AR
February 2017 to Present
• r'lanage & oversee the transportation's IT Dept
• Troubleshoot, repair & update desktops. laptops, tablets. phones
• Install & configure software and hardware
• Provide technical support & training
• Manage & oversee Call Center VOiP System
• Technology Systems Administrator
• Surveillance Camera System Administrator
• Mobile Surveillance camera System Administrator
• EDI & Billing Software Administrator
• Fleet Maintenance Administrator
• End User Training Manager & Facilitator
• Website Administrator & Webmaster

HIM Software Operations Specialist
Arfcansas Hospice - North Little Rock, AR
Seotember 2014 to February 2017
• Supported over 500 Ero4R end-users
• Developed /edited processes and EMR forms
• Instructed & trained end-users on EMR




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Attachment 22




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6/1212021                                                                           Email

       From:
         To:
  Subject: Emall
    Date: Sun. May 23, 2021 4:20 pm


  Hi Lisa, I wanted to let you know that it appears that there was a virus on the servers and it spread to a few more,
  I believe I was able to get it stop but the damage has been done.

 This wou]d have been preventable with an Anti Virus product installed but nothing was there to protect them. I
 am currently trying to get email service restored.



 Thank you


 Chris Truex




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Attachment 23




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First off, I wanted to say thank you for the opportunity to come and help the Little Rock Housing
Authority, I am going to do my best to explain what I have found to date and my recommendations to
remedy said issues.

     1.   After meeting with Kedrick I did notice that he is very new tc the IT industry and may not have
          the management skills needed to succeed but I do believe he is a very capable person that can
          be trained to support the staff and housing authority as required.
     2.   The First thing we tackled Friday morning was getting Kedrick somewhat comfortable with the
          environment and just going through all servers and network devices. We documented all servers
          and password and what their role served for the company.
    3.    We reset the passwords for the current backup device and for Network solutions account.
    4,    I spoke with Kedrick about all the issues I found on the network and went over solutions that
       can and should be implemented.
    S. Went over some bills that the Housing authority is paying for and found some cost cutting steps
       that can be taken, I know there will be more, but I need those bills to. Any llcenslng bills for
          software owned or monthly expenses would help greatly.
    6.    Below is a list of what I recommend gets implemented to secure the network and devices for the
          Housing authority and software to help Kedrlck perform his job.
    7.    looked at how the current network was being managed and found some issues. I found that a
          few servers had not been rebooted in over 270 days which is a huge security risk due to not
          having current updates/patching. I found numerous pc's and some servers that do not have
          Antivirus installed on them. After doing a scan on the network I also found that there are some
          open ports on the existing firewall which needs to be disabled urgently, this is exactly how
          attackers get into the networks of companies and install ransomware.




Atera: $79.00 a month, this is a computer and server management software. It will be used for end
users to open ticket and communicate with Kedrick. He will also use this to remote Into any computer or
server and push windows updates and numerous other tasks that need to be completed for
Maintenance purposes.

Sophos Firewall/ AV: This is the new firewall, and Antivirus I am recommending. This will guarantee
that all computers and servers are secured properly from any outside attack or rogue employee's, have
more control on the type of content end users can access at work. IE: block video and music streaming
apps.

WIFI: install and Implement Ubiquity Wi-Fi in council room and otherfloors.

Phone system: looked at existing phone bill and found by bringing this back in house you can save up to

$1,110 a month. It will cost around $1,400 to purchase the phone server this is a 1-time cost.

Kedrick and I will be getting a quote for all of this by Tuesday.




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This is just the beginning of making things right, as I stated above, I believe this Is a great plan moving
forward and will insure that the Housing authority is back on track for its IT needs. I will be working with
Kedrick to help him get the quotes for all the above and teach him how to implement and administer. I
also spoke to Kedrick about having a set of IT tasks that should be completed every single morning when
he comes into work. IE: check backups, check AV, look over ticket board, check updates.

I hope this report has helped and that I can be of assistance in the future.



Thank you

Chris Truex.




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Attachment 24




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  6112/2021                                                     FW: Network

       From:
           To:
           Cc:
     Subject: FW: Network
        Date: Thu, May 13, 2021 10:32 pm


    Good evening,



    Here Is one of the most recent emails that the outgoing IT Consultant sent to me and the Executive Director.
    will forward others or give to you when you arrive, however, this is very detailed.



    Thank you,




    Lisa




-4- From: Shannon Maddox
· Sent: Thursday, Mey 6, 2
    To: Lisa Dickerson
    Subject: Network



+   Good afternoon,
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6112/2021                                    FW: Network




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Attachment 25




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2/2812021

RE: Chicot and Baseline Property Disposition Status

  jada johnson
  lived £'121202.0 5:56 PM

  -,, 'Sill Penclerg1sr <                                Nadine Jai-mon <njarmon@mhapna.org, ·

                                                                                                    Keriyor1 Lo•:1e Sr
                                                                                                 • Leta Antllor,y
                                     : rlana mcltinney



Hello!

A quick fullow-up, after passing along the title exception report to the original closing agent for Vernon Place. I
received a note from Michelle Howard at All Americ2n Title & Abstract, L.L.C., which Miclicllc has cunfinncu.
All American can close the file and provide a clear titl.! at closing. Please contact Michelle .lt the number below to
provide the clarity you need for all of the title exceptions.

401 _W._ Cr.pitol_Avcnuc, Ste._300
Littl~ Rock, ArkanSlls 72201
501-954-9600 office
50 l-954-9526 office fax



Last note, after further conversation v-;ith th\! our c:.:i:cutivc we will continue to absorb the cost for maintaining the
lawn care.

Respcctii.d ly,

Jada Johns.on I Procurement and Capital Funds Coordinator
Mctropolitnn Housing Alliance
I 0_0. South Arch Street .I. Little. Rock, AR 7220 l
Ofticc SO I .340.48341           ·
                             www. lrhousing:2rg

From: Bill Pendergist
Sent: Wednesday, A
To: Nadine Jarmo




All,
Mrs. Johnson was very helpful yesterday by providing me with some information in addition to the signed contract
addendum extending the due diligence period.
~egarding items 2 & 3 below:
Yesterday Mrs. Johnson was able to provide me with the followlng:
     .. The attached Information regarding the bankruptcy of First Step Realty
     o Contact information for Pat Joyner from First Step Realty ... phone number(s) as follows

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lltl1)s:/fmail.mhapha.or;towal#Path=lmail/1Nrch
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2/28/2021

        • Contact information from a lady named January at All American Title Company wno might be able to provide some
          additional details to clean up any questions about the title from when Central AR Housing acquired the properti~s.
          Ms. January is knowledgeable about this file and the closing file number for reference was Closing file number -


 Jada, thank you for your assistance. Additionally, you had requested if Friendship would be able to assist with the cost of
 yard mowing slnc:e they have had the property under contract for quite a while. They have requested if you would please be
 able to provide us with a written request of this detailing the cost so we can try to get you the help you are asking for

 Thank yout
 BIii

 Bill Pendergist, SIOR
 Parmer
 0 501.244.7511
 425 West Capitol Avenue. Suite 300
 Little Rock. AR 72201

 ~     KELLEY COMMERCIAL
 ~ . , PARTNERS




From: Nadine Jannon
Date: Tuesday. August
To: jada johnson ·
                                      ' '        ' ..
Cc: Joe Harris                                                                                                          cnyon
 Lowe Sr                                                                                                                • Leta
Anthony

Subject: Re: Chicot and Baseline Propeny Disposition Status

Thanks Jada. I'm assuming Mr. Pendergist has it from here.

 This recap helps.

Sem from my iPhone


          On Aug 11. 2020. at 4:42 PM.jadajolmson

          Hello Mr. Ha1Tis.

          I had the plcasu1·e of 12.Ikino with Mr. Pendergist this morning at 8:47 a.m. i shared the contact
          information for First Step Realty and the titJe company information nlong ,vith the continuation t,f
          bankruptcy closed document. and a signed addendum for extension.

          Other than the contact information shared with you on September 12. 2019 for First Pent~costal
          Church at which the owner ar the time was First Pentecostal Church, owner of LOT 2, contact
          infonnation:                                                   1·m not sure where the "Image~
          Estates" fit in.                                                                                         68
nttpa:/lmail.mhapha.org/owal#patha/mall/searcn                                                                                   214
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2/2812021                                                              Mail - njarmon@mhapha.org


          Thanks.

          Jada Johnson

          From: Nadine Jarmon
          Sent: Tuesday, August 11, 2020 2:31 PM




          Subject: RE: Chicot and Baseline Property Disposition Status

          Mr. Harris

         Staff is briefing me on how I might assist in e,cpediting this process. I'm getting contact information for Fir:st
         Step and Images Estates nov1. However, if you have a name or name(s) of people you have already spoke,, to -
         it would make the process much easier. !f so, please provide those names to me.

         Also, I'd be most appreciative of being copied on any information or dialogue with Chairman Lowe on this
         subject. This will help me not to duplicate our effom.

         Thank you •


         .'vmline Jarmon, PJiD
         l11ted.?1 £xec11til'e Director
         J'1etr!)po!itm1 Hottsi11.c: Allimm!
          ! 00 S. A:c/J Street
         Utrle Rol'k, AR 7120!



         From: Joe Harri
         Sent: Tuesday, A g                   I   I     '   • T

         To: Nadine Jarmon
         Cc                                           Kenyon Lowe Sr
         Le . n h                                                 Hana mckinnev                       ada johnson

         Subject! Re: Chicot and Baseline Property Disposition Status

         Or Jarmon.
         I need to tnke you up on your offer to assist in the process. In the immediate, we can use your help
         with Lhe following:

               I. Provide documentation needed to clear up 1983 Residential use Rettrictions and the 2002 Residential
                  Use Restrictions.
               2. Contact with First Step and Images Estates - title company has tried to reach owner multiple times
                  but have not gotten a return call
               3. Any information on the First Step bankruptcy issue that would demonstrate the lien holders do not
                  have claim to the 4 lots that revert to the land commission.
               4. Confirmation of the suggested solution for the 4 lots that revert to the land commission. We want to
                  make sure we are on the same page - need to resolve #4 before the reversion occurs.
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htlp&://mail.ml'lapl!a.orglowa#J!path•/rnellf9earch                                                                           314
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Attachment 26




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512-1/2021                                                                                                                                                                            Facebook



      facebook


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               I                                                                                                                                                                                                                                                                           IJ



     A 102.1 Koky-Fm Little Rock
     'V' June 14, 2018 · Little Roel:. AR ·
     Leta Anthony, Consultant and Raymond Allmon, Outreach Director of Friendship Aspire

     Friendship Public Charter School is one of the oldest minority charter schools in the nation and has been in
     existence for 20 plus years and has 100% college acceptance rate. Fifteen schools are located throughout
     the United States.

     Friendship Public Charter School was named one of the top 25 high performing charter schools in nation.
     The school is new ta Little Rock and has 160 exclusive ... See More
     -      at 102.1 Koky-Fm Little Rock.


                                                                                                                                                                                                                                                                                                         2 Shares



                                See more of 102.1 Koky-Fm Little Rock on Facebook

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                                        Case 4:21-cv-01237-JM Document 2 Filed 12/29/21 Page 97 of 212
6/1 212021                                                    Governance I Friendship Aspire Academy A~nsas




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                                                 Friendship Aspire Arkansas, Inc.




                                                             Donald L. Hense
                                                              Founding Chairman




                                                                Jeff Pullam                                             72
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611212021                                                  Gavemanca I Frler1dahlp Aapire Acedemy Arkansas

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                                                            Leta Anthony



                                                             Chad Froud



                                                               Chris Bell




                     Contact Us




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Attachment 27




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                                                                          RESOLUTION NO. 6713


Board Member       M.sAAdu-s                       of the Board of Commissioners of the Housing
Authority of the City of Little Rock, Arkansas D/B/A Metropolitan Housing Alliance introduced the
following Resolution and moved for its adoption:


 RESOLUTION AUTHORIZING THE BOARD OF COMMISSIONERS OF LITTLE ROCK
  HOUSING AUTHORITY, ARKANSAS D/B/A METROPOLITAN HOUSING ALLIANCE
 TO TRANSFER THE OWNERSHIP OF A PROPERTY KNOWN AS VERNON PLACE TO
                         CENTRAL ARKANSAS HOUSING CORPORATION

        BE IT RESOLVED~ that at a duly constituted meeting of the Board of Commissioners of the
Housing Authority of the City of Little Rock, Arkansas d/b/a Metropolitan Housing Alliance ("MHA")
held on June 13, 2019 the Board of Commissioners did make the following decision and request staff to
act as follows~

        WHEREAS, the MHA Board of Commissioners has created and designated the Central
Arkansas Housing Corporation ("CAHC") as the development enterprise of MHA; and

        WHEREAS, the MHA Board of Commissioners has transferred and will continue to
transfer certain eligible assets to CAHC as appropriate for ownership, development, disposition
and other approved uses; and
     WHEREAS, MHA has determined that in furtherance of its goals to build the capacity of
CAHC that it is prudent and appropriate to transfer the Vernon Place asset;
NOW, TIIEREFORE BE IT RESOLVED BY THE BOARD OF COMMISSIONERS OF THE
HOUSJNG AUTHORITY OF THE CITY OF LITILE ROCK, ARKANSAS, D/B/A
METROPOLITAN HOUSING ALLIANCE ("MBA") THAT;


The Board of Commissioners hereby transfer the ownership of Vernon Place, including all rights
thereof to CAHC.
                        •
Commissioner      JJ •L.ll/tdffonde,d the motion and upon roll call the following vote was recorded:
        Ayes:              Commissione"'~ Jf/d(wJJ             L,ru/r,.r, Sarders
        Absent:            Commissione~ ·-----------
        Nays:              Commissioners
                                        -----------
The Chairperson thereupon declared the motion carried and the resolution adopted.




IN WITNESS WHEREOF, each of the undersigned has hereunto set his hand of the Authority this 13111
day of June, 2019.


                                                                                                    75
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    •    None



Item 9: Action Jtem(s)


                •   Resolution Authorizing the Board of Commissioners Authorization to Transfer Vernon
                    Ptace Asset to CAHC

                •   Resolution Authorizing the Housing Authority of The City of Little Rock. Arkansas
                    0/B/A Metropolitan Housing Alliance to Execute Any and All Documents or Take
                    Such Action Necessary for Central Arkansas Housing Authority to AcqtJire the
                    General Partner Interests and Limited Partner Interests in University Heights
                    Associates, LP. And Madison Heights Ii, LP.; And to Take Such Other Actions
                    Necessary, Convenient. Or Appropriate to carry Out This Resolution.


Commissioner Anthony requested a motion lo approve Resolution #6713. Commissioner Sanders
motioned to approve the resolution. Commissioner Lindsey seconded the motion. The folowing votes
recorded "'Ayes.. - Commissioner Anthony, Jackson, Lindsey and Sanders/ "Nays" - None. The
chairperson thereupon declared motion carried. Resolution #6713 approved.

Commissioner Anthony requested a motion to approve Resolution #6714 with correction to the
language in the header of the resolution. Commissioner Jackson motioned to approve the resolution.
Commissioner Sanders seconded the motion. The following voles recorded "Ayes" - Commissioner
Anthony, Jackson, Lindsey and Sanders/ ..Nays" - None. The chairperson thereupon declared motion
carried, Resolution #6714 approved.

Item 10: Executive Session- None


ltem 11: Adjourn
There being no further business to come before the Board the meeting ended at 1:15 p.m.




Lets Anthony, Chairperson




                                                                                                        76
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                                               RESOLUTION NO. 6713




                                                                  77
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Attachment 28




                                                                  78
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2/2B.'2021                                              Mail - njannon@mhapha.org

 Fw: Vernon Place Follow Up

   Nadine Jarmon
   I.I.on 11/23/2020 6 03 PM


   To   jaoa Johnson



FYI -A few modifications.

Nadine M. Jarman, PhD
Interim Executive Director
Metropolitan Housing Alliance
JOO s. Arch Street
Little Rock, AR 72201
501-340-4805 (Office)




                               ------ --- - - -- ------- - - - - -
From: Nadine Jarmon
Sent: Monday, November 23, 2020 6:00 PM
To: Kenyon Lowe; Leta Anthony; Branndll Peterson; Commissioner - Louis Jackson;
Subject: Vernon Place Follow Up

Commissioners

At the request of Chairman Lowe, I was asked to provide a more thorough update on the advancement of the
property at Vernon Place.

As background, in September 2020, MHA approved for Mr. Cliff McKinney, attorney for representative for the
buyers investment group, to move forward with the process to deed the Slots located at Vernon Place back to
the State Land Bank. Mr. McKinney agreed to continue his work with the State of Arkansas' attorney, MHA and
the buyer to expedite this process in the favor of closing the transaction.

The remaining 5 lots in question will be placed back up for sale once the full review of the back taxes are
determined. The tax delinquencies date as far back as 1990. To obtain the insurability removing all reverters, this
process must be completed. Due to the timing we foresee a potential delay in process. Mr. McKinney and the
State attorney are looking alternative ways to remediate the reverter process and avoid the extended research
and the additional 60-day waiting period once all research has been completed.

Unfortunately, States staff was unaware of the time required to review all of the tax delinquencies. At this
juncture, the ball is in the buyers court for expediting the reverter clause. We estimated and approved the cost up
to $17,047.94.

In a nutshell, this project is going to take much longer than anticipated and we are unsure at this time of the total
cost.

                                                                                                          79
Thank you,
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Attachment 29




                                                                  80
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ilana mckinney
From:                                  Nadine Jarmon
Sent:                                  Wednesday, May 26, 2021 3:05 PM
To:                                    ilana mcklnney
Subject                                FW: Updates
Attachments:                           MLK 4-PLEX - Recap Revised.pdf




From: jada Johnson
Sent: Wednesday, April 21, 20214:06 PM
To: Lisa Dickerson; Nadine Jarmon
Cc:
Sub ect: RE: U ates

On March 291h I emailed the revised cost sent over by Ron Woods with the Woods Group. $914,274.78 for the estimated
construction and $49,800 for A & E fees. The total of $964,074.78. I can send over a Task Order for the Woods Group.

Jada Johnson


From: Nadine Jarmon
Sent: Wednesday, April 21, 2021 3:49 PM
To: jada johnson                        Lisa Dickerson
Cc: Bobken Simonians                                         Meagan MIiis <                               ; Miranda Sprague

Subject: FW: Updates

Do we have updates? I thought MLK was tabled when focus shifted to Vernon Place. Can you let me know if or what
steps we took on MLK?

In terms of the ADFA court case, the board wanted us to contact the attorney in charge of the Class Action suit - do you
have the contact information so that I might reach out to them and provide an update.

Not sure what she means by check list for ltex • but I'll let her l<now that ltex had a full presentation prepared for the
cancelled board meeting that I will aslc them to forward.

Bobken - can you send me the presentation you mentioned to me on our call. They wanted to see a side by side
comparison of what was proposed originally and what is on the table now for the 3 models respectively. Can you guys
provide that?

If you can forward that to me - I will send it to the respective board members.

Thanks



Nntllne Jar111011_, PIID
Exec11ti11e Direl'Wr
1lfetropolit1111 Ho11.,i11g Alliam:e
l (Ill S. Arch Street
                                                                                                                   81
              Case 4:21-cv-01237-JM Document 2 Filed 12/29/21 Page 107 of 212


little Rnck, AR 72201
.i0J-340-4805 - Office




From: Leta Anthony
Sent:Wednesday,A
To: Nadine Jarmon
Subject: Re: Updates

Please provide updates:


    •   MLK Project
    •   ADFA court case
    •   Checklist for ITEX

Commissioner Anthony




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4/22/2021

 Re: MLK Update                                                                                       '·j

                                                                                      .   ,   .. ··
  Leta Anthony
  Thu 4/22/2021 5:18 PM


  ro Nadine Jarmon
  Cc                                                     Branndii Peterson                                  '-ICIC~
                                                                                                ; Louis J a c k s o n < -



There's no pre!".sure being applied but accountability is required. None of this happened in the corner. ,n the bade in the dark but in a board and
staff setting where all understood the conversation being had. The Board is not in the habit of passing motions and resolutions to have them
ignored by staff. All of what has been requested of you is well documented. This Board needs to know what plan you are putting into place and
you will be reporting on before the May meeting with a June 1date of record pending. These delays and false miscommunications continue to
be costly to the agency.

Comm1ss1oner Ant110ny

On Thu. Apr 22. 2021. 4:54 PM Nadine Jarrno                                  wrote:

  We will provide an update at the May board meeting. We all just received the updated numbers on March
  29th. Today is April 22nd - I do not believe that reporting an update in May is unreasonable and it is certainly
  within the veil of keeping the board in the loop and informed. I have to establish achievable and realistic
  dead IInes. I will not yield to pressure to comply with or conform to unreliable and unrealistic timelines that I
  was not involved with establishing.




  Nadine M. Jarman, PhD

  Executive Director

  Metropolitan Housing Alliance

  100 5. Arch Street

  Liit}e r.oclc, AR 72201
  -----·----------------------
  S0J-340-4805 (Office}



  -----·----- ---·-------
  From: Leta Anthony
  Sent: Thursday, April 22, 2021 2:44:06 PM
  To: Nadine Jarmon
  Cc:  •••••••••               Branndii Peterson; Lee Lindsey; Commissioner - Louis Jackson; Louis Jackson
  Subject: Re: MLK Update

  There has Ileen no follow up, up dates or anything else coming from you on this project and that is the problem. You did not set the elate,
  the Board did when we in11ited Mr. Woods 111 and reouested the new numbers.. The Board in that meeting referred to staff our ability to use
  capital funds. You provided to the Board the amount that was in the capital fund and the Board thought those funds could be uldd. We

                                                                                                                                                .,.
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                                                                                                      ELECTRONICALLY FILED
                                                                                                            Pulaski County Circuit Court
                                                                                                      Terri Hollingsworth, Circuit/County Clerk
                                                                                                          2021-0ct-28 15:32:53
                                                                                                             60CV-21-6938
                                                                                                           C06D12: 103 Pages




                                UNIFORM COVER PAGE
                 [To be used when required by Administrative Order No. 2 (g)*]

COURT:             _ _ _ _ _ COURT OF _ _ _ _ _ _ _ _ COUNTY

                   Docket/Case Number:


CASE NAME:
PLAINTIFF/
PETITIONER:

DEFENDANT/
RESPONDENT:


TITLE OF PLEADING OR
DOCUMENT BEING FILED
(If a multi-part file,
the designation "part _ of_"
(example, part 1 of 2)):




*Administrative Order No 2.
           (g) File Mark. (1) There shall be a two inch (2") top margin on the first page of each document submitted for
filing co accommodate the court's file mark. If the pleading or document must be filed in multi-parts because of size or
for other reasons, the first page of each part muse include the file name and file mark and shall clearly indicate the part
number and number of parts (example, part 1 of2).
           (2) If a document is such chat the first page cannot be drafted to provide sufficient space to satisfy the file-
mark requirement, the document muse include the uniform cover page developed by the Administrative Office of the
Courts and found under Forms and Publications at www.arcourts.gov.
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4122/2021
    neve,· changed the date that had been set by the Board. You reported in the Retreat the issue with using Capital funds. The Board gave
    instructions to you to secure the funds for :he project. You have not provided any update of steps to serure funds for the project or any
    movement on thrs project as was directed by this Board_ If there has been effort on your part perta,ning to this matter, please provide thal
    1nformatior to the members of the Board If the date 1s not met, we have a problem with staff keeping us in the loop and doing due
    diligence with follow up to the Board. If staff follows up with the Board in a timely manner, the Board will have no need 10 request
    information that they should have already received.

    Commissioner AnLhony



   On Tt,u, Apr 22. 2021 at 10:53 AM Nadine Jarmon -                      wrote:
    That does not ho1d water as I have stared at the ~ a p i r a l Funds for a project that those funds wef'l' not allocated to
    without going through a formal review and approval. Why would I comm,t to a date that even if engaged upon would still take a minimum
    of :l to 6 months ano that's catching HUD on a good day.

      All said, I am stat ng clearly and in writing Iha! date will not be met.
                        1




      Nadine Jarmon. PhD
      Interim ~ Director
      Metropolitan Housing Alliance
      100 South Arch Street
      Little Rock, Arkansas 72201
      Mobile: 501-539-5225


              On Apr 22. 2021, at 10:.32 AM. Leta Anthony                                 wrote:



              This does not hold water. MLK is not up for oiscussion as part of a study The plans for MLK are in place Your
              cornrrntment 111 the retreat was to identify the source of the Capital funds and as instructed by the Board secure funding for
              the project to stop the increas1'lg cost of the proJeCt due to unnecessary delays. The date of June 1 is. in no way
              arbitrary but :ias been discussed and is on record in a board motion made in the March meeting and discussed with you on
              more tllan one occasion The HABU process was never adopted by the Board due to what the Board sees as
              ul'necessary delay. The Board has discussed with you several times the need for new income streams tor the agency.

              Commissioner Anthony




             On Thu, Apr 22. 2021 at 9:51 AM Nadine Jarmon - r o t e

                Good morning




                As discussed at the board retreat staff is conducting a highest and best use analysis of MHA
                properties. The analysis should be completed in 30-60 days.



                I have set the completion of the two impending RAD closings as priority with staff in terms of
                allocation of time.



                I'm not sure how the arbitrary date of June 1st was established, but in an effort to both set and
                manage expectations I will provide the board with a full time line far the HABU analysis at 5e                      tr
hltos://mait.mhaDha.orgfowa/#oalh=lmail                                                                                                            '214
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                 May board meeting.




                 It has been pointed out to me on many occasions that "past" staff and management made
                 decisions that were both not disclosed to the board and in hindsight certainly were not in the
                 best interest of the agency. I will not continue with this pattern.




                 Nadine M. Jarmon, PhD

                 Executi11e Director

                 Metropolitan Housing Alliance

                 100 5• .Grc:h Street

                 Little t~oclc, AR_72201

                 501-340-4805 (Office}



                                                                                      -   -------        ---   -~-··-----
                 From: Leta Anthony
                 Sent: Wednesday, April 21, 2021 S:29:33 PM

                 ec••••••••
                 To: Nadine Jarmon

                 Subject: Re: MLK Update
                                             -Branndii Peterson; Lee Lindsey; Commissioner - Louis Jackson; Louis Jackson


                The Boards for neither entity has moved the date for the groundbreaking of MLK. The amount was discussed and the
                boards idemified funds in the Capitol Fund account to be used. Staff later came back and said they needed to
                identify what property those funds were to be used ro,. There have been no other updates. The date or June 1 still
                holds. Stated in an earlier email where staff had used funds from 1he Reserve Fund to satisfy a fine for extension 1t was
                stated that staff should be seeking resolutions for this project as it did for the eKtension We are sun waiting for
                recommendation from 5taff on funding opportunities. Staff should not be merP.ly waiting for directions cut seeking other
                funding sources rf capital funds can not be used. MLK is a MHA project,


                On Wed, Apr 21, 2021 at 5 03 PM Nadine Jarmon

                   commissioners




                   At the March 29 th meeting of the CAHC under the heading of Status of Property- MLK update was
                   provided and Directors were presented with the attached breakdown of updated costs provided by
                   Ron Woods with the Woods Group which showed $914,274.78 for the estimated construction and
                   $49,800 for A & E fees for a total of $964,074.78. No formal action was taken or authorized by the
                   board. Given the substantial difference in cost from earlier models; staff is awaiting formal direction
                   from Directors.
                                                                                                                                   86

hltnt!o·l/mllil mhaoha.ora/owa/#oalh=/maB                                                                                                   3/4
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Attachment 31




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     deadlines. I will not yield to pressure to comply with or conform to unreliable and unrealistic timelines that I
     was not involved with establishing.

     Nadine M. Jarmon, PhD
     Executive Director
     Metropolitan Housing Al/lance
     JOOS. Arch Street
     Little Rock# AR 72201
     501-340-4805 (Office}


     From: Leta Anthony
     Sent: Thursday, April 22, 2021 2:44:06 PM
     To: Nadine Jarmon
     Cc                          Branndii Peterson; Lee Lindsey; Commissioner - Louis Jackson; Louis Jackson
     SubJect: Re: MLK Update

    There has been no follow up, up dates or anything else coming from you on this project and that Is the
    problem. Vou did not set the date, the Board did when we invited Mr. Woods in and requested the new
    numbers. The Board in that meeting referred to staff our ability to use capital funds. You provided to the
    Board the amount that was in the capital fund and the Board thought those funds could be used. We never
    changed the date that had been set by the Board. You reported in the Retreat the issue with using Capital
    funds. The Board gave instructions to you to secure the funds for the project. You have not provided any
    update of steps to secure funds for the project or any movement on this project as was directed by this
    Board. If there has been effort on your part pertaining to this matter, please provide that Information to
    the members of the Board. If the date is not met, we have a problem with staff keeping us in the loop and
    doing due diligence with follow up to the Board. If staff follows up with the Board in a timely manner, the
    Board will have no need to request information that they should have already received.

    Commissioner Anthony



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     That does not hold water as I have stated at the retreat you can not use Capital Funds for a project that those
     funds were not allocated to without going through a formal review and approval. Why would I commit to a
     date that even if engaged upon would still take a minimum of 3 to 6 months and that's catching HUD on a
     good day.

- ~ All said, I am stating clearly and in writing that date will not be met. ~

     Nadine Jarman, PhD
     Interim Executive Director
     Metropolitan Housing Alliance
     l 00 South Arch Street
     Uttle Rock, Arkansas 12201




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are in place. Your commitment in the retreat was to identify the source of the Capital funds
and as instructed by the Board secure funding for the project to stop the increasing cost of the
project due to unnecessary delays. The date of June 1 is in no way arbitrary but has been
discussed and is on record in a board motion made in the March meeting and discussed
with you on more than one occasion. The HABU process was never adopted by the Board due
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Commissioner Anthony




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I have set the completion of the two impending RAD closings as priority with staff tn terms of
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I'm not sure how the arbitrary date of June 1st was established, but in an effort to both set
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It has been pointed out to me on many occasions that "past" staff and management made
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best interest of the agency. I will not continue with this pattern.



Nadine M. Jarmon, PhD
E11ecutlve Director
Metropolitan Housing Alllance
100 S. Arch Street
Uttle Rock, AR 72201
501-340-4805 (Office)


From: Leta Anthony
Sent: Wednesday, April 21, 2021 5:29:33 PM
To: Nadine Jarmon
Cc:                        Branndii Peterson; Lee Lindsey; Commissioner - Louis Jackson; Louis
Jackson
Subject: Re: MLK Update

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amount was discussed and the boards Identified funds In the Capitol Fund account to be
used. Staff later came back and said they needed to identify what property those funds were
to be used for. There have been no other updates. The date of June 1 still holds. Stated in
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extension. We are still waiting for recommendation from staff on funding opportunities. Staff
should not be merely waiting for directions but seeking other funding sources If capital
funds can not be used. MLK is a MHA project,



On Wed, Apr 21, 2021 at 5:03 PM Nadine Jarmon                                      wrote:
Commissioners

At the March 29 1h meeting of the CAHC under the heading of Status of Property - MLK update was
provided and Directors were presented with the attached breakdown of updated costs provided by
Ron Woods with the Woods Group which showed $914,274.78 for the estimated construction and
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board. Given the substantial difference in cost from earlier models; staff is awaiting formal direction
from Directors.

Thank you.



Nadine Jarmon, PhD
Executive Director
Metropolitan Housing Alliance
100 5. Arch Street
Little Rock, AR 72201
501-340-4805 - Of/ice




From: Leta Anthony [mailto
Sent: Wednesday, April 21, 2021 2:40 PM
To: Nadine Jarmon
Subject: Re: Update

Please provide updates:



    •   MLK Project
    •   ADFA court case
    •   Checklist for ITEX

Commissioner Anthony




                                                                                                     90
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                                  I A5,          (4-e_     I
                           Absolute Resolution Services, Inc.
 Via Email:

 November 14, 2019

Ja.da Johnson
Procurement and Capital Funds Coordinator
Metropolitan Housing Alliance
t 00 South Arch Street
Little Rock. Arkansas 72201

RE: Request for Qualifications (RFQ) for Metropolitan Housing Alliance Board of
Commissioners• {MHA Board of Commissioners) Annual Planning Retreat Facilitation
and Strategic Planning

Dear Ms. Johnson:

I have enclosed for consideration Absolute Resolution Services. 'Inc. 's (ARS, Inc.)
response to the MHA Request for Qualifications and quote to provide strategic planning
facilitation for the Annual Planning Retreat ofthe MHA Board of Commissioners. ARS.
Inc, is available to provide comprehensive pre-facilitation. strategic planning facilitation
and post facilitation fullow-up services for the MHA Board of Commissioner' Retreat
during the weekend of December 6-8, 2019 and tentatively scheduled for eight {8) hours
on Saturday, December 7, 2019.

ARS, Inc. staff has extensive facilitation expertise to effectively assist the MHA with
accomplishing its mission by fostering the alignment of strategic planning, short/tong
term goals and actioa plaoning for designated outputs/outcomes with the identified needs
and strategies detailed in the 2020 PHA Annual Plan. I have included professional
background and reference information for ARS, Inc. 's facilitation staff.

ARS. Inc. looks forward to the Board of Commissioners' favorable consideration of our
RFQ response. If y ~ o n s regarding the enclosed RFQ information"
please contact me a - o r via email at



11/\.~. ~P~~
S~re~,
Angeli , . Tolbert, Esq.
Preside

Enclosure

            4310 John Barrow Road, Suite B ... Little Rock, Arkansas 72204
               Telephone/Facsimile: (501) 565-0400
                           Email:


                                                                                               92
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 Via Email:


                           I ARS, ,~. I
                     Absolute Resolution Services, Inc.

December 9., 2019

                           INVOICE*
              2019 MHA Board of Commissioners' Retreat


Vendor Number:                 VN00000138
Purchase Order Number:         P.O.020230
Services Provided:             2019 MHA Board of Commissioners'
                               Retreat Facilitation and Strategic Planning
Contract Agreement Total:      $4,500.00
Dates of Service:              11/18/2019 to 12/09/2019
Invoice Total~                 $4,500.00



Submitted by:
                   Angelia J. Tolbert, Esq.
                   President
                   Absolute Resolution Services, Inc.



       *THIS INVOICE IS DUE UPON RECEIPT




                                                                             93
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       Run   By: JJOHNSON                                                                  METROPOLITAN HOUSING ALLIANCE
                                                                                        All Paid Invoice Listing -Vendor VN0000013B
                                                                                                                   EXE

       Vendor•      Vendor Name         Alice Detail   Invoice#        ln11 Dale        Check Data    Alloc. o/,, Cheek   I   Alloc. Amt   Oise. %   lnvo,ca Amt   Aloe. Disc.   Disc. Ami Alloc. Net   Net Ami




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                                                                  Totals For Venctor       Services. Inc., Absolute


       VN00000138 Service&, Inc., Absolute ResolQtion                 04/27/2020 05122/2020



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                                                                                           Senrioes, Inc.. Absolute
                                                                                                                                              0.00




       VN00000138 Services, Inc., Absolute ResolCltion                06/1212020




                                                                  Totals   For Vendor
                                                                                        06/19/2020




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       VN00000138 Services, Inc., Absolute Resol&ion                  08/04/2020



                                                                  Totals For Vendor
                                                                                        09/01/2020


                                                                                                             -
                                                                                           Services, Inc_, Absolute
                                                                                                                                              0.00




                 Total for Report   5




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.j>.


       Date: 06106/'2021 12:35:30                                                                                Paga 1
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                                                     Office of the Interim E,cecutlve Director
                                                              100 South Arch Street
                                                               Little Rock, AR 12201
                                                        (501) 340-4821 / f501) 340-4845 lfaxJ




09/17/2020

Angelia Tolbert. Esq.
Absolute Resolution Services, Inc.
4310 John Barrow Road, Suite B
Little Rock, Arkansas 72204


Ms. Tolbert,
We appreciate your service for the MHA Board of Commissioners Retreat under task order
number one ( 1), and your continued support to the Board of Commissioners under the terms and
conditions of task order number two (2), and Resolution #6744. After comparing ARS cost of
service with the budgeted line items approved by the commissioners and provided to HUD
for year 2020, a decision has been made to cancel the remaining portion of the task orders
along with all items associated with the service and scope of work.

Please note, moving forward ARS has a contract for Hearing Officer with MHA and we plan to
utilize your services as needed.

If you have any further questions or feel the need to reach out, our door is always oper..




Dr. Nadine Jannon
Interim Executive Director




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                                               •
                                               Ml-IA
                                     METROPOLITAN MOUSING ALLIANCii



                                100 South Arch St.• little Rock. AR 72201



Recommendations For CARES ACT Funding
                                                                                    ··-··--·--
MHA is recommending allocation of CARES ACT funding in the amount of $166,941.83 to the
following agencies.

The Agencies were selected based on an independent review and evaluation of proposal and scoring
by a panel composed of three Executive staff members.

   1. HouseAboutlt - Proposed award $140,000
   2. Growth Achieved- Proposed award $6,941.83
   3. Well Feed- $20,000

This contractual agreement for the plan is not to exceed ($166,941.83).

Within seven (7) days of award, MHA will request the awarded agencies to provide a work and draw
schedule. Within 30 days of receipt of the award MHA will review and work with the
agencies/recipients on the draw schedule to ensure milestones, activities and benchmarks are being
followed.




                   (501) 340-4821 (phone)       (S01) 340-4845 (fax)        www.mhapha.org
                                                                                             98
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                                                                          RESOLUTION NO. 6776


 Boan:! Member        \....e:\g l\n-f:h~          oflhe Board of Commissioners oflhe Housing
 Authority of the City of Little Rock;   sas D/8/A Metropolitan Housing Alliance introduced the
 following Resolution and moved for its adoption:

  RESOLUTION AUTHORIZING THE EXECUTIVE DIRECTOR TO ALLOCATE CARES
  ACT FUNDS IN THE AMOUNT OF $166,941.83 EXPENDITURES THAT ARE ELIGIBLE
             UNDER HUD NOTICES PIH-2020-07, 2020-08, AND 2020-18

         BE IT RESOLVED, that at a duly constituted meeting of the Board of Commissioners of
  the Housing Authority of the City of Little Rock, Arkansas d/bla Metropolitan Housing Alliance
  ("MHA") held on April 15, 2021 the Board of Commissioners did make the following decision and
  requested staff to act as follows:

       WHEREAS, the Board of Commissioners recognizes the receipt of funds under the
Corona virus Aid, Relief, and Economic Security Act (CARES Act) (Public Law 1J6-136); and

     WHEREAS, the Board of Commissioners authorizes the Executive Director to allocate
CARES ACT funds in the amount of$140,000.00 to HouseAboutlt; and

          WHEREAS, the Board of Commissioners authorizes the Executive Director to allocate
CARES ACT funds to Growth Achieved in the amount of$6,941.83; and

     WHEREAS, the Board of Commissioners authorizes the Executive Director to allocated
CARES ACT funds to Well Fed in the amount of$20,000.00; and

NOW, THEREFORE, DE IT RESOLVED BY THE BOARD Olt.. COMMISSIONERS OF THE
HOUSING AUTHORITY OF THE CITY OF LITTLE ROCK, ARKANSAS D/8/A
METROPOLITAN HOUSING ALLIANCE THAT:

The Executive Director is hereby authorized to make decisions regarding these expenditures as long
as such expenditures are eligible under HUD PIH-2020-07, 2020-08 and 2020-18. This resolution
shall be in full force and effect from and upon its adoption.

Commissione,L.
recorded:
                       LtntJ&ei    seconded the motion and •JMln roll call the following vote was



          AYES:    Commissioner/s       /hi-Hien~ u[l.l(5ey. I      Lowe1I ,]ii cf:tson
          NAYS:    Commissioner/s                           '     '
          ABSTAIN: Commissioner/s - , - - , ~ - - - - - - - - - - - - -
          ABSENT: Commissioner/s ..1.13.w.e¾~l-i~®:=.iOu...._ _ _ _ _ _ _ _ _ __


The Chairperson thereupon declared the motion carried and the resolution adopted.
IN WITNESS WHEREOF, each of the undersigned has hereunto set his hand of the Authority this
l 5lh day of April, 2021.


4823-5703-0223. v I                                                                               99
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                                                                                                 RESOLUTION NO. 6776

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                                                I•       ,--..1   _;:/~


Kenyon _K. 1,.owc, Sr. Chairperson ·                                      Dr. Nadine Jarmonf.ifxecutive Dircdor
             ·~---




4823-5703-0223.vl                                                                                                 100
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Attachment 35




                                                                  101
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                                                                                 RESOLUTION NO. 6730



  Board Member        Ldo.. Anlhm~kansas
  Authority of the City of Little Rock.
                                                     of the Boord of Commissioners of the Housing
                                               D/B/A Metropolitan Housing Alliance introduced
  the following Resolution and moved for its adoption:


RESOLUTION AUTHORIZING THE BOARD OF COMMISSIONERS OF THE HOUSING
AUTHORITY OF THE CITY OF LITTLE ROCK, ARKANSAS, D/B/A METROPOLITAN
HOUSING ALLIANCE ('MHA") TO ADOPT THE OPERATING PROCEDURE POLICY
RECOMMENDATIONS    RESULTING  FROM THE 2019       RENTAL ASSISTANCE
DEMONSTRATION "RAD" PROGRAM HUD OFFICE OF INSPECTOR GENERAL REVIEW;

        BE IT RESOLVED, that at a duly constituted meeting of the Board of Commissioners of
 the Housing Authority of the City of Little Rock. Arkansas d/bla Metropolitan Housing Alliance
 (''MHA ") held on December 19, 2019 the Board of Commissioners did make the following
 decision and requested staff to act as follows:

      WHEREAS, Staff shall from time to time review and recommend the adoption of new or
 amended operating procedures to align with HUD Policy Guidelines or recommendations; and

        WHEREAS, HUD has recommended certain operating procedures, Program Oversight
 and Predevelopment Budget Adoption, be updated related to MHA's participation in RAD
 resulting from the HUD Office of Inspector General Report completed in 2019;

        WHEREAS, MHA staff has proposed such operating procedures with the guidance of the
 HUD Local Field Office;

        NOW, THEREFORE, BE IT RESOLVED BY nm BOARD OF COMMISSIONERS OF
THE HOUSING AUTHORITY OF THE CITY OF LITTLE ROCK, ARKANSAS, D/B/A
METROPOLITAN HOUSING ALLIANCE ('MHA") that:

The Board of Commissioners hereby adopts this resolution and authorizes MHA staff to commence its
implementation at once. This Resolution shall be in effect from and after the date of its adoption and
execution.


Commissioner~ •
recttded:
                    le& Ltnhy             seconded the Motion and upon roll call the following vote was


            AYES:
            ABSENT:
                          Comm!ss!oner/sA!\\NI~,
                                               loW!JJO.CXSon, Uro&y
                          Comm1ss1oner/s _ _ _ _ _ _ _ _ _ __
            NAYS:         Commissioner/s _ _ _ _ _ _ _ _ _ __



 The Chairperson thereupon declared the motion carried and the Resolution adopted.

 IN WITNESS WHEREOF, each of the undersigned has hereunto set his hand of the Authority
 this 1911' day of December 2019.
                            ,,,

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                         Chai,pcr.-;,~
                                                                                                         102
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Attachment 36




                                                                  103
                                                     Case 4:21-cv-01237-JM Document 2 Filed 12/29/21 Page 130 of 212

        Run By; LSMITH                                                           METROPOLITAN HOUSING ALLIANCE
                                                     All Paid Invoice Listing - Vendor VN00029740 - Check Dale from 01/01/2020 to 06/04/2021
                                                                                                          EXE


        ~endort       Vendor Name     Alloc.Detail   lovoice:#-   Inv. Date    Check Date Alloc:.-·-91"..:Che~ #   Aloe.Amt   Ol&c. %   lnvoiafAmt   Alloe. Oise.   Disc. Amt Alloc. Net .·.- · Net Amt
        VN00029740 GROUP, DESIGN                                  12116/2020   12/2212020                                        0.00
        VN00029740GROUP. DESIGN                                   01)07/2019 01/1612020                                          0.00
        VN00029740GROUP, DESIGN                                   12131/2019 0111612020                                          0.00
                  •
        VN000297 0GROUP, DESIGN                                   04/1312020 0510412020                                          0.00
        VN00029740GROUP, DESIGN                                   02/18/2020 0310512020                                          0.00
        VN00029740GROUP. DESIGN                                   03/09/2020 04/0912020                                          0.00
        VN00029740GROUP, DESIGN                                   05/05/2020 06105/2020                                          0.00
        VN00029740GROUP, DESIGN                                   06/10/2020 06/30/2020                                          0 00
        VN00029740GROUP, DESIGN                                   08/11/2020 08/1212020                                          0 00
        VN00029740GROUP, DESIGN                                   09/13/2020   09129/2020                                        0.00
        VN00029740GROUP, DESIGN                                   D811312020   09/10/2020                                        0.00
        VN00029740GROUP, DESIGN                                   10/14/2020   10/27/2020                                        0.00
        VN00029740GROUP, DESIGN                                   02/06/2021   02/22/2021                                        0.00
        VN00029740GROUP, DESIGN                                   03/26/2021   04/0712021                                        0.00
        VN00029740GROUP, DESIGN                                   03/1112021   04/20/2021                                        0.00
        VN00029740GROUP, DESIGN                                   05/1312021   06/03/2021                                        0.00
                  Total for Report   16




....~   --------------------------------------------
        Cate: 06104/202111:!51:19                                                                       Page 1
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Attachment 37




                                                                  105
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Lisa Dickerson

From:                            ilana mckinney
Sent:                            Monday, June 14, 2021 3:25 PM
To:                              Lisa Dickerson
Subject                          Fw: Shared Cost for Marketing - Design Group




From: Jada Johnson
Sent: Friday, June 11, 2021 3:54 PM
To: ilana mckinney
Subject: Fw: Shared Cost for Marketing - Design Group

This is the cost sharing document request for Design Group.

Jada Johnson
MHA Contracts and Procurement Coordinator
Office: 501-340-4834
Cell:



From: Nadine Jarmon
                                                                                    ---------   ---------
Sent: Tuesday, October 13, 2020 8:S0 PM
To: Bobken Simonians; 'Brian Swanton'
Cc: Kenyon Lowe; Leta Anthony; Branndii Peterson;                          Commissioner - Louis Jackson; Louis
Jackson; ilana mckinney; Myron Jackson; jada johns
Subject: Shared Cost for Marketing - Design Group

Bobken/Brian

Good evening gentlemen.

To date MHA has incurred a total of $57,102.35 of expenses directly related to the marketing and outreach
efforts for Sunset Terrace and Madison I and II, respectively. Specifically, the Section 3 outreach efforts. I
think we all agree that the Design Group has done a phenomenal job.

Unfortunately, I have been unable to obtain any formal agreement in regards to cost sharing for these
expenses. While I am not comfortable with the timing of my request as well as the fact that no formal
agreement is in place, I want to appeal to you both to consider my request to share in covering these costs.

If you are receptive; please advise and we can formalize some type of agreement. We will be happy to
provide the detailed Invoices, if requested.

Thank you for your consideration.

Nadine M. Jarmon, PhD
Interim Executive Director
                                                         1                                               106
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Attachment 38




                                                                  107
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2/28/'2021                                                   Mall - njarmon@mhapha.org

 RE: Job Postings

       Nadine Jarmon
       Fr, 10/2/2020 12:05 PM


       to. 'Kenyon Lowe Sr'
                                                                                                                · 'Comm1ss1on~
         - Louis Jackson'

       cdlana mckinney


  @J     ·1 attachments (212 KB)

 1T Contract.doc;



 In addition to the Network Administrator position - it appears that there has been some discussion of procuring a contract
 for Technical Assistance.

 This is one of the reasons why I was thinking to delay this posting until I get the results of the Organizational Assessment -
 there seems to be confusion as to whether this Is a •positionH or "contract".

 I will continue to navigate .•.


Nadine Jnr111011. P/1D
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Jt,fet1·opofitn11 Homi:i11g .~llitmce
100 S. A rc/1 St,-eet
Llttfe Rocle, All 72201




From: Nadine Jarmon
Sent: Friday, October 2, 2020 10:49 AM
To: 'Kenyon Lowe Sr'                               Leta Anthony
Branndii Peterson <

Cc: ilana mckinney
Subject: Job Postings

Plans are to post these positions as soon as next week. Please peruse them and provide me any thoughts you may have
prior to my advertising. I will be doing some fine tuning over the weekend and would like your comments/thoughts as early
as possible.

Of key priority would be the Deputy Director and Director of Development Positions.



Thank you.

Nndi11e Jnr1no11, PhD
l11terim Exec11ti11e Dil'ecto,·                                                                                     108

hlTIMl'.llmail.nnmha.orofowa/#oalh=/mallsearch                                                                                    112
                   Case 4:21-cv-01237-JM Document 2 Filed 12/29/21 Page 135 of 212
 2/2812021                                                         Mail • njannon@mhapha.cxg


  RE: Network Administrator Resumes

    Nadine Jarmon
   Man 8/10/2020 3 49 PM

   Sent Items

   To:'Kenyol'I Lowe Sr'                          ilana mckinney



 Chairman

 It appears that indeed there was lack of or miscommunication between the board and the executive director at the time. I
 would llke to request that this position continue to be paused until which time I can get the results of my organizational
 assessment. At that time we will be able to make a more comprehensive decision about the direction of the agencies,
 prioritize projects and have a complete staff assessment including budgetary impact.

 I l<now you are disappointed of the lack of follow up; but I ask that we be patient for just a few more months before we
 move forward with any position postings.

 Thank you.


 N11diJie Jamw11, PliD
 Tme,-im Executive Direcro,·
 Metl'opolitnn Ho11si11g Alliance
 I 00 S. Arel, Street
 Little Rock, AR 72201



From: Kenyon Lowe Sr [mallto
Sent: Monday, August 10, 2020 1:39 PM
To: ilana mcklnney                         ; Kenyon Lowe Sr <
Cc: Nadine Jarmon
Subject: RE: Network Administrator Resumes



This position was authorized in the Boards 2019 retreat and is a priority as established after
meeting with the Agency's IT contractors and yet, the position is still posted on our website.


Xenyo1t X. Lowe, Sr. - NCC Commissioner
Chairman, Jvt.3{.Jl 'Board of Commissioners
Litt{e 'Rock J-fousing .Jlutfiority c£6a :Metropoutan J-fousing
J\{Ciance

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httpa:/lmall.mhapha.o,g/awa/#pafh=/mall/searcl\                                                                               112
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Attachment 39




                                                                  110
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                                                                   Vice President Information Technology I CIO
'..CONGO
                                                     0 Accomplished leader of lnfonnation Technology management and strategies with over 35
                                                       years work ing in collaboration with publicand private partners to foster cffectiveandefficienl
                                                       Systems and Work flow implementations that enhanced the delivery of critical services to the
                                                       Public.
                                                     0 Developed and Managed IT budgets ranging from 1.5 to collectively over 9 million .
                                                     C Reduced the cost, by hundreds of thousands and enhanced th~ effectively of ~1terfaces between Jispante applications
                                                          S)"litems.
                                                     0    Designed, developed, implemented a Business Management tool (BI) that has a 'dashboard'
                                                          effect to allow executive management to query decision making data instantly.
                                                     O Successfully implemented a 'rtmote work' environment for over 200 stafT wi!hin two weeks and over 500 staff inl month
                                                         while emphasizing security protocols and protecting sensitive date.
                                                     Q   lmplemcnled a digital environment to transpose over 9 Terabytes of infom1ation.
                                                     ¢   Migrated IO Terabytes of Client data           lo   a private cloud Saas environment
                                                     O· Transfonned into a complete 'remote work' environment within a month and half.
                                                     O Mlnage IT related Projects, totally in-house, U1al range (in number) from 3 to 10 'active'.



                                                      Information Technology Department I Vice frcsident/C IO                             Ma1th 2002 to Present
                                                     District of Columbia Housing Authority, Washington,DC
                                                    Maaage over 45 Application Systems including a n:cently im~eme nted ERP Management system. Mamgement
                                                    of lnfOfmation sharing among 800t employees that administers over a½ Billion of funds to a vulnerable
                                                    popu lous. Responsi ble for a Wide An:a Network (WAN), spanning 50t Properties, iocl\¥ii ng appropriate
                                                    security protocols.
                                                    D Implemented Company-wide Ent.ctprisc Resource Planning (ERP) managementsystcm which also
                                                    completely digitized and mobilized the work-ordersystem and allowed staffto 'work from anywhere and
                                                    anytime'
                                                         ❖     Manage and direct an application unit that develops, updates, and designs systems and
                                                               website and Business Jntclligence (Bl) tools to provide effective management of resowce
                                                               data/information .
                                                    0 WAN management covers the entire footprint of the Washington., DC area providing Property
                                                      management systems and broadband access for over 5000 residents.
                                                    0 Implemented the latest Voice-over-lnternet-Protocol (VoIP) system, cutting communications
                                                       costs in half while also utilizing a 'follow-me' communication system where incoming calls
                                                       connect to where the employee is (stationary vs. mobile) .
                                                    0 Project manage IT initiatives, ranging 2-9 'active', while also managing daily operations of
                                                       over700 Network nodes daily.
                                                    0 Implemented and manage the latest security tools to protect data from malware/ransomwan:
                                                       hacks while also deploying encryption software to protect sensitive information transferred
                                                       through messaging environments.
                                                    0 Responsible of managing a network of 4000+ camern.s that stream back to the public safety
                                                       'command center' ensuring constant and consistent monitoring of Property and resow-ces.
                                                    0 Incorporate the oversight of technical helpdesk tickets (numbering 40-50 weekly) along with
 ,I •    • •
               .,   ,, .. ,,:
                                          .,
                                    -.~':;_    ..      support of a complete 'mobile' environment for all staff.
                                                                                                                                                       11 1
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    Kedrick Jones
-'T Network Specialist - Area Agency on Aging
    & CJ f'.:Wa..
    ·--:--· - . ··- .. --
                          iPiiZ -;· 1   ••
I       .   ,.,..   - ...

Effective, outcome--driven professional with over ten years of customer relations and technology
experience, four years of supervisory experience, and seven years of business experience. Performs
end-user support with workstations. laptops, and moblle devices. Manage and coordinate all software
updates, documents all help desk tickets in a timely manner. Monitors and reports call center calls and
job performance to supervisors. successfully organize and manage multiple projects at one given time.
Successfully operates and manages a one-person rr Department with four servers, 30 desktops, 10
laptops, 250 plus mobile devices, 150 remote users, VOiP call center, milestone survelllance system,
120 transit surveillance systems, manages Medicaid billing software, end-user training, manages
technology budget. procurement, website content, coordinate with the managed service provider and
various vendors.

#readytowork

Wllllng to relocate: Anywhere
Authorized to work In the US for any employer


Work Experience

IT Network Specialist
Area Agency on Agrng - Pine Bluff, AR
February 2017 to Present
• Manage & oversee the transportation's IT Dept
•   Troubleshoot, repair & update desktops, laptops, tablets, phones
•   Install & configure software and hardware
•   Provide technical support & training
•   Manage & oversee call Center VOiP System
•   Technology Systems Administrator
•   Surveillance Camera System Administrator
•   Mobile SuNelllance Camera System Administrator
•   EDI & BIiiing Software Administrator
•   Fleet Maintenance Administrator
•   End User Training Manager & Facilitator
•   Website Administrator & Webmaster

HIM Software Operations Specialist
Arkansas Hospice - North Little Rock, AR
September 2014 to February 2017
• Supported over SOD EMR end-users
• Developed /edited processes and EMR forms
• Instructed & trained end-users on EMR




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Attachment 40




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5/17/2021                                                 (1 unread)- njarmon@yahoo.com - Yahoo Mall




     Conatance Johnson




     Date: Friday, August 14, 2020, 02:56 PM CDT



     This is the young lady that Ms. Anthony and I was referring with the extensive background
     in vouchers.



     Kenyon K. Lowe, Sr.




             Constance Johnson resume 02-10-2020.doc
             34kB




                                                                                                                              114

hltnll·J/mall.vahoo.comldfsearch/name::Kenvon%2520lowe%25205f&emailAddresses::klowe40%2540hotma1l.com&li&tFlller-FROM&contacllds=7a1 ...   1/t
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Attachment 41




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XPS 17 9700 Laptop with Intel I 0th Gen CPU & 4K Display I Dell l'SA   https://www.dcU.com/cn-uJ/work/shopldell-laplop.s-and-noteboobtnew-.




                                                                                                 Search       Sign In   Cil11    Menu

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              Sh@ NoY.!f I Qy_~stions? ca111-soo-456·3355 or Cljck to Chat

               United States      Products foe Work
              Liu!tQps & 2-;n-1 PCs                                                         Intel® Ccre"' Pr()(essors
          Ke.SJ.iptogs & 2:Jn·l PCs                                                                        Comp;w:
          New xps JZ LalllQR
          New XPS 17 Laptop




                                                                          New XPS 17 Laptop
                                                                         lffi::J    64GB DDR4-2933MHz. 2x32G
                                                                          1iJ       NVIDIA® GeForce RTX"' 2060 6GB GDDR6 with
                                                                                    Max-0
                                                                          ~ 2TB M.2 PCle NVMe Solid State Drive
                                                                                    Windows 1OPro 64-bit Engfish
                                                                         •          (Dell recommends Windows 10 Pro for business)

                                                                         ,t::i,, 10th Generation Intel® Core"' i7-10875H (16MB
                                                                         :i;:.F  Cache, up to 5.1 GHz, 8 cores)
                                                                                    CNC Machined Aluminum in Platinum Silver with
                                                                          0         Black Carbon Fiber Composite Palmrest
                                                                          lwl Ports & Slots

                                                                          List Price $4,099.98
                                 View
                                         -360"J                           $4,088.99
                                                                          0        Price Match Guarantee

                                                                         Dell Business Credit
                                                                          As low as $123 /mo." I ARP-!Y. for credit

                                                                          '                ~
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                                                                              - -      .




                 Tech Specs &                                                                                      Drjvers. Manuals &
                                                  Product   Details                   Reviews
                 Customization                                                                                          SURP-Ort




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I of30                                                                                                                          8/28/2020. 4:16 Pf\
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Attachment 42




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From: Kenyon Lowe Sr
Sent: Monday, August
To: Nadine Jarmon



Subject: DELL Laptops

Dr. Jannon,

Although the laptops that were ordered not what the Commissioners expected, I
have attached specification as to what the laptops should have when re-
ordering. Commissioner Peterson stated to me that she wanted an I-pad, yet ended
up with a laptop. There should be four (4) laptops and one (1) I-pad for the
Commissioners. These next computers should not be opened or touched. The
Commissioners all have internet connections and being shipped straight from
DELL, do not need any configuration.

Respectfully,

Xenyon X Lowe, Sr. - :NCC Commissioner
Cnairman, :M.3lJt 'Board of Commissioners
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:Jfousing .54.{[f.ance




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Ilana Mckinney

From:                                Nadine Jarmon -
Sent:                                Friday, S e p t e m b ~
To:                                  'Lee Lindsey·
Cc:                                 jada johnson; ilana mckinney
Subject:                             RE: DELL Laptops


No. It's not too late. Via cc I am requesting Jada to order you a iPad instead of the laptop.



Nt1tline Jm'11101t, PllD
Juterim Executive Dil'ector
Melropolitrm Ho11si11g Alliance
JOOS. A,·c/t Streel
Little Rm:h, AR 72201




From: Lee Lindsey
Sent: Wednesday, September 2, 2020 2:06 PM
To: Nadine Jarmon
Subject: Re: DELL Laptops

Is it to late for me to request a iPad also?



Sent from my iPhone



        On Sep 2, 2020, at 12:30 PM, Nadine Jarmon                               wrote:


        The new specifications were given to staff to reorder; and we have received the specs from
        Commissioner Peterson for her iPad. I've asked staff to expedite the order and instructed them to not
        open them upon arrival.

        Thank you.

        Please note that the reorder will be placed by tomorrow. I had issues with getting the specs provided to
        staff until today.



        Nadi11e Jarmon, PhD
        interim Executive Directm·
        Metropolitau Ho11.ri11g Allit111ce
        100 S. Arch Street
        Little Rock, AR i2201




                                                             1
                                                                                                             119
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ilana mckinney
From:                                   Jada Johnson
Sent:                                   Friday, June 11, 2021 1:32 PM
To:                                     ilana mckinney
Subject:                                Fw: Cares Act- Laptop Purchase Employees
Attachments:                            US_QUOTE_3000065693991.1.pdf




Jada Johnson
MHA Contracts and Procurement Coordinator
Office: 501-340-4834



  -- . ---·-- - . ----------------- --------- ------------------------·-··-··--· - - - - - -

From: Zach.Burrows@dell.com
Sent: Monday, July 27, 2020 11:42 AM
To                                                             · jada johnson
Subject: RE: Cares Act- Laptop Purchase Employees

Dell Customer Communication - Confideotial


Jada,

Attached above is the new quote for 5 more systems. I ran into some errors when refreshing the referenced quote,
unfortunately it's no longer available in those specs. Above is the new 35S1 matching all the specs from the 3541 while
adding the MS Office to these. Major differences are in the processor going from i7 9t " gen to i7 10th gen, please review
for accuracy and let me know if I need to make any adjustments. Again I want to say thank you for your patience during
my absence last week, not sure why your request fell through the cracks.

Q#3000065693991. ·j

Kindly,
Zach Burrows
Dell Technologies I Inside Account Manager
Office:+1(512)513-0787

Wor1<1ng Hours: Monday - Friday 17:00- 4:00 (CT)

*For all our server, storage, & networldng needs, please contact Allison Hutcl1erson for a quote'


From: jada Johnson
Sent: Monday, July 27, 2020 10:30 AM
To: Burrows, Zach; Bryant, Troupe
Cc: Mcneely, Shelby
Subject: RE: Cares Act- Laptop Purchase Employees

[EXTERNAL EMAIL]
Hello Zach,

                                                                                                               120
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Attachment 43




                                                                  121
                 Case 4:21-cv-01237-JM Document 2 Filed 12/29/21 Page 148 of 212



     Jada Johnson

     From:                           jeannie owens
     Sent:                            Monday, August 10, 202011·46 AM
     To:                             jada johnson
     Cc                               ilana mckinney; Nadine Jarmon
     Subject:                         Re: Laptop


     Oh, ok. Thanks! I was not aware, I am out of the office today.

     Jeannie Owens

     > On Aug 10, 2020, at 11 :41 AM, jada johnson                          wrote:
     >
     > Hello Jeannie,
     >
     > Thanks for the information. I have the laptop and have already spoken with HR
     >
     > Have a great day,
     >
     > Jada Johnson I Procurement and Capital Funds Coordinator Metropolitan
     > Housing Alliance
     > 100 South Arch Street I Little Rock, AR 72201 Office 501.340.4834 I
                                                      www.lrhousing.org

     >
     >
     > -----Original Message-----
     > From: jeannie owens
     > Sent: Monday, August 10, 2020 11 :39 AM
     > To: jada johnson                         ; ilana mckinney
     >
     > Cc: Nadine Jarmon
     > Subject: Laptop
     >
     > Hello,
     >
p      One of my employees was provided a laptop that was previously used by a commissioner. She discovered ~
7l   nude pictures of him and of women on this company computer. Please let me know how you would like to   •,-
     handle this situation. Do you need the computer?
     >
     > Thanks,
     >
     > Jeannie Owens




                                                                                                    122
                        Case 4:21-cv-01237-JM Document 2 Filed 12/29/21 Page 149 of 212
 2/28/2021                                                       Mail - njarmon@mhapha.org

                 0   (4) To issue commissions for the examination of witnesses who are outside of this state or
                     unable to attend before the authority or excused from attendance.

 Let's discuss at your earliest convenience concerning this matter.

 Xenyon X. Lowe, Sr. - :NCC Com1nissioner
 Cfiairnian, :Jvt..J-{.'A. ".Boara of Com1nissioners
 Litt[e Xock J-fousing ..'A.utliority a6a :Jvl.etroyofitan Jfousine
 .Jl{Ciance


 From: Nadine Jarmon [mailto
 Sent: Wednesday, August 12, 2020 9:57 AM
 To: Kenyon Lowe Sr
 Subject: FW: Specific Oates for Distribution of Laptop

 Chairman Lowe

 We can discuss later. However, since this involves a Commissioner I will defer to you on what or if you want to discuss this
 matter with Commissioner Jackson.

 Thank you


 .'Vndi11e J"rmo11. PhD
 l11teri111 Executb•e Dfrecto,·
 il•/etropolit,111 llo11si11g Allifmce
 i_q(~ •~·-(!!"_<:_I! _$/!:e..~i
 !-:~~,!~!!!'..~t! .--\ R. ?!J.f!!.


From: jada johnson
Sent: Tuesday, August 11, 2020 2:35 PM
To: Nadine Jarmon - ; Ilana mcklnney
Subject: RE: S p e c i f i ~ f Laptop

 1 don't   have the specifics dates on all but, I have recollection for task related to the distribution or return.

 The date the laptop was assigned to Commissioner Jackson - October 2018
 The date it was returned by Commissioner Jackson - December 2018
 The date it was signed out to Minnie- (first time) 0S/07/2020 (second time) 07/17/2020, confirmed on 07/20/2020
 The date it was returned by Minnie - (first time) June 2020, {second time) Gave directly to Daportia
 The date it was signed out to DaPortia -Received directly from Minnie , I had her sisn the Usase Form on 08/06/2020
 The date it was returned by DaPortia - 08/10/2020



                                                                                                                      123

hllps:llmalt.111hapha.Ofg/owal#palh=/mallfsearch                                                                                2/3
                     Case 4:21-cv-01237-JM Document 2 Filed 12/29/21 Page 150 of 212
2/2812021                                                        Mall - nJarm011@mllaptla.Of9

 From: Nadine Jarmon
 Sent: Tuesday, August 11, 2020 1:03 PM
 To: jada johnson                                   ilana mckinnev <
 Subject: Specific Dates for Distribution of Laptop

 Jada

 I know you are busy; but I really need the following specific dates:

 The date the laptop was assigned to Commissioner Jackson
 The date it was returned by Commissioner Jackson
 The date it was signed out to Minnie
 The date it was returned by Minnie
 The date it was signed out to DaPortia

 Thank you. You mentioned that ilana may have some of the dates on a form that is issued and place in their personnel files
 when they are issued company equipment.

 Nt1df11e Jnrmo11, PlrD
 /11terim Exec11tiJJe Dfrector
 Metropolita11 Hn11si11g Allia11ce
 !OfJ S. A:·ch Str[•er
 Little I'.ad,._.,lR_ 72201




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Attachment 44




                                                                  125
                   Case 4:21-cv-01237-JM Document 2 Filed 12/29/21 Page 152 of 212
6(6/2021                                                     Mall - Nadine Jarmon - Outlook



       Fwd: Commissioners' Workday Retreat
       Leta Anthony                                      >
       Wed 12/30/2020 .
       To: Nadine Jarmon


       ---------- Forwarded message •·······-
       From: W.D. Walker
       Date: Wed, Dec 30, 2020, 12:57 PM
       Subject: Re: Commissioners' Workday Retreat
       To: Leta Anthony
       Cc Kimberly Gaynor



       The physical address of the building is 2020 S. Broadway. This is the N. W. corner of 21st and
       Broadway. Street parking is allowed on either side of 21st Street. The building has a black rout
       iron fence around it. Someone will be there to greet you on the day of your conference and will
       stay there throughout the day.

      Woodson

      On Wednesday, December 30, 2020, 11:19:55 AM CST. Leta Anthon                                      wrote:


      Please send me the physical address of the building.

      On Mon. Dec 28. 2020. 10:45 AM W.D. Walker - w r o t e :
           Ms. Anthony,
           We are excited that you have selected our facility for your January 12th board meeting. We
           are preparing seating for 6 people. We are preparing soft drinks, water. coffee and danish for
           your breakfast. Coffee will be prepared with our Keurig coffee maker. What flavor coffee
           would you like? We will do what we must to make sure that we are adequately stocked.

           There are several popular restaurants in the area, i.e., David's Soul Food Cafe and Brewster's
           that specializes in catfish. Also, nearby are Community Bakery, and The Root Cafe. Please let
           us know if you would like us to take care of your lunch orders and deliveries for you.

           Best,

           Woodson

           On Tuesday, December 22, 2020. 04:43:02 PM CST. W.D. Walker                          wrote:


           Ms. Anthony,
           We're excited to have your leaders meeting in our facility on January 12, 2021. I won't loose
           your email this time. I am copying our BNB manager on this. She's very smart. She won't let
           me lose it again. I will be in touch with a more substance response soon.
           Woodson

           On Tuesday, December 22, 2020, 03:53:41 PM CST, Leta Anthony                                  wrote:

                                                                                                                  126

httos:llouUook.office.comfmaiVi<I/MOkADBhYTAMiUzLTlm2iMtNDYyY~ZOE2LWUXZjCKNTc5ZiAzMwACAKXZqOtGWUrOl'Z61gB'lla2fciDw%3D   1/2
                   Case 4:21-cv-01237-JM Document 2 Filed 12/29/21 Page 153 of 212
6/6/2021                                                       Mail - Nadine Jannon - OuUook
           Reminder: We wlll have lunch catered in.

           Leta

           - - - - Forwarded messa
           From: Leta Anthony
           Date:Fn,Dec11.202
           Subject: Re: Commissioners' Workday Retreat
           To:
           Cc: Nadine Jarmon


           Woodson Walker;

           Woodson, thank you so very much for speakir.g with me about the dale and arrangements for our meeting on
           January 12, 2021.

           I have copied Dr. Nadine Jarmon, Executive Director, MHA-LR Housing and Kdnyon Lowe, Chairman of the Board
           on this email as they will also provide Information of what is needed for this meeting.

           Please provide the actual address of the location. The hours of the meeting will be from 10 a.- 3p. Please provide
           soft drinks, water , coffee and danish for breaks. There will also be a request for lunch. This meeting will be for 6
           people.

           There may be additional requests.

           Thanks again for your assistance.

           Commissioner Leta Anthony




                                                                                                                         127

https:/lou~QOIC.offlce.ccmJmell/idlAAQkADBhYTFIMjUzL1lmZjMtNOYyYy04?DE2LWUXZjQxNTc5ZjAzMwAOAKxZq0tGWUrDrZ81gB%2FcJDw%30            2J2
            Case 4:21-cv-01237-JM Document 2 Filed 12/29/21 Page 154 of 212




ilana mckinney

From;                               Leta Anthony
Sent:                               Wednesday, May 12, 2021 8:29 PM
To:                                 Nadine Jarmon;
Subject:                            Fwd: Strategic Planning Meeting - Invoice



Dr. Jarmon,
I received this 2nd request for payment from Mr. Walker today. The Retreat was held in January. I referred his request
for payment to you the first time in March. This ls May and it doesn't seem as if this has been taken care of. Please
verify.

Commissioner Anthony

-----··--·Forwarded~
From: W.D. W a l k e r - - - -
Date: Wed, May 12, 2021 at 5:28 PM
Subject: Re: Strategic Planning Meeting - Invoice
To: Leta Anthony


Good afternoon, Leta! I hope that all is well with you. Could you please investigate the status of our
invoice.
Thanks!
Woodson

On Wednesday, March 24, 2021, 11:44:33 AM CDT. W.D. walker                                   wrote:


I remain Covid cautious. Can we schedule a zoom conference when you're ready to talk?
Woodson

On Wednesday, March 24, 2021. 09 08.07 AM CDT. Leta Anthony                                           wrote:


I will follow up this morning. I also need to set a meeting with you to discuss the plans for your property.

Lela

On Wed. Mar 24, 2021 at 3:40 AM W.D. Walker                               wrote:
 Good morning, Leta!
 With all that is going on in the world. I hope that you, your family and other loved ones remain safe.
 We are following up on the invoice that we sent to your bookkeeping department. We have not yet
 received payment on our invoice Would you please investigate the status of this?
 Best.
 Woodson




                                                                                                               128
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2128/2021                                                                   Mail - njarmon@mhapha.org


  Re: Strategic Planning Meeting

   Nadine Jarmon
   Th1.. J/2l/2.02i .; 1 ~ pr,•


   0   .:-·!.etc1 Ant'1ony                                                                                        Lee Lindsey
                                       Commissioner - Louis Jac!r.scn <                               : Brannci1 Pete•·~n

   ,:, W.D Wa,ker



 Mr. Walker

 rt was a pleasure meeting you. Your location is lovely. A few thoughts - we were a bit tight given the COVID
 world we find ourselves; perhaps another room in your facility that could safely accommodate 5-6 people with
 the 6 1 requirement. Also, consideration should be given to meeting ADA requirements.

 Again, very nlce meeting you and I look forward to continuing our discussion regarding your property.

Nadine M. Jarmon, PhD
Interim Executfve Director
Metropolitan Housing Alliance
100S. Arch Street
Little Rock, AR 72201
501-340-4805 (Office}

                                       ------------------ -- - -                       - - - - - - - - - - --
From: Leta Anthony
Sent: Thursday. January 21, 2021 3:09:41 PM
To: Nadine Jarmon;                         Lee Lindsey; Commissioner - Louis Jackson; Branndii Peterson
Cc: W.D. Walker
Subject: Re: Strategic Planning Meeting

Many thanks to Mr. V/alker for ma\:ing available nis facility For our Planning 1\.ieeti:19. Mr. Walke• i; sttll in tne procc:ss oi m;,kin•;i ,:,;t1119~~ to lli,;
facility l,1d has as.:l!':i io1· teedback for consideration of irripro·,errients. He has asked fo• tota· i'lones:y •n '.,'Our leedtack pertaining tc ioc,,1.,on,
wriat you liked or didn't hke about the actornrnodations, the hastes, and any other col'T'n,ents you want to rr.ake about youi e.,pe1i2,,c2.


tm, 111ar m3l:e your comments by resc;ond,n~ ro if1;i email. Tiia~ks fo, your tirne.




hllps:1/mail.mhapha.orgfowal#palh=/matllseateh
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Attachment 45




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61612021                                                       Mail - Nadine Jarmon - OuUook



       RE: Strategic Planning Meeting - Invoice
       jada johnson
       Mori 5/17/2021 2:57 PM
       To: tamara dawson; Nadine Jarmon
       Cc: Andy Delaney; altha russell; Lisa Dickerson
       Tamara.

       I don't have a copy of the W-9. According to your conversation with Mr. Walker, her has not sent it.


       Jada Johnson

       From: tamara dawson
       Sent: Monday, May 17, 2021 8:48 AM
       To: Nadine Jarmon                                 jada johnson
       Cc: Andy Delaney                                     altha russell                         Lisa Dickerson

      Subject: RE: Strategic Planning Meeting - Invoice

       I never received his W9 form. Jada do you have a copy?


      From: Nadine Jarmon
      Sent: Saturday, May 15, 20211:22 PM
      To: jada johnson
       Cc: Andy Delaney                                                                              ; altha russell
                               ; Lisa Dickerson
      Subject: Re: Strategic Planning Meeting• Invoice

       If not, please do.

      Nadine M. Jarmon, PhD
      Executive Director
      Metropolitan Housing Alliance
      100 S. Arch Street
      Little Rock, AR 72201
      S0J-340-4805 (Office)



      From: Jada joh nson
      Sent: Friday, May 14, 202112:51:55 PM
      To: Nadine Jarmon
      Cc: Andy Delaney; tamara dawson; altha russell; Lisa Dickerson
      Subject: Re: Strategic Planning Meeting - Invoice

      Did anyone check lo see if the invoice is processed or paid?

      Jada Johnson
      MHA Contracts, Capital Fund and Procurement Coordinator
      501-340~4834

                                                                                                                       131
hUps:/foutlook.offlee.comlmall/id/AAQlcAOBhYTFIMjUzLTJmZjMINDYyYy04ZDE2LWUXZjQxNTc5ZjAzMwAOAJClf35oM7kyyji1"tt2FTFIOUP&%3D   113
                 Case 4:21-cv-01237-JM Document 2 Filed 12/29/21 Page 158 of 212
61612021                                                    Mail - Nadine Jannon - Ou11ook




              On May 12, 2021. at 9:33 PM, Nadine Jarmon                                       wrote:



              Can anyone tell me what the status of this payment. If I recall it was only for $250.

              Please check and advise.


              Nadine M. Jarmon, PhD
              Executive Director
              Metropolitan Housing Alliance
              lOO S. Arch Street
              Little Rock, AR 72201
              S0l-340-4805 (Office}




             From: Nadine Jarmon
             Sent: Wednesday, May 12, 2021 9:31 PM
             To: Leta Anthony;
             SUbject: Re: Strategic Planning Meeting - Invoice

             Commissioner

             I will check. I recall approving the payment back in February. It was only for $250. I can 1t
             imagine what might be holding it up.

             I'll inquire with Finance.

             Thank you.

             Nadine M. Jarmon, PhD
             Executive Director
             Metropolitan Housing Alliance
             100 S. Arch Street
             Little Rack, AR 72201
             501-340-4805 {Office}


             From: Leta Anthony
             Sent: Wednesday, May 12, 2021 8:29:25 PM
             To: Nadine Jarmon;
             Subject: Fwd: Strategic Planning Meeting - Invoice

             Or. Jarmon,
             I received this 2nd request for payment from Mr. Walker today. The Retreat was held in
             January. I referred his request for payment to you the first time in March. This Is May and It
             doesn't seem as If this has been taken care of. Please verify.
                                                                                                                    132
https:f/ouUook.offic..com/mall/ldlMQkADDhYTFIMjUzLTlml;l\41NDYyYy04ZDE2LWUXZJQxNTc5z;AzMwAOAJQ'35oM7kyyjl1%2FTFIQUPs%3O   2/3
                 Case 4:21-cv-01237-JM Document 2 Filed 12/29/21 Page 159 of 212
616/2021                                                   Mail • Nadine Jarmon • Oullook


              Commissioner Anthony

             ----··· Forwarded message--·-···
             From: W.D. Walker
             Date: Wed, May 12, 2021 at 5:28 PM
             Subject: Re: Strategic Planning Meeting• Invoice
             To: Leta Anthony


             Good afternoon, Letaf I hope that all is well with you. Could you please investigate
             the status of our invoice.
             Thanks!
             Woodson

             On Wednesday, March 24, 2021, 11 :44:33 AM CDT, W.D. Walker                                 wrote:


             I remain Covid cautious. Can we schedule a zoom conference when you're ready to
             talk?
             Woodson

             On Wednesday, March 24, 2021, 09:08:07 AM CDT. Leta Anthony
             wrote:



             I will follow up this morning. I also need to set a meeting with you to discuss the plans for your
             property.

             Leta

             On Wed, Mar 24. 2021 at 3:40 AM W.D. Walker                                    wrote
                Good morning, Leta!
                With all that is going on in the world, I hope that you. your family and other loved
                ones remain safe. We are following up on the invoice that we sent to your
                bookkeeping department. We have not yet received payment on our invoice.
                Would you please investigate the status of this?
                Best,
                Woodson




                                                                                                                    133
htlpS:/fouUook.olflce.com1ma1lbdlAAQkADBhYTFl~U%1.TlmZjMINDYyYy04ZDE2LWUxZJQxNTc5ZjAzMwAOAJOl35ot.47kyyj11%2FTFIQUPs%3D   3/3
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Attachment 46




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                                              Anthony C. Snell



June 4, 2020




Mr. Kenyon Lowe, Sr.
Chairman
Metropolitan Housing Alliance
100 S. Arch
Little Rock, Arkansas


Chairman Kenyon Lowe, Sr.:

It has become abundantly clear over the past several months that the Board's actions and demands are
oriented toward a different type of executive leadership at MHA. A number of the actions have been
fundamentally detrimental to the agency and have systematically usurped my responsibilities as the
El(ecutlve Director, constructively discharging me as the day-to-day leader of the agency leaving me no
option but to offer my resignation, effective July 7, 2020.

1 have truly appreciated the opportunity to serve the citizens of little Rock and to work beside the
employees of MHA for almost 4 years. Although shortened, the accomplishments during my tenure-
renovation of the Towers (597 units); avoidance of risky lltlaatlon In the purchase of the MH I & II
partnerships - structured a $500k payout to CAHC; accelerated capitalization of CAHC; closeout of the
OIG Audit without forfeiture of funds ($1.9 million}; growth of MHA's relationships with its developer
partners (ITEX aod Gorman). ADFA and vital equity investors and lenders; elevated relations with the HUD
local field office: execution on development and financing plans for the upcoming RAD projects at
Sunset/Stephens/Central and MH t&II/HAGM, and successful progress on the Board's goal to establish a
robust program for local business participation in the agency's "Redevelopment in the Rock'" Campaign-
were genuine efforts to support the mission of the agency.



Sincerely,




A'lthony C. Snell




                                                                                                          135
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ilana mckinney
From:                                       anthony snell
Sent:                                       Thursday, June 4, 2020 9:29 AM
To:                                         ilana mckinney
Subject:                                    FW: Personnel Matter
Attachments:                                MHA Lowe6.420 pdf



i'le;;s'= r,lace in rnv P-arsonnt?I File.

Anthony Snell I Executive Director
Metropolitan Housing Alliance
100 South Arch Strel!t I Little Rock, AR 72.201
Office S0l.340.4843 I
                      www.mhapha.org


From: anthony snell
Sent: Thursday, June 4, 2020 9:27 AM
To: Kenyon Lowe Sr
Cc: Leta Anthony                                ; Commissioner - Louis Jackson                  ; Branndii
Peterson                            ; h.leelindsey@yahoo.com
Subject: Personnel Matter

Mr. Lowe,

Rather than continue to serve under conflicted leadership, forcible compliance with detrimental Boa.rd actions
and mowlting efforts to constructively discharge me, I request that you, Kenyon Lowe, Sr., in your capacity as
Chairman of the Board of Commissioner - LRHA, honor your numerous communications to me and
terminate/release me from my contractual obligation as Executive Director of MHA. If you are unwilling to
negotiate my exit, I ask that you please review and accept the attached letter.


Anthony Snell I Executive Director
Metropolitan Housing AHlance
100 South Arch Street      l   Little RocR, AR 72201 Office 501 340.4343
                         I wv;w.rnhapha.org




                                                                                                     136
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 Mr. Rodney L. i=orte,


 As a proud staff membtr of MHA it disturbs me to have to make the following request. After
 Information that was provided to you and Mr. Akins immediate supervisor on 1/02/2013 and by
 following guidelines of our procurement polic~ which falls within the Arkansas   State statu! 14-159-209
 and understanding the terms and conditions of federal and company oolicy which states; the failure to
 report a conflict of interest once realized amounts to "misconduct in office'', I reported the information
 that I found immediately, leaving it up to the directors to authenticate the matter.

 After an unidentified disclosure was made to the newspaper on Mard1 7, 2013, and the adverse effects
to staff and former staff in lieu of the disclosed informatior1, I've been provided with a wort<
environment that is non-conducive to my employment rights under the Whistle Blower Act. In an
attempt to put my fate in the hands of management and waive my right under this protection; my
w:,rking environment has become more hostile by continuous harassment and retaliation, along with
receiving no consideration at any time from our HR Director of my rights under this Act. As a st~adfast
member of the Metropolitan Housing Alliance I am within my constitutional right to request equal and
fair treatment by all members of staff employed by MHA. With that being said it is my wish to make this
formal notice to beseech my right and protection under the Whistle Blower Act.

Respec,tfullv.
       .·,t   .    ·..
    -·iJt.~~.     )1 l.ttdr,f7l-::-::· · --
. Jada Johnson                '
~5/19/2013




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                      IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS
                        HON. MACKIE M. PIERCE -17TH DIVISION 6TH CIRCUIT

                      MARSHALL L. NASH V LITTLE ROCK HOUSING AUTHORITY

                                               60CV-20-5741

                                                 SUMMONS

THE STATE OF ARKANSAS TO DEFENDANT:

 LITTLE ROCK HOUSING AUTHORITY
OBA OBA LITTLE ROCK BOARD OF COMMISSIONERS
100 S. Arch Street
Little Rock, AR 72201

A lawsuit has been filed against you. The relief demanded is stated in the attached complaint. Within
30 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are incarcerated in any jail, penitentiary, or other correctional facility in Arkansas - you must file with
the clerk of this court a written answer to the complaint or a motion under Rule 12 of the Arkansas
Rules of Civil Procedure.

The answer or motion must also be served on the plaintiff or plaintiffs attorney, whose name and
address are:

Marshall L Nash




If you fail to respond within the applicable time period, judgment by default may be entered against
you for the relief demanded in the complaint.

Additional notices:



                                                       CLERK OF COURT
Address of Clerks Office

TERRI HOLLINGSWORTH, CIRCUIT CLERK
CIRCUIT COURT OF PULASKI COUNTY
401 W. MARKHAM                                        Latanya Christopher. DC
LITTLE ROCK, AR 72201
                                                       Date: 10/16/2020


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 3/2/2021


  Nash Complaint

     Nadine Jarmon <
    ihu :;:i/l<./.2.020 10:50 A~,:




 Commi5sioller~

 t j1Jst spoke to Ms. Wineland ilnd she says we must wait to 1ee who our mscrance company assi9ns the: case :o and she has net beeri notif;eo
 ,hat it •.viii be her

 Once wt receive tl'e Lener of Ass,gnmerit I n1II forward ,c re you and we .:an cons,cer next steps ar tnat tin,~

 Thanlc VO'J.

 Nadine Jarmon, PhD
 Interim Execut~ Director
 Metropolitan Housing Alliance
  100 South Arch Street
 Little Rock, Arkansas 72201




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httpS:llmatl.rnhapha.org/awll/#patn-/maill1earc11                                                                                               1/1
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                       SETTLEMENT AGREEMENT AND REI~EASE

       This Settlement Agreement and Release ("Settlement Agreement") is by and between
Dana Arnette, herein referred to as "Arnette," and the Housing Authority of the City of Little
Rock. Arkansas, d/b/a Metropolitan Housing Alliance, herein referred to as "MHA."

       WHEREAS, Arnette was fom1erly employed by MHA; and

      WHEREAS, Amettc's employment with MHA terminated on or about December 17,
2018~and

      WHEREAS, following the termination of her employment. Arnette filed a whistleblower
complaint with the United States Dcpa11ment of Housing and Urban Development; and

       WHEREAS, on or about August 9, 2019, the Secretary of the Department of Housing
and Urban Development ruled that there was insufficient evidence to determine whether
prohibited reprisal under 41 U.S.C. § 4712(a) had occurred; and

       WHEREAS, Arnette then filed suit against MHA in the United States District Court for
the Eastern District of Arkansas, Central Division, case no. 4; 19-cv-724 LPR (the '·Lawsuit");
and

       WHEREAS, the parties hereto have reached an agreement to resolve all claims and
causes of action of Arnette against MHA, whether or not asserted in the Lawsuit, and wish to
memorialize the tenns of their agreement.

       NOW, THEREFORE, in consideration of the mutual covenants and agreements set
forth herein and other good and valuable consideration, the sufficiency of which is hereby
acknowledged;

       IT IS AGREED by and between the parties as follows:

       1.     No Admission Of Liabilitv. MHA specifically denies any liability, fault or
wrongdoing. By signing this Settlement Agreement, the parties hereto understand and agree that
it does not constitute and should not be construed as an admission of liability, fault or
wrongdoing by MHA. MHA specifically denies any and all allegations of unlawful or improper
conduct towards Arnette; and MHA has entered into this Settlement Agreement in order to reach
an expeditious resoh.:tion and to minimize the time, attorney fees, costs and burdens that
otherwise would be expended related to the Lawsuit.

       2.      Consideration. In consideration for the full and final release and settlement of all
claims as set forth in this Settlement Agreement, MHA agrees to pay Arnette and her attorney,
Chris W. Burks, of the law fim1 WHLaw, PLLC, the total gross settlement amount

set forth below:




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Attachment 50




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- Forwarded Message -
From: Concerned Em lo ee <
To;
Cc:'
Sent: Thursday, June 25, 2020, 07:01:10 AM CDT
Subject: METROPOLITAN HOUSING ALLIANCE BOARD REMOVAL

LETTER TO THE MAYOR AND BOARD OF DIRECTORS OF THE CITY OF LITTLE ROCK

June 25, 2020

SUBJECT: METROPOLITAN HOUSING ALLIANCE BOARD REMOVAL

Dear Board of Directors,

This letter is sent on behalf of a majority of employees at the LiWe Rack Housing Authority (LRHA) dba
Metropolitan Housing Alliance (MHA) to inform you of the problems that are not obvious to anyone
outside of MHA, but have reached a breach of the public trust to such a degree the Commissioners are
serving themselves and have lost sight or been blinded by the power to make decisions in the best
interest of the community that we all serve. The MHA board is putting the agency and millions of dollars at
risk for personal reasons. We are requesting the removal and replacement of the current MHA board of
directors based on the following reasons: (1) Incompetency (2) Misconduct (3) Hostile Work Environment

Incompetency
The most recent dangerous incompetency came as a result of Covld19. The board called Board
meetings and put staff and the public at risk because they did not all wear masks and did not follow social
distancing general accepted practices of managing riSks associated with Covid19 at board meetings.

The board has shown great incompetence in its failure to understand the housing programs il oversees
while adamantly Injecting themselves in the day ta day activities and purposefully through its inability to
hire and retain an executive director.
The board proves incompetence by using its platform to blame and belittle staff.

The board provides inaccurate information directly to tenants and to the public which creates confusion
and violates the public's trust It is challenging for staff to perform tneir daily job duties with the extra time
and efforts it takes to resolve the problems that the board creates.

In addition, the board does not understand the financial funding of MHA. Despite having an excess of
funds intended by HUD to administer housing programs, the request for additional staff has been denied
by the board, vacant positions are unfilled, and the board states MHA is in financial trouble.

The board's failure to understand the method of federal funding for housing agencies prevents executive
staff from growing the agency to the full extent possible whrch would result in more services available to
the citizens of Little Rock.

Incompetence was also apparent during the last recruitment for an executive director. The resignation of
the executive director in 2018 was followed by the board's series of blatant haphazard attempts to fill the
position with several inadequate candidates.
The board manipulated the process by delaying offers to qualified applicants leaving the agency without
leadership for an extended period of time.

Since the recent resignation of the current executive director that is effective July 7th, staff has been
informed that the MHA board intends to appoint Lowe as executive director. Tenants have also contacteo
staff requesting to speak to Lowe stating that Lowe informed them he is the new director.




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While educated and a longstanding board member Lowe's resume shows that he has never held a full
tirr.e executive position in a housing authority or similar organizatior1. His behavior as a board member
proves that he lacks the temperament knowledge, and management skills to successfully lead the
agency.

Misconduct
The board has a blatant disregard of the rules tor open records. It is documented by the media as well as
in board minutes· numerous instances in which the board failed to follow the rules regarding meetings and
transparency. Despite the training required by the city in 2019, the board continues to hold executive
sessions without disclosing all topics of discussion. Ex parte discussions outside the boardroom also
occur on a normal basis.

The board's abuse of power is also shown by Kenyon Lowe's financial impropriety regarding travel
expenses. Lowe charged personal expenses 10 MHA while at an out of town training. He received per
diem funds to pay for meals and associated routine travel prior to the trip, however he made charges to
his room and did not pay them. Lowe then failed to pay MHA for the unapproved hotel e,cpenses timely
and only after it was bro:1ght to the attention or the media he inappropriately directed a staff member to
provide him the amount and settled the debt.

Hostile Work Envrronment
The board has created a hostile work environment for executive staff by stepping over the line of being
heavily involved in the day to day responsibilities of the agency the executive director is responsible for.
The board belligerently accuses staff falsely In public meetings and in emails to staff of not doing their
jabs by not providing follow up information.

This environment is preventing employees from perfonnlng job duties and causing excessive turnover in
executive staff and challenges In the recruitment of talented profesSionals

Over half of the current staff are considering a walkout that would affect MHA's ability to process rent
payments for nearly 3,000 famllles.

A mediator was hired In efforts to improve staff-board relations. Unfortunately, the board has responded
to staff concerns with retaliation, confrontation, harassing interactions, and in uncompromising positions
that leaves staff feeling that their jobs are endangered.

Additionally, previous board members have resigned due to the environment created by existing board
members.

Summary
In summary, we are tax paying citizens of Little Rock and MHA's board has proven to be power hungry,
confrontational, Illogical, calculating, neglectful. incompetent and dangerously unethical and
unprofessional as just a few terms to summarize the hidden fears of MHA staff.

The best interest of the community is protected by the removal of the current board. There are no
signatures Included in this letter due to a fear of future retaliation. MHA employees are wiling to discuss
these very serious and urgent issues in person with the Mayor as soon as his schedule permits.

Srncerely,

Concerned MHA Employees




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                                                  ll.S. DEPARTMENT OF HOUSING AND llRBAN DEVELOPMENT
                                                  Little Rock Field Otlice. Region VI
                                                  Ollice of Public Housing Director
                                                  425 West Capitol Avenue. Suite l000
                                                  Little Rock. AR 72201
                                                  Phone (501)324-5933 - fax (501) 324-5448
                                                  ww11·.h11d.gov


                                           July 19, 2021


Mr. Kenyon K. Lowe, Sr.
Board Chairperson
Metropolitan Housing Alliance
100 South Arch Street
Little Rock, AR 72201

Ref: PSG Contract

Dear Mr. Lowe:

       On June 29, 2021, the Board of the Housing Authority of the City of Little Rock,
Arkansas, a/k/a Metropolitan Housing Alliance ("MHA") announced it was entering into a
contract with Pinnacle Strategy Group, PLC (the "Contract"). The Contract which was executed
on 6/31/2021 appears to have been improperly procured. Neither the Board nor MHA has
provided evidence the Contract was procured in accordance with 2 CFR 200 nor the Housing
Authority of the City of Little Rock Statement of Procurement (the "Policy").

        The Contract provides no indication of the proposed source of funds; if the Board's
intention is to pay for the Contract with restricted Section 9 Public Housing funds, then this
Contract must meet all the requirements for a Public Housing contract, including proper
procurement.

       Because the Contract amount is not to exceed $160,000, it is above MHA's small
purchase threshold of $100,000 (Policy page 1). Therefore, it should have been procured
following MHA 's instructions for Sealed Bidding, Competitive Proposals, or Noncompetitive
Proposals (Policy pages 9, 11, and 13). Neither the Board nor MHA has provided evidence of a
bid opening nor a competitive proposal evaluation mechanism for this Contract. There is no
apparent justification for a noncompetitive proposal, nor has one been provided to this office.
Additionally, it does not appear that this Contract includes the required federal provisions found
at 2 CFR Part 200 Appendix II.

       Based on the information available to this office, it appears this Contract was improperly
procured. Unless the Board can provide additional information showing this contract was
properly procured, it must immediately terminate this Contract and make no further payments on
it. Any payments already disbursed for this Contract using restricted Section 9 Public Housing
funds must be repaid to MHA using non-federal funds.

Please provide our office supporting procurement documentation or evidence the contract has
been terminated by COB July 21, 2021.
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                                   Sincerely,




                                  Anthony S. Landecker
                                  Director
                                  Office of Public Housing


cc: Andy Delaney Interim Executive Director
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          THE HOUSING AUTHORITY OF THE CITY OF LITTLE ROCK, ARKANSAS
                     d/b/a METROPOLITAN HOUSING ALLIANCE
                    PROFESSIONAL SERVICES AGREEMENT (PSA)


             This PROFESSIONAL SERVICES AGREEMENT (hereafter referred to as
     "Agreement") is made and entered into effective as of July 16. 2,020, by and among the Housing
     Authority of the City of Little Rock, a public body, corporate and politic, established by the City
     of Little Rock pursuant to Ark. Code Ann. § I4-169-201 et. seq. and doing business as the
     Metropolitan Housing Alliance (hereinafter referred to as "MHA"), and Dr. Nadine Jat·mon, an
     individual (hereinafter referred to as "Dr. Jarmon" or "Interim Executive Director").

             WITNESSETH, that Dr. Jarmon and the MHA for the consideration slated herein mutually
     agree as follows:

            1.      Agreement. Under the terms and conditions set forth in this Agreement, the MHA
     Board of Commissioners appoints Dr. Jarmon as Interim Executive Director of the MHA to
     perform the duties of Executive Oirector subject to the general supervision, advice and direction of
     the Board of Commissioners, and Dr. Jarmon accepts such appointment.

              2.     Term of Agreement, The term of the Interim Executive Director's Agreement shall
     be for a period of one year, commencing OR - July 16. - - - - - - - -2020 and ending on
     --July J 6 _______ 2021, unless sooner terminated in accordance with the terms of
     this Agreement. Llpon written request of Dr. Jarmon or the Board of Commissioners at least six (6)
     months
     prior to the expiration of the Agreement, the parties may commence negotiations to extend this
     Agreement upon terms and conditions mutually agreeable to the paities. Any renewal or extension
     of this Agreement shall only be valid and enforceable if the extension or renewal is in writing
     and officially approved by the Board ofCommissioners and.absent any such extension or renewal,
     Ml-IA shall not owe Dr. Jarmon any compensation or expenses beyond the expiration of this
     Agreement except for accrued benefits which arc payable to employees, generally, under the
     personnel policy of MHA as set fo11h in the Housing Authority of the City of Little Rock, Arkansas
     Personnel Policy Handbook, as amended from time to time ("MHA Personnel Policy") or as
     otherwise provided by law.

3.   Compensation. The MHA shall pay Dr. Jarmon_One Hundred Fifty-Five Thousand
     _ __ _ ~· _ _ Dollars($ 155.000 )                  perannum in approximately equal
     bi-weekly installments. The Board of Commissioners shall have the right to adjust the annual
     compensation of the Executive Director at any time during the term of this Agreement, provided
     that no such adjustment shall reduce the annual amount set forth herein. Dr. Jarmon shall receive
     an annual performance review by the Board of Commissioners, prior to the anniversary date of
     this Agreement each year, and his/her compensation shall be reviewed for possible adjustment at
     such times.



                                               Personal Services
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                                               Interim Executive
                                                    Director
                                                   MHAI
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         4.      Benefits. During the initial contract period, Dr. Jarmon will forego benefits
 including medical, dental and life insurance, pension benefits, sick leave and other forms of
 leave, except where a different benefit is provided for herein below. In addition thereto, until the
 expiration of this Agreement or its earlier termination:

                a.      MHA shall provide Dr. Jarmon with an automobile allowance of Five
                        Hundred Dollars ($500.00) per month.

                b.     The MHA Board of Commissioners agrees to budget and to pay for business
                       travel and related expenses, organizational dues. fees, seminars and
                       subscriptions, as determined by the Board to be reasonably necessary, for (i)
                       Dr. Jarmon to perform her duties hereunder or to continue her professional
                       participation, growth, and advancement, or (ii) the good of MHA. Dr.
                       Jarmon shall provide MHA with timely verifiable receipts forreimbursement
                       of such expenses listed herein.

               c.      MHA shall reimburse Dr. Jarmon for actual relocation expenses provided Dr.
                       Jarmon provides three (3) quotes from relocation/moving companies. MHA
                       shall reimburse Dr. Jarmon up to average of three (3) quotes but this amount
                       shall not exceed ten thousand dollars ($10,000.00). Relocation receipts shall
                       be submitted by Dr. Jarmon to MHA within ninety (90) days of execution of
                       this Agreement. MHA shall provide Dr. Jarmon reasonable time to
                       complete the relocation process.

               d.      MHA shall provide up toll\~"\90) days temporary housing reimbursement
                       and travel reimbursement to Dr. Jarmon in order to expedite the relocation
                       process. Temporary housing and relocation travel reimbursement shall not
                       exceed five thousand dollars ($5,000.00). Temporary housing and
                       relocation travel receipts shall be submitted by Dr. Jarmon to MHA within
                       ninety (90) days of incurrence of eligible expenses.


        5.     Duties and Powers, Dr. Jarmon is entrusted by the MHA Board of Commissioners
with all such authority reasonably necessary and/or customary to effectively discharge all of the
duties of the Executive Director position. Subject to and in conformity with MHA policies and




                                              Personal Services
                                                 Agreement
                                        Interim Executive Director-
                                                 MHA 2
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 Federal, State and local law, the Interim Executive Director assumes, and shall undertake and
 perfonn, the duties, responsibilities and functions of the MHA's Executive Director, including:

                 a.      All of the duties set fo1th in the job description of Executive Director
                         attached hereto as Exhibit "A" and incorporated herein by reference;

                 b.      Implementing, adhering to and enforcing the MHA Personnel Policy and
                         MHA procedures.
                 c.      Overall management and administration of the business and affairs ofMHA,
                         including procurement, while ensuring that MHA remains in compliance with
                         applicable State, Federal and Local Laws;

                d.       Execution and implementation of applicable regulations, policies and
                         procedures as established by the Board and the U.S. Department of Housing
                         and Urban Development;

                e.       Management of MHA resources so as to advance the mission of MHA
                         through the collective effort of MHA employees and, to the extent feasible,
                        ·in collaboration with public, private and non-profit entities as well as
                         community slakt:holders;

                f.      Management and supervision of MHA personnel and putting into effect all
                        policies of the MHA within the framework of applicable federal, state and
                        local housing legislation;

                g.      Such other duties as arc customarily pcl'formed by one holding such a
                        position in other, same or similar public housing authorities;

                h.      Other duties as may be assigned by the Board of Commissioners from time
                        to time.

The duties and powers of the lnnitnExecutive Director shall also be subject Lo and governed by
applicable state and federal regulations, as well as policies adopted by the MHA Board of
Commissioners.

       6.      Termination of Agreement.                 This Agreement may be terminated prior to the
expiration of its tem1, as follows:

               a.       By the MHA Board of Conunissioners, for good cause, with due process and
                        prior written notice. "Good Cause" means malfeasance, gross negligence.
                        willful neglect of duties, willful misconduct, fraud, illegal conduct, violating
                        MHA Personnel Policy or incompetence in the performance of duties, and

                                        Personal Service~ Agn:ement
                                         Interim Executive Director


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            misrepresentation/fraudulent concealment relating all matters related to the
            lnterim Executive Director's Agreement. Incompetence in the perfonnance
            of duties shall not be considered good cause for termination unless the Board
            of Commissioners first provides Dr. Jarmon with written notice of
            specified deficiencies and a reasonable oppmtunity to cure such
            deficiencies p1ior to any termination action. Except as otherwise specifically
            set fo1th in the MHA Personnel Policy, all rights of Dr. Jarmon and all
            obligations of the MHA under this Agreement, shall cease as of the date of
            her termination under this Subsection.

      b.   Automatically if Dr. Jarmon dies or becomes physically or mentally
           incapacitated such that she is unable to adequately perform the essential
           functions of Executive Director, with reasonable accommodations, as
           determined by the Board ofCommissioners; provided, however, this shall not
           in any way prevent Dr. Jaimon from exercising any right she may have under
           workmen's compensation laws of the State of Arkansas or the Americans
           with Disabilities Act ("ADA") or the Rehabilitation Act of 1973. The
           payment ofall compensation and benefits to Dr. Ja1mon shall cease upon the
           effective date of her termination under this subsection except for accrued
           benefits which are payable to employees, generally, under MHA personnel
           policies upon tennination of Agreement or otherwise provided by law.

     c.     By Dr. Jarmon after no less than one (I) year from the effective date hereof
           and upon at least thirty (30) days notice in writing to ·the Board of
           Commissioners of her intention to resign. From and after the effective date
           of such resignation the MHA shall have no further obligations under this
           Agreement, except as provided for pursuant to MBA Personnel Policies.
           Upon receipt of a notice of resignation, the MHA may te1minate the
           Agreement of Dr. Jarmon at an earlier date of its choosing with no
           additional obligation hereunder beyond obligations pursuant to MHA
           Personnel Policy and applicable law. 1n the event that Dr. Jannon fails to
           serve as Interim Executive Director of MHA for at least one (I) year from
           the effective date of this Agreement, the Interim Executive Director shall
           refund MBA any housing and/or relocation expenses that it paid to her.

     d.    At any time during the term of this Agreement or any extension thereof, by
           vote of a majority of the Board of Commissioners, the MHA may
           terminate the appointment and Agreement of the Interim Executive
           Director without cause or reason. In such case, Dr. Jarmon will be entitled
           to her compensation for the balance of the remaining term hereunder or for
           six (6) months, whichever is less, upon signing a separation agreement and
           general release of the MHA from all liability relating to her Agreement and
           tem1ination.
                                Personal Scn-k.:s
                                   Agreement

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                 e.      By mutual agreement of the parties.

          7.      Mediation. In the event of any dispute arising under Section 6 of this Agreement,
 the parties shall be required, upon request of either party, to resolve such dispute through mediation
 prior to the institution of any litigation. The cost of any such mediation shall be borne equally by
 the parties.

         8.      Nature ofAgreement.
                 a.      This Agreement sets forth the entire understanding among the pat1ies
                         hereto with respect to the subject matter hereof, and supersedes all prior
                         Agreements among the parties, whether oral or written, and cannot be
                         changed or modified except by written amendment approved the MHA
                         Board of Commissioners and agreed to by Dr. Jarmon.

                 b.     To the extent that MHA Board of Commissioners may establish any
                        personnel policies, procedures or practices that are inconsistent with this
                        Agreement, this Agreement shall control, unless those policies, procedures
                        or practices are required for compliance with federal, state or local law, in
                        which case such personnel policies, procedures or practices shall control.

                c.      The obligations of the MHA under this Agreement are expressly subject to
                        continued existence ofMHA and the availability of public funding sufficient
                        to meet the MHA's obligation.

        9.     Successors and Assiens. This agreement shall be binding upon the MHA, it
successors and assigns. No provisions herein contained shall be nullified or ineffective in any
manner as a result of any organizational change in the MHA, except that if the MHA is dissolved,
then this Agreement and all of the parties' obligations under this Agreement shall terminate.

        10.     No Waiver,     The failure of either party to this Agreement to insist upon the
performance of any of the terms and conditions of this Agreement, or the waiver of any breach of
any of the terms and conditions, shall not be construed as thereafter waiving any such terms and
conditions, but the same shall continue and remain infull force and effect, as if no such forbearance
or waiver had occurred.

         11.     Indemnification. MHA agrees to indemnify and save harmless Dr. Jarmon from
all claims, actions, damages. expenses, judgments, liabilities, attorneys' fees and legal costs arising
within the scope of the Executive Director's Agreement, and in the absence of willful misconduct
and gross negligence, with the exception of intentional acts of the Interim Executive Director. MHA
agrees to extend this indemnification following termination of this Agreement for those authorized
activities performed by Dr. Jarmon during the term of this Agreement.


                                             Personal Services
                                                Agreemt:nt

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            benefits to Dr. Jarmon shall cease upon the effective date of her
            termination under this subsection except for accrued benefits which are
            payable to employees, generally, under MHA personnel policies upon
            termination of Agreement or otherwise provided by law.

         c. By Dr. Jarmon after no less than one (1) year from the effective date
            hereof and upon at least thirty (30) days notice in writing to the Board of
            Commissioners of her intention to resign. From and after the effective
            date of such resignation the MHA shall have no further obligations under
            this Agreement, except as provided for pursuant to MHA Personnel
            Policies. Upon receipt of a notice of resignation, the MHA may terminate
            the Agreement of Dr. Jarmon at an earlier date of its choosing with no
            additional obligation hereunder beyond obligations pursuant to MHA
            Personnel Policy and applicable law. If Dr. Jarmon fails to serve as
            Executive Director of MHA for at least one (1) year from the effective
            date of this Agreement, the Executive Director shall refund MHA any
            housing and/or relocation expenses that it paid to her.

         d. At any time during the term of this Agreement or any extension thereof, by
            vote of a majority of the Board of Commissioners, the MHA may
            terminate the appointment and Agreement of the Executive Director
            without cause or reason. In such case, Dr.•Jarmon will be entitled to her
            compensation for the balance of the remaining term hereunder or for six
            (6) months, whichever is less, upon signing a separation agreement and
            general release of the MHA from all liability relating to her Agreement
            and termination.

         e. By mutual agreement of the parties.

9.    Mediation, In the event of any dispute ::lrising under Section 7 of this
      Agreement, the parties shall be required, upon request of either party, to
      resolve such dispute through mediation prior to the institution of any
      litigation. The cost of any such mediation shall be borne equally by the
      parties.

10.   Nature ofAi:reement.
         a. This Agreement sets forth the entire understanding among the parties
            hereto with respect to the subject matter hereof, and supersedes all
            prior Agreements among the parties, whether oral or written, and
            cannot be changed or modified except by written amendment
            approved the MHA Board of Commissioners and agreed to by Dr.
            Jarmon.


                                  Employment Agreement
                                     Executive Director
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        12.      Entire Agreement. This Agreement supersedes any and all other agreements,
either oral or in writing, between the parties with respect to the Agreement of Dr. Jarmon by the
MHA Board of Commissioners and this Agreement contains all of the covenants and agreements
between the parties with respect to the Agreement. Jn the event Dr. Jarmon becomes Executive
Director, Dr. Jarmon and MHA shall enter into a Contract for no less than two (2) years with
options at which time additional compensation will be granted as a result of the specialized
duties and responsibilities associated with the Rental Assistance Demonstration (RAD) projects
and other development initiatives undertaken during her tenure.

        13.   Governing Law.       This Agreement shall be governed by and construed              111
accordance with federal laws and the laws of the State of Arkansas.

        IN WITNESS WHEREOF, the parties hereto have executed this Agreement effective
                 2020.


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ATTEST:
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Date                                                   __u ____        Chai1man of the
                                                       MHA Board of Commissioners


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                                                       Dr. Nadine Jurm n
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  THE HOUSING AUTHORI1Y OF THE CITY OF LITTLE ROCK,
   ARKANSAS d/b/a METROPOLITAN HOUSING ALLIANCE
              EMPLOYMENT AGREEMENT (EA)


        This EMPLOYMENT AGREEMENT (hereafter referred to as
"Agreement") is made and entered into effective as of April 5, 2021, by and among
the Housing Authority of the City of Little Rock, a public body, corporate and
politic, established by the City of Little Rock pursuant to Ark. Code Ann. §14-169-
201 et. seq. and doing business as the Metropolitan Housing Alliance (hereinafter
referred to as "MHA" or "Employer"), and Dr. Nadine ,Jarmon, an individual
(hereinafter referred to as "Dr..Jarmon" or "Executive Director").

       WITNESSETH, that Dr. Jarmon and the MHA for the consideration stated
herein mutually agree as follows:

 1.   Agreement, Under the terms and conditions set forth in this Agreement,
      the MHA Board of Commissioners appoints Dr. Jarmon as Executive
      Director of the MHA to perform the duties of Executive Director subject to
      the general supervision, advice and direction of the Board of Commissioners
      and Dr. Jarmon accepts such appointment.

 2.   Term of Agreement.         The term of the Executive Director's Agreement shall
      be for a period of two (2) years, commencing on April 5, 2021 and ending on
      April 4, 2023, unless sooner terminated in accordance with the terms of
      this Agreement. Upon written request of Dr. Jarmon or the Board of
      Commissioners at least six (6) months prior to the expiration of this
      Agreement, the parties may commence negotiations to extend this Agreement
      for one (1) year upon terms and conditions mutually agreeable to the parties.
      Any renewal or extension of this Agreement shall only be valid and
      enforceable if the e>..1:ension or renewal is in writing and officially approved by
      the MBA Board of Commissioners and, absent any such extension or renewal,
      MHA shall not owe Dr. Jarmon any compensation 01· expenses beyond the
      expiration of this Agreement except for accn1ed benefits which are payable to
      employees, generally, under the personnel policy of MHA as set forth in tl1e
      Housing Authority of the City of Little Rock, Arkansas Personnel Policy
      Handbook, as amended from time to time ("MHA Personnel Policy") or as
      otherwise provided by law.

 3. Compensation. The MHA shall pay Dr. Jarmon, One Hundred Sixty-Six
    Thousand Dollars ($166,000.00) annually during the term of this Agreement,
    less deductions required by law or authorized by Dr. Jarmon and which shall
    be paid in equal installments in the same manner as salary is paid to other
    employees of MHA or as may otherwise be agreed by the parties. provided
                                   Employment Agrt!ement
                                      Executive Diri:ctor
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   that no such adjustment shall reduce the annual amount set forth herein for a
   forty (40) hour work week.

4. Annual Goals, Obiectives and Evaluation. Dr. Jarmon shall receive an
   annual performance review by the Board of Commissioners, at the annual
   meeting in October and her compensation shall be reviewed for possible
   adjustment at such times. The Board of Commissioners shall base its
   evaluation of Dr. Jarmon's performance and progress towards the goals and
   objectives established by a performance evaluation matrix, as well as on the
   general performance of Dr. ,Jarmon in carrying out her duties and
   responsibilities.

5. Salary Incentive. Employee shall receive additional compensation for new
   development projects originating after April s, 2021 at the rate of one percent
   (1%) of the total project cost. 50% (percent) (.5) will be payable at the financial
   closing of the project development and 50% (percent) (.5) will be payable upon
   the completion of the development project. In any event of the failure in the
   completion of a development projects, all monies paid to the employee will be
   owed to MHA (Metropolitan Housing Alliance). In addition, the parties
   recognize and acknowledge that additional compensation amounts shall be paid
   only from unrestricted funds.

6. Benefits. Until the expiration of this Agreement or its earlier termination,
   Dr. Jarmon sha11 be entitled to the following:

           a.     Participation in the MHA life, health and dental insurance plans
                  on the same basis as all other MHA employees;

           b.     Sick, vacation, holiday and other forms of leave on the same
                  basis as all other MHA employees as provided for pursuant to
                  MHApolicy;

           c.     MHA shall provide D1·. Jarmon with an automobile allowance
                  of Five Hundred Dollars ($500.00) per month.

           d.     The MHA Board of Commissioners agrees to budget and to pay
                  for business travel and related expenses, organizational dues,
                  fees, seminars and subscriptions, as determined by the Board
                  to be reasonably necessary, for (i) Dr. Jarmon to perform her
                  duties hereunder or to continue her professional
                  participation, growth, and advancement, or (ii) the good of
                  MHA. Dr. Jarmon shall provide MHA with timely verifiable
                  receiptsforreimbursement of such expenses listed herein.


                                Employment Agreement
                                   Executive Dirc:ctor
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           e.    MHA shall reimburse Dr. ,Jarmon for actual relocation expenses
                 provided Dr. Jarmon provides three (3) quotes from
                 relocation/moving companies. MHA shall reimburse Dr.
                 Jarmon up to average of three (3) quotes but this amount shall
                 not exceed Ten Thousand Dollars ($10,000.00). Relocation
                 receipts shall be submitted by Dr. Jarmon to MHA within
                 ninety (90) days of execution of this Agreement. MHA shall
                 provide Dr. Jarmon reasonable time to complete the
                 relocation process.

          f.     MHA shall provide up to thirty (30) days temporary housing
                 reimbursement and travel reimbursement to Dr. Jarmon in
                 order to expedite the relocation process. Temporary housing
                 and relocation travel reimbursement shall not exceed Five
                 Thousand Dollars ($5,000.00). Temporary housing and
                 relocation travel receipts shall be submitted by Dr. Jarmon to
                 MHA within thirty (30) days of incurrence of eligible
                 expenses.

7. Duties and Powers. Dr. Jarmon is entrusted by the MHA Board of
   Commissioners with all such authority reasonably necessary and/or
   customary to effectively discharge all of the duties of the Executive Director
   position. Subject to and in conformity with MHA policies and Federal, State
   and local law, the Executive Director assumes, and shall undertake and perform,
   the duties, responsibilities and functions of the MHA's Executive Director,
   including:

      a. All of the duties set forth in the job description of Executive Director
         attached hereto as Exhibit "A" and incorporated herein by reference;

      b. Implementing, adhering to and enforcing the MHA Personnel Policy and
         MHA procedures.

      c. Overall management and administration of the business and affairs of
         MHA, including procurement, while ensuring that MHA remains in
         compliance with applicable State, Federal and Local Laws;

      d. Execution and implementation of applicable regulations, policies and
         procedures as established by the Board and the U.S. Department of
         Housing and Urban Development;




                               Employment Agreement
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         e. Management of MHA resources so as to advance the mission of MHA
            through the collective effort of MHA employees and, to the extent feasible,
            in collaboration with public, private and non-profit entities as well as
            community stakeholders;

         f. Management and supervision of MHA personnel and putting into effect
            all policies of the MHA within the framework of applicable federal, state
            and local housing legislation;

         g. Such other duties as are customarily performed by one holding such a
            position in other, same or similar public housing authorities;

         h. Other duties as may be assigned by the Board of Commissioners from
            time to time.

The duties and powers of the Executive Director shall also be subject to and governed by
applicable state and federal regulations, as well as policies adopted by the MHA Board
of Commissioners.

  8. Termination of Agreement. This Agreement may be terminated prior to
     the expiration of its term, as follows:
         a. By the MHA Board of Commissioners, for good cause, with due process
            and prior written notice. "Good Cause" means malfeasance, gross
            negligence, willful neglect of duties, willful misconduct, fraud, illegal
            conduct, violating MHA Personnel Policy or incompetence in the
            performance of duties, and misrepresentation/fraudulent concealment
            relating all matters related to the Executive Director's Agreement.
            Incompetence in the performance of duties shall not be considered good
            cause for termination unless the Board of Commissioners first provides
            Dr. Jarmon with written notice of specified deficiencies and a reasonable
            opportunity to cure such deficiencies prior to any termination action.
            Except as otherwise specifically set forth in the MHA Personnel Policy, all
            rights of Dr.•Jarmon and all obligations of the MHA under this
            Agreement, shall cease as of the date of her termination under this
            Subsection.

         b. Automatically upon Dr. Jarmon's death or if she becomes physically or
            mentally incapacitated such that she is unable to adequately perform the
            essential functions of Executive Director, with reasonable
            accommodations, as determined by the Board of Commissioners;
            provided, however, this shall not in any way prevent Dr. Jarmon from
            exercising any right she may have under the workers' compensation laws
            of the State of Arkansas or the Americans with Disabilities Act ("ADA")
            or the Rehabilitation Act of 1973. The payment of all compensation and

                                   Employm,:nt Agreement
                                      Executive Director
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            benefits to Dr. Jarmon shall cease upon the effective date of her
            termination under this subsection except for accrued benefits which are
            payable to employees, generally, under MBA personnel policies upon
            termination of Agreement or othenvise provided by law.

         c. By Dr. Jarmon after no less than one (1) year from the effective date
            hereof and upon at least thirty (30) days notice in writing to the Board of
            Commissioners of her intention to resign. From and after the effective
            date of such resignation the MHA shall have no further obligations under
            this Agreement, except as provided for pursuant to MHA Personnel
            Policies. Upon receipt of a notice of resignation, the MHA may terminate
            the Agreement of Dr. Jarmon at an earlier date of its choosing with no
            additional obligation hereunder beyond obligations pursuant to MHA
            Personnel Policy and applicable law. If Dr. Jarmon fails to serve as
            Executive Director of MHA for at least one (1) year from the effective
            date of this Agreement, the Executive Director shall refund MHA any
            housing and/or relocation expenses that it paid to her.

         d. At any time during the term of this Agreement or any extension thereof, by
            vote of a majority of the Board of Commissioners, the MHA may
            terminate the appointment and Agreement of the Executive Director
            without cause or reason. In such case, Dr. Jarmon ,vi.II be entitled to her
            compensation for the balance of the remaining term hereunder or for six
            (6) months, whichever is less, upon signing a separation agreement and
            general release of the MHA from all liability relating to her Agreement
            and termination.

         e. By mutual agreement of the parties.

9.    Mediation, In the event of any dispute arising under Section 7 of this
      Agreement, the parties shall be required, upon request of either party, to
      resolve such dispute through mediation prior to the institution of any
      litigation. The cost of any such mediation shall be borne equally by the
      parties.

10.   Nature of.Agreement.
         a. This Agreement sets forth the entire understanding among the parties
            hereto with respect to the subject matter hereof, and supersedes all
            prior Agreements among the parties, whether oral or written, and
            cannot be changed or modified except by written amendment
            approved the MHA Board of Commissioners and agreed to by Dr.
            Jarmon.


                                  Employment Agreement
                                    Executive Director
                                         MHA   5
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         b. To the extent that MHA Board of Commissioners may establish any
            personnel policies, procedures or practices that are inconsistent with
            this Agreement, this Agreement shall control, unless those policies,
            procedures or practices are required for compliance with federal, state
            or local law, in which case such personnel policies, procedures or
            practices shall control.

         c. The obligations of the MHA under this Agreement are expressly
            subject to continued existence of MHA and the availability of public
            funding sufficient to meet the MHA's obligation.

11.   Successors and Assigns. This agreement shall be binding upon the MHA,
      it successors and assigns. No provisions herein contained shall be nullified
      or ineffective in any manner as a result of any organizational change in the
      MHA, except that if the MHA is dissolved, then this Agreement and all of the
      parties' obligations under this Agreement shall terminate.

12.   No Waiver, The failure of either party to this Agreement to insist upon the
      performance of any of the terms and conditions of this Agreement, or the
      waiver of any breach of any of the terms and conditions, shall not be
      construed as thereafter waiving any such terms and conditions, but the same
      shall continue and remain in full force and effect, as if no such forbearance or
      waiver had occurred.

13. Indemnification. MHA agrees to indemnify and save harmless Dr.
    Jarmon from all claims, actions, damages, expenses, judgments, liabilities,
    attorneys' fees and legal costs arising within the scope of the Executive
    Director's Agreement, and in the absence of willful misconduct and gross
    negligence, with the exception of intentional acts of the Executive Director.
    MBA agrees to extend this indemnification following termination of this
    Agreement for those authorized activities performed by Dr.•Jarmon during
    the term of this Agreement.

14. Entire Agreement. This Agreement supersedes any and all other
    agreements, either oral or in writing, between the parties and this Agreement
    contains all ofthe covenants and agreements between the parties.

15. Govcrnini: Law, This Agreement shall be governed by and construed in
    accordance with federal laws and the laws of the State of Arkansas.




                                  Employment Agreement
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       IN WITNESS WHEREOF, the parties hereto have executed this

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Agreement effective _ _                             2021.



 ATTEST:


                                 By:
.3" S:;xµj
Date

                                                i man of the MHA Board of
                                                  Commissioners




                             Employment Agreement
                               Executive Director
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Little Rock housing authority board fires director who complained about board
members' conduct
bv Te ss Vrbin I August 25, 2021 ut 2:43 µ.m.




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FILE -· Nadine Jarmon, execu ti ve director of the Metropol itan Housing A lliance, speaks during the Metropoli tan Housing
Alliance me eting in Little Rock in th is Thursday, June 17 file photo. (Arka ns;is De mocrat-Gazette/Staci Vandagri ff)

The governing board of Little Rock's public housing authority voted Wednesday to fire the executive
director, effective immediately.

The Metropolitan Housing Alliance Board of Commissioners' vote was 4-0, with one commissioner
absent from the special meeting.

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Jarmon had been executive director on an official basis since April. Her contract had been for two
years and $166,000 per year. She had previously been interim executive director since July 2020
following former executive director Anthony Snell's resignation.



Snell wrote in his resignation letter that the board had harmed and micromanaged the agency. Jarmon
made the same claim in a 161-page memo to the Little Rock mayor's office and the local U.S. Housing
and Urban Development field office on June 23.

She alleged that the commissioners repeatedly engaged in unnecessary spending, sidestepped federal
approvals and had conflicts of interest with parties involved in transactions with the housing authority.

On June 28, the commissioners voted to suspend Jarmon with pay for the duration of a self-
authorized investigation into her allegations. They voted Wednesday to keep the investigation going in
Jarmon's absence.

They also voted to immediately freeze all contracts and payroll activity that Jarmon authorized when
she led the agency.

Financial director Andy Delaney has been acting executive director since Jarmon's suspension. He will
continue in this role while the board searches for a new director, Commissioner Leta Anthony said
during the meeting.


Topics
Nadine Jarmon, Little Rock, AnthonY. Snell, MetroQolitan Housing Alliance Board of Commissioners, KfillY.on                        Lowe.
Housing    and   Urban DeveloQment, U.S., Leta Anthonv.,          8.D.dY. Delaney




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7112/2021                                                                           Little Rock housing agency chief urges board's dismissal




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   Little Rock housing agency chief urges board's dismissal
   Her memo to mayor alleges misconduct, mismanagement




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   The hea d of Little Rock's public housing authority asked Mayor Frank Scott Jr. on Wednesday to dismiss the agency's entire governing
   board , alleging "gross misconduct," "i nefficient governance," financial mismanagement and excessive involvement in day-to-day agency
   operation s.


https://www.arkansasonline.com/news/2021/jun/25/housing-agency-chief-says-time-for-board-to-go/                                                                                                                           116
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7/12/2021                                                Little Rock housing agency chief urges board's dismissal

   Nadine Jarmon, executive director of the Metropolitan Housing Alliance, sent a 161-page memo to Scott and the Little Rock field office
   of the U.S. Department of Housing and Urban Development.


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   The letter included a long list of accusations against the Alliance's board of commissioners, including unnecessary spending.
   sidestepping necessary federal approvals, and conflicts of interests between commissioners and parties involved in transactions with
   the housing authority.

   Jarmon submitted a collection of emails, bank statements, board minutes, board resolutions and other documents as evidence to back
   up her claims.

   "My motives are not driven by anything other than my personal integrity and my belief in the mission of the Metropolitan Housing
   Alliance," Jarmon wrote to the mayor and the federal housing department.

   "While I am aware of the tumultuous change of leadership at the agency over the past few years, my actions have nothing to do with my
   personal like or dislike of any individual board member, but rather my concern for the financial l1ealth and future of MHA.''

   Board chairman Kenyon Lowe dismissed Jarmon's concerns as "conjecture" in a Thursday interview

   The Little Rock public housing agency has seen a revolving door of executive leadership since 2018. Former executive director Rodney
   Forte resigned in November 2018 after six years in the position. Marshall Nash then served as interim executive director for five
   months. Anthony Snell was the next interim director for six months before he was officially hired into the position, and he left nine
   months later, in July.

   Jarmon was hired as executive director in April after being tapped to lead the agency in an interim capacity in July.

   The Metropolitan Housing Alliance is federally funded and locally controlled by a fwe-member board. The authority is the largest public
   housing agency in the state and provides rental assistance to people with lower incomes.

   The board is self-appointing, subject to approval by the Little Rock board of directors and mayor.

   A complaint against a member of any other self-appointing board that the city must approve, such as the Central Arkansas Water
   Authority or the Central Arkansas Library System, would generate a public hearing to present the reason for the complaint and offer
   the board member an opportunity to respond, Scott told the Arkansas Democrat-Gazette on Thursday. The city Board of Directors
   would then vote to retain or remove the board member.

   However. the federal housing department is the governing authority over the Metropolitan Housing Alliance, and the city does not have
   the authority to investigate the agency, the mayor said.

   "What generally happens is we tend to follow [the federal department's] lead;' Scott said. "If there's a reason not to follow that lead or
   to take it in our own hands, then the process is the public hearing process."

   A Housing and Urban Development regional spokesperson said the department is examining the complaint and supporting documents,
   and will try to substantiate all the claims before initiating an investigation, which could include the inspector general's office.

   If Jarmon's complaint were to eventually make its way before the city board, it would result in five separate public hearings and votes,
   one for each commissioner.

   Scott said the city has never before received a request to remove an entire board.


https://www.arkansasonline.com/news/2021/jun/25/housing-agency-chief-says-time-for-board-to-go/                                                 2/6
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7/12/2021                                                Little Rock housing agency chief urges board's dismissal

   Jarmon Is not the first executive director, or even housing authority staff member, to raise concerns about the board.

   A group of anonymous Metropolitan Housing Alliance employees sent a letter to the mayor's office a year ago today with the same
   request to remove the board of commissioners. The employees said their anonymity was "due to a fear of future retaliation."

   "The board has shown great incompetence in its failure to understand the housing programs it oversees while adamantly injecting
   themselves in the day-to-day activities, and purposefully through its inability to hire and retain an executive director," the letter stated.

   That letter was not sent to federal housing authorities, and Scott said it lacked supporting documentation, making it difficult to
   investigate further.

   5cott after receiving the anonymous letter last year said that he would initiate the process of dissolving the Metropolitan Housing
   Alliance board of commissioners, citing "a number of concerns." The Little Rock Housing and Urban Development field office also
   expressed "serious concerns" about the board last year.

   Still, the board remains in place.

   Jarmon said Thursday that the board's behavior concerned her as soon as she became interim executive director in July, but she did not
   feel comfortable stepping forward with her concerns until she became the official executive director two months ago.

   "The people in the past just quit. and I could have done that too, but I wanted to see something done so anybody, not just me. could do
   their job without interference at this level from the board," Jarmon said.

   Snell's resignation letter, included in Jarmon's memo, cited a hostile work environment as one of his reasons for leaving the executive
   director's post last year.

   "A number of the [board's] actions have been fundamentally detrimental to the agency and have systematically usurped my
   responsibilities as the Executive Director, constructively discharging me as the day-to-day leader of the agency, leaving me with no
   option but to offer my resignation:• Snell said in the June 2020 letter addressed to Lowe, the board chairman.

   Lowe told the Democrat-Gazette that Nash and Forte, as well as Snell and Jarmon, have made the same allegations of board overreach,
   and "it didn't hold water."

   "The board doesn't do anything with day-to-day [operations]:' Lowe said. "The board monitors, the board has oversight, and the board
   disciplines its only employee, which is the executive director."

   He said Jarmon's complaints are "noise" "conjecture" and "just hearsay" because the city of Little Rock and the federal housing
   department's field office do not have tile <.lirect authority to Investigate tile Metropolltan Housing Alliance. This authority lies with the
   housing department's inspector general, Lowe said.

   SPECIFIC ALLEGATIONS

   Jarmon said the commissioners awarded or steered several contracts to entities with which individual commissioners had relationships.

   Commissioner Leta Anthony was the board's chairperson in June 2019 when it voted to transfer ownership of a plot of land called
   "Vernon Place" from the housing authority to its nonprofit arm, the Central Arkansas Housing Corp. A month earlier, Friendship Charter
   School issued a letter of intent to purchase Vernon Place.

   Anthony voted in favor of the transfer despite being a board member and consultant for the charter school, and Jarmon said Anthony
   should have recused herself to avoid a conflict of interest.

   Lowe said the federal housing department leaves it up to individual housing authorities to determine whether a board member has a
   conflict of interest if the board member has disclosed a relationship to an entity involved in a board resolution.

   "The board did not see a conflict of interest because there was no monetary gain [for Anthony]," Lowe said.

   The purpose of the Central Arkansas Housing Corp. is "to facilitate the development. financing and construction of multi-family and
   single-family residential housing in the city of Little Rock and the Central Arkansas area," according to the housing authority's website.


https://www.arkansasonline.com/news/2021/jun/25/housing-agency-chief-says-lime-for-board-to-go/                                                    316
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7/12/2021                                                             Little Rock housing agency chief urges board's dismissal

   Transactions between the two entities are allowed only with approval from the U.S. Department of Housing and Urban Development.
   Jarmon said. She said in a May email to housing authority procurement manager Jada Johnson that Lowe told her he wanted to transfer
   two properties, including Vernon Place, from the agency to the nonprofit as quickly as possible.

   "I told him we have procured the firm to do the appraisal, and his response to me was that one has nothing to do with the other and he
   wanted these two properties 'quick deeded' to CAHC today if possible," Jarmon wrote in an email.

   Lowe told the Arkansas Democrat-Gazette that he could not have made such a request about Vernon Place when the Central Arkansas
   Housing Corp. had already owned it for almost two years. He also said the federal housing department has to approve transactions
   related only to the programs it administers, and the Central Arkansas Housing Corp. is not a part of those programs.

   Lowe also directed the housing authority staff in 2020 to purchase new laptop computers for the board at more than $4,000 a piece.
   Jarmon cited this as an example of unnecessary spending because the staff had recently bought commissioners laptops for half as much
   money, and the more expensive ones would serve no greater purpose, she said in her complaint.

   The more expensive laptops were necessary because the cheaper ones did not work well with the housing authority's information
   technology structure, Lowe said.

   Additionally, the anonymous 2020 letter said the board regularly accused the staff "of not doing their jobs by not providing follow-up
   information."

   In a chain of emails to Jarmon in April, Anthony asked repeatedly for updates on a groundbreaking for a development project, saying
   Jarmon and her staff did not adequately follow up with the board on the plans tor the event. Jarmon responded that Anthony's target
   date wa-:, unrealistic.

   "I will not yield to pressure to comply with or conform to unreliable and unrealistic timelines that I was not involved with establishing;'
   Jarmon wrote.

   Anthony replied that there was no such pressure.

   'The board is not in the habit of passing motions and resolutions [only] to have them ignored by staff," Anthony wrote. "All of what has
   been requested of you is well documented."

   MOVING FORWARD

   If none of the current commissioners are removed, working with them in the future will undoubtedly be "uncomfortable" unless they
   change their behavior, Jarmon said, but she does not plan to resign from her position.

   "I'm willing to stay no matter what," she said. "I've had difficult boards before, but not to this level. If [the complaint] doesn't work out in
   my favor, and I'm still there and they're still there, we're going to have to learn to get along."

   Lowe declined to comment on the "hypothetical" future state of the board's working relationship with Jarmon.
   Print Headline: Housing agency chief .says time for board to go

    Topics
    ti<!Qi_ne Jarmon, Ke;nyon Lowe. Frank Scoll Jr., Little Rock. Leta Anthony, Central Arkansas Housing.Jlli[L Arkansas Llbra[Y2Y.\!!fil!!



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Little Rock housing authority board fires director who alleged misconduct; federal
lawsuit promised
by Tess Vr/Jin I Todoy at 7:02 a.m.




Kenyon Lowe (r ight), Metropol itan Housing Authority Co mmission chairman, speaks Wednesday in Litt le Rock dur ing the
group's meeting, as commissioner H. Lee Lindsf.' Y listens. (Ark;:insas Dernocrat-G ;:izctte/Staton Breidentha l)

The Little Rock public housing authority board voted Wednesday to fire the executive director who
had complained about board members' conduct in a June memo that became public.

The Metropolitan Housing Alliance Board of Commissioners' vote was 4-0 -- with one commissioner
absent from the special meeting on Wednesday-- to terminate Nadine Jarmon, who the board
officially hired in April after her seven-month stint as the interim head of the agency.
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The board didn't publicly state any reasons for Jarmon's termination, and board Chairman Kenyon
Lowe in an interview after the meeting declined to provide a reason for the ouster.

In response, Jarmon is preparing to file a lawsuit under the federal Whistleblower Protection Act, said
her attorney, Chris Corbitt of the Corbitt Law Firm in North Little Rock.

"It's pretty cut and clear that they fired because of her 161-page whistle blower notification," Corbitt
told the Arkansas Democrat-Gazette, referring to the memo Jarmon sent to the Little Rock mayor's
office and the U.S. Housing and Urban Development Little Rock field office on June 23. "We'll give the
Metropolitan Housing Alliance the opportunity to do the right thing, but in my previous experience
with government and quasi-government entities, they won't do the right thing and we'll see them in
court."

The Whistleblower Protection Act prohibits retaliation against federal government employees who
report mismanagement, negligence, abuse of power or illegal activity by a government entity. The
Little Rock housing agency is federally funded, but it was created by the Little Rock Board of Directors
in 1940.

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Jarmon's departure is the most recent in a carousel of executive directors at the housing authority,
which has seen five directors in three years. The last three directors, including Jarmon, have left the
agency or been forced out amid clashes with the board.

The Alliance oversees about 900 traditional public housing units, 200 affordable housing units and
160 market-rate units. It also administers more than 2,000 Section 8 vouchers. It is the largest public
housing authority in Arkansas and provides housing assistance to about 8,000 low-income people.

Jarmon's June memo alleged that the housing authority board repeatedly engaged in unnecessary
spending, sidestepped federal approvals and had conflicts of interest with parties involved in
transactions with the agency. She included a collection of emails, bank statements, board minutes,
board resolutions and other documents as evidence to back up her claims.

Her letter to Mayor Frank Scott Jr. and Anthony Landecker, the head of Little Rock's federal housing
field office, asked them to remove all five commissioners from the board.

As of Wednesday afternoon, the board had not sent Jarmon a termination letter or contacted her at all
about the firing, Corbitt said. She has been suspended with pay since shortly after the June memo was
sent.

Financial Director Andy Delaney was named interim director in Jarmon's absence, and he will
continue in that role until a new director is hired, Commissioner Leta Anthony said during
Wednesday's meeting.
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Lowe did not specify at the board meeting or respond to a Wednesday text message asking whether
the board fired Jarmon with or without cause.

According to Jarmon's contract, the agency will immediately cease paying her if fired for "good cause,"
which includes "malfeasance, gross negligence, willful neglect of duties, willful misconduct ... violating

MHA Personnel Policy or incompetence in the performance of duties."

If the board fired Jarmon without cause, she will be paid for six more months, according to the
contract. Corbitt said the terms of the contract "will be litigated," and he believes "ultimately [Jarmon]
will prevail."

Jarmon's two-year contract was set to pay her $166,000 a year.

On Wednesday, the board voted to continue the self-authorized investigation into Jarmon's
allegations. It also voted to immediately freeze all contracts and payroll activity that Jarmon approved
since April.

Lowe initially dismissed Jarmon's concerns as "noise" and "hearsay" and said they had no teeth
because she did not reach out to the federal Housing Department's Office of Inspector General. He
then contacted the department with a "request for an OIG investigation" into Jarmon's claims, and
Jarmon said this and the internal investigation appeared to be "diversionary tactics."

The board initially hired attorney Leon Jones Jr., the former head of the Arkansas Fair Housing
Commission, to lead the internal investigation. Jones' contract said he would be paid a maximum of
$160,000 for a maximum of 10 months of work, starting July 1.

Landecker then told the board in a July 19 letter that the board didn't follow procurement guidelines
when hiring Jones. He gave the board two days to end the contract or prove its legality.

Lowe then moved to terminate the contract the same day in an email to Delaney that he later provided
to the Arkansas Democrat-Gazette. The board did not vote publicly on the contract termination.

ONGOING CONCERNS

The agency has now seen the departure of four executive directors in fewer than three years.

Rodney Forte resigned in November 2018 after six years in the position.

Marshall Nash then served as interim executive director for five months before resigning. He has filed
a federal lawsuit against the board over his treatment while at the agency.

Anthony Snell was the next interim director for six months before he was officially hired into the
position, which he left nine months later, in July 2020.

Snell wrote in his June 2020 resignation letter that the board had harmed and micromanaged the
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agency, mirroring claims Jarmon made in her memo.

Jarmon also is not the first to ask Little Rock officials to remove the board of commissioners. Shortly
after Snell resigned, a group of Metropolitan Housing Alliance employees sent an anonymous letter to


the mayor's office calling for the board's removal. The employees said their anonymity was "due to a
fear of future retaliation."

"The board has shown great incompetence in its failure to understand the housing programs it
oversees while adamantly injecting themselves in the day-to-day activities, and purposefully through
its inability to hire and retain an executive director," the letter stated.

That letter was not sent to federal housing authorities, and Scott said it lacked supporting
documentation, making it difficult to investigate further. Jarmon included the letter in her memo.

Scott. after receiving the anonymous letter last year, said that he would initiate the process of
dissolving the board of commissioners, citing "a number of concerns." The Little Rock Housing and
Urban Development field office also expressed "serious concerns" about the board last year.

Still, the board remains in place, and Scott said in June that the city does not have the authority to
investigate an agency that is governed by a federal department.

Arkansas law states that housing authority boards are self-appointing but subject to approval by the
local governing body-- in this case, Scott and the Little Rock Board of Directors.

Landecker acknowledged receipt of Jarmon's complaint in a June 28 email to her and Lowe, and he
also asked for several more documents to "assist with substantiation" of the allegations. The Arkansas
Democrat-Gazette obtained the email through an Arkansas Freedom of Information Act request.

After reviewing some of the additional materials, Landecker asked Lowe on July 28 for specific
documents outlining the housing authority's ownership of certain properties. The deadline to provide
these documents was Aug. 18, but the Department of Housing and Urban Development had not
received a response to this request as of Monday, a regional spokesperson said in an email. Landecker
extended the deadline to Oct. 11 on Tuesday.

Lowe declined to comment on Wednesday when asked why the board did not fulfill Landecker's
request by the initial August deadline. He also did not comment when asked if the board owes the
public an explanation for its decisions.

'SUE ME'

At the time of Jarmon's hiring, Lowe told the Arkansas Democrat-Gazette that the commissioners had
"several good candidates" in a pool of 35 applicants for the director's post, but they "felt Dr. Jarmon's
skill set and background best suited the agency."
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Jarmon had worked as a contracting consultant, a monitor and board adviser for the Gary Housing
Authority in Indiana; the executive director of the Louisiana Land Trust; the executive director of the
Housing Authority of New Orleans; and, most recently, the Deerfield Beach Housing and
Redevelopment Authority.

The same day she was hired, Jarmon said in a phone interview that in her time as interim head of the
agency she observed a divide within housing authority leadership and hoped she could mend it.

"It seemed to me that in most cases it was the staff and executive director against the board," she said
at the time. "One of the first things I want to accomplish is: there's no us, we, I or me. We're a team."

The following day, Lowe told Jarmon and the Democrat-Gazette that he is the only person currently
affiliated with the housing authority who is allowed to speak to the news media on the record.

Recently, the agency has failed to comply with two Arkansas Freedom of Information Act requests
that the Arkansas Democrat-Gazette submitted in July, asking for copies of emails between the board
and Landecker's office.

Lowe has repeatedly told the Arkansas Democrat-Gazette that the state Freedom of Information Act
does not apply to emails sent from personal accounts, since board members are not housing authority
employees and do not have official agency email addresses. He said the Metropolitan Housing Alliance
"is not obligated to create any system of records that it does not already maintain."

However, state courts have affirmed that emails pertaining to public business -- even if sent over a
private server -- are open to copying and inspection under the state public records law.

When presented with this information Wednesday, Lowe replied, "Sue me, then."

Board attorney Khayyam Eddings of the Friday Firm in Little Rock said in an email later Wednesday
that the Democrat-Gazette's interpretation of the Freedom of Information Act was correct and that
he discussed the matter with Lowe.

Last year, Scott arranged a Freedom of Information Act training workshop for the housing authority
board "in an effort to remedy some of the problems that people were telling him existed," his
spokeswoman Stephanie Jackson said in June.

John Tull, an attorney who has worked with the Arkansas Press Association, called Lowe's
interpretation "utterly ridiculous and completely unsupported."

A district judge found Forte, the former director, guilty in 2015 of a misdemeanor charge for failing to
comply with the state Freedom of Information Act in response to records requests from the
Democrat-Gazette. However, the conviction was overturned by a jury on appeal.

"If there's anybody that should know better than to ignore the Freedom of Information Act, it's that
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entity." Tull said.




Topics
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     Housing agency sets $160,000 for inquiry
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     Leon Jones Jr. is shown in this photo.

     Little Rock's public housing agency will pay attorney Leon Jones Jr.'s consulting firm as much as $160,000 to investigate claims of
     misconduct and negligence levied against the buard of commissioners in June.

     The contract between the Metropolitan Housing Alliance and Jones' firm, Pinnacle Strategy Group, began July 1 and will last through May
     1. The Arkansas Democrat-Gazette obtained the contract through an Arkansas Freedom of Information Act request.

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    Pinnacle Strategy Group will investigate agency director Nadine Jarmon's claims that the commissioners repeatedly engaged in
    unnecessary spending, sidestepped federal approvals, and engaged in conflicts of Interest between commissioners and parties involved in
    transactions with the housing authority.

    The authority will pay Pinnacle Strategy $275 per hour for a maximum of 20 hours per week. The total would amount $160,000 if the
    investigation takes the 10 months, the maximum time allowed under the agreement.

    "The Investigation includes, but is not limited to, securing all documents related to the allegations, securing all witnesses and maintaining
    records related to the allegations," Jones' contract states. "The Investigation can move In the direction that the evidence points."

    Jarmon sent a 161-page memo on June 23 to Little Rock Mayor Frank Scott Jr. and to the field office of the U.S. Department of Housing
    and Urban Development. She included a collection of emails, bank statements, board minutes, board resolutions and other documents as
    evidence to back up her claims.

    Jarmon asked for the entire five-member board of commissioners to be removed. The board is self-appointing but subject to approval by
    the Little Rock Board of Directors and mayor.

    Jones said in an interview that he had not yet read Jarmon's memo and had requested the documents from Little Rock. He said the
    housing authority is working on gathering some other documents that will help him in the investigation.

    "Until then, I don't have a sense of how long it's going to take," Jones said. "[I will] once I know those allegations and have a sense of
    where I need to go."

    Jones previously served on the Fayetteville Housing Authority board of commissioners, including a stint as board chairman, and has led the
    Arkansas Department of Labor and the Arkansas Fair Housing Commission. He resigned from the Fair Housing Commission earlier this
    year when he announced his candidacy for the Republican nomination for attorney general in 2022.

    The Republican primary in May will take place after Jones' investigation ends, if it lasts that long, so the two will not conflict. he said.

    Arkansas law allows housing authorities "to conduct examinations and investigations." The commissioners voted unanimously on June 29
    to authorize the Investigation and to hire Jones to conduct It.

    They also voted unanimously to suspend Jarmon with pay until the investigation is complete. During that time, she is not allowed to enter
    any housing authority buildings or properties.

    The Metropolitan Housing Alliance has seen four directors in the past three years. Anthony Snell, the executive director before Jarmon, left
    the post in July 2020, writing in his resignation letter that the board had harmed and micromanaged the agency. Jarmon served as interim
    director until the board chose her to fill the post officially in April.

    She said last week that both her suspension and the self-authorized investigation likely are "diversionary tactics," and she said the same
    thing about board chairman Kenyon Lowe's June 28 request for a HUD investigation into her allegations.

    Scott previously told the Arkansas Democrat-Gazette that the federal housing department, not the city, has the primary authority to oversee
    and discipline the housing authority.

    The board unanimously chose the agency's financial director, Andy Delaney, as acting executive director throughout Jarmon's suspension.

    Print Headline: Housing agency sets $160,000 for inquiry




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   Little Rock's housing agency looks to halt lawyer's probe




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7/25/2021                                               Little Rock's housing agency looks to halt lawyer's probe

   Little Rock's public housing authority is moving to terminate its contract with a local attorney to investigate allegations of wrongdoing
   levied by the agency's executive director.

   The move is a response to an order Monday from the Little Rock field office of the U.S. Department of Housing and Urban Development
   to either terminate the contract or provide documents to prove its legality, with a deadline of Wednesday.


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   "Under the provision provided by the field office, cease and detest [sic] the contract of Mr. Leon Jones and Pinnacle Strategy Group."
   Kenyon Lowe, chairman of the Metropolitan Housing Alliance board of commissioners, wrote to acting Executive Director Andy
   Delaney,

   The Arkansas Democrat-Gazette obtained the email in an Arkansas Freedom of Information Act request. The email did not include the
   date in which Lowe contacted Delaney, but Lowe said Wednesday that he sent it Monday.

   As of Friday, he could not be reached for further comment.

   A Housing and Urban Development regional spokesperson did not respond when asked if the Metropolitan Housing Alliance's efforts
   were sufficient to meet the department's demands and deadline.

   The housing authority enlisted Leon Jones Jr:s firm, Pinnacle Strategy Group, to investigate agency Director Nadine Jarmon's claims.
   listed in a memo to the field office and the Little Rock mayor's office on June 23. Jarmon said the commissioners repeatedly engaged in
   unnecessary spending, sidestepped federal approvals and had conflicts of interest with parties involved in transactions with the housing
   authority.

   She also requested the removal of all five commissioners, who are self-appointing but subject to approval from the city mayor and board
   of directors.

   The board voted unanimously at a June 29 meeting to hire Jones, to suspend Jarmon with pay for the duration of the investigation and
   to put Delaney in Jarmon's post during that time.

   One problem with the agency's contract with Jones, according to Monday's letter from Little Rock field office director Anthony
   Landecker, is that it did not name the source of the funds the agency will use to pay Pinnacle Strategy Group. The contract would have
   to meet certain federal requirements in order for restricted Section 9 public housing funds to be the source of the payment.

   Lowe's note to Delaney asked him to use "non-restrictive funds" to pay Jones for the work he had already done and for which he had
   submitted an invoice.

   Jones told the Arkansas Democrat-Gazette on Tuesday that he had just received a copy of Jarmon's memo the previous week and
   ''started reading through some of the documents:' He said his anticipated next step was to discuss the allegations and supporting
   documents with Jarmon.

   Jones could not be reached for further comment from Wednesday onward, saying he was out of town.

   Arkansas law allows housing authorities "to conduct examinations and investigations," At a special board meeting Tuesday, Lowe again
   cited this portion of state law as the basis for the contract with Jones.

   The letter from Landecker. however, said the contract went against both the Code of Federal Regulations and the Metropolitan Housing
   Alliance's procurement policy. For example, the $160,000 maximum payment to Pinnacle Strategy Group, as stipulated in the contract.
   exceeded the housing authority's "small purchase threshold" of $100,000, listed in the procurement policy.


https://www.arkansasonline.com/news/2021/jul/25/housing-agency-looks-to-hall-lawyers-probe/?utm_campaign=magnet&utm_source=email_arlicle&u...   2/5
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7/25/2021                                                       Little Rock's housing agency looks to halt lawyer's probe

   "A lthough this was done under State Law and des ignated by the Boa rd as to the investigation itse lf would be conducted as t he Law
   allows. [the] investigation wi ll be conducted from a different venue." Lowe wrote in his memo to De laney.

   None of the commissioners or executive staff mentioned the effort to terminate t he contract with Jones at Tuesday's meeting, and the
   board did not vote on the issue. Instead, Lowe read aloud his respo nse to Landecke r' s letter on behalf of t he board , ca lling Jarmon's
   all egations a "conspiracy."

   Jar mon' s lette r in June marked the latest episode of strife between the Metropolitan Housing Alliance's ch ief executive and its board.
   The agency has seen four different directors in the past three years.

   Anthony Snell, the execut ive director before Ja r mon, left the post in July 2020. writing in his resignation letter t hat t he board had
   harmed and micromanaged the agency. Jarmon was then appointed interim executive director before the board hi red her to take over
   the post in April.

   Prin t Headline: Housing agency looks to halt lawyer's probe

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Controversy among Little Rock Metropolitan Housing Alliance's leadership, explained
by J\r/iwb(t~ D1imocrat-Gt1zdt1~. 1-/Gley Fuller I July 27, 2021 ot 11: 12 u.n,.




FILE -- (From leh) Nadine Ja r mon. exec ut ive d irector of the MFctropolit;in Housing A lliance, commissione r LPta An th ony and
commi'.;sioner H. Lee Lindsey h;we ;:i discussion during t he MetropolitJ n Housi ng A lli Jnce meet ing in Li t tle Roel< in t hi s
Thursdc1y, June 17, file photo. (.t-\rkansvs DcmocrJt-Gazctte/Staci VJndagriff)

Recently, the board of commissioners of Little Rock's Metropolitan Housing Alliance has been under
fire for improper conduct and the top position has changed hands four times in three years.

Back up: What does the Metropolitan Housing Alliance do and who runs it?

The Metropolitan Housing Alliance is Little Rock's federally funded public housing authority. It
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 provides housing assistance to about 8,000 people.

The agency has four employees and is overseen by a five-person board of commissioners. The board is
 self-appointed, subject to approval by the Little Rock board of directors and the mayor.




 Nadine Jarmon is the executive director and the chairman of the board of commissioners is Kenyon
 Lowe.

Why did Jarmon ask Little Rock Mayor Frank Scott Jr. to dismiss the agency's board of
 commissioners?

On June 23, Jarmon sent a 161-page memo with supporting documents to Scott and the Little Rock
field office of the U.S. Department of Housing and Urban Development accusing the board of:

• Unnecessary spending
• Sidestepping necessary federal approvals
• Conflicts of interest between commissioners and parties involved in transactions with the housing
  authority
Are these new concerns?

 No, they're not. Last year, a group of anonymous agency employees ~ent                         ;:i   letter to the mayor's office
requesting the removal of the board.

The letter said the board had "shown great incompetence in its failure to understand the housing
programs it oversees while adamantly injecting themselves in the day-to-day activities."

Jarmon is the fourth executive director in three years after her predecessors resigned alleging board
overreach. Lowe said the complaints are "conjecture" and the board has nothing to do with daily
operations.

Additionally, the agency has received low marks nationally according to annual scores released by the
federal housing department. Between 2012 and 2016, the agency was a "substandard performer" in
management and was categorized as "troubled" in 2017.

Then what happened?

After Jarmon sent the memo, Lowe, the agency's chairman, sent a letter to the U.S. Department of
Housing and Urban Development requesting a federal investigation.

The board of commissioners voted unanimously to suspend Jarmon until an internal investigation
concludes.

The board hired Pinnacle Strategy Group for the internal investigation, but the Little Rock field office
of the federal housing department ordered the agency to terminate the contract or provide
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What happens next?

The federal housing department has primary jurisdiction over the agency, so the city isn't authorized
to oversee and discipline the agency.


A federal housing department regional spokesperson said the department is examining the complaint
and supporting documents, and will try to substantiate all the claims before initiating an
investigation, which could include the inspector general's office.

ReJd more about the ongoing investigation from reporter Tess Vrbin, and go hen" to r,ign up ior our
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         Little Rock housing authority to restart exec hunt after top pick declines offer




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         After nine months without an executive director, the Little Rock housing authority must begin a new search because the board's pick for the job turned
         Chairwoman Leta Anthony said Thursday.

         Florida housing administrator Nadine Jarmon declined the job offer from the Metropolitan Housing Alliance earlier this week, Anthony said.

         The agency has been without a permanent leader since former director Rodney Forte resigned in November. The board conducted much of its search f1
         director in closed meetings.

         Jarmon is the executive director of the Deerfield Beach Housing Authority.

         Anthony said in a previous interview that Jarmon was the best cand idate becau se of "her experience, her education, her ability."

         "She's just decided nol Ito] al this time," Anthony said in an interview Thursday.

         Jarmon did not return a request for comment late Thursday. She was among three finalists whom board members selected in March. Anthony announc
         June meeting that the board was negotiating a contract with Jarmon.

         Board members went into a 25 -minute private session Thursday to discuss how lo move forward with the searc h and did not announce any decisions a·
         State law al lows closed meetings "for the purpose of considering employment, appointment, promotion, demotion, disciplining, or resi gnation of any PL
         or employee."

         "Peop le want to think about it and take some time," Anthony said.

         The board likely wil l make a decision on its next steps at its September meeting unless "something comes up," she added.

         Forte. who had been with the agency for si x years, resigned Nov. 7. He asked to stay until Jan. 31, but board members voted to push him out that day.                                 re
         paid $133,000 a year.

         The board voted the s;ime day to appoint Marshall Nash, director of administrative and legal services, to se rve temporarily in Forte's stead but with thf
         specia l adviser to the board.

         Nash, who also ran th e human-resources department, resigned April 12, after the seco nd round of candidate interv iews.
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The board later appointed Anthony Snell. deputy director of real estate. to take his place.

Snell is working as interim executive director without a deputy executive director or a human-resources director.

"We know that Anthony's plate has been extremely full;' Anthony said. "We've got some g<1ps."

Board members have said that no internal candidates were considered for the top job in the initial search.

The boc1rd chose its three finalists from among 22 applicants during a closed session in March, announcing its decision without taking a vote in public•·
bylaw.

Board members interviewed two of the finalists·· Jarmon and Kimberly Adams, a former Littl e Rock city employee·· in April in private meetings that I,
hours.

Experts said at the time that the meetings violated the Arkansas Freedom of Information Act, which requires the governing bodies of agencies to meet
with a few exceptions for private sess ions.

The board did not interview finalist R.M. Jackson because she took another job before her interview in Little Rock.
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                                                                             little Rock mayor to begin process of dissolving housing authority board
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    pro1_1ided by ci t'.1 of:'icials.

    Litt le R,xl< 1Vlayor Franl< Scott Jr. 1Nil! initiate th2 proc2ss                                                 or ciis:::C ''iing the board cif the cit/s pub!ic
    housing authority, based or. concerns fr0ri-i the U.S. D2p3trment {Yi Housing and Urban De,.1el,)pr:i2;1t
    ~md {=rnploy.ees ;,t th-2 agency.

    The Little Rock H0using and Urnan D2 12lopi-ri2nc ii2ld oHice requested a rne et ing v;ith Scot~ on June
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    2 5 to share" serious concerns" about the Matrocolltan Housing All lance Board of Commissioners.
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6/23/2021                                                Little Rock mayor to begin process of dissolving housing authority board

   Scott told the ..6.rkansas Democrat-Gazette on Thursday evening.


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   He added that he had gotten emails and phone calls from employees who expressed concerns about
   the role and authority of the board as well fiduciary responsibility with the board's ongoing Rental
   Assistance Demonstration projects.

   Scott said the local Housing and Urban Development office gave him the options of either dissolving
   the board or removing the chair.

   To initiate the process to dissolve the board and reappoint commissioners, the city attorney must ·first
   issue a notice of consideration to dissolve. The decision will ultimately fall to the city Board of
   Directors.

   The agency has undergone several changes ir. executive leadership in the past couple o-f years. Its
   current executive director, Anthony Snell, submitted his resignation to the board in June. His last day
   will be July 9.

   In a special meeting midday Thursday, the board selected Nadine Jarmon, executive director of the
  housing authoiity in Deerfield Beach, Fla., as its interim executive director.
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